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 8

 9                     UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                             WESTERN DIVISION
11

12   COMMUNICATION INTERFACE                  Case No.: 2:22-cv-7615
     TECHNOLOGIES, LLC,
13
         Plaintiff,                           COMPLAINT FOR PATENT
14                                            INFRINGEMENT
         v.
15
                                              [DEMAND FOR JURY TRIAL]
     VIVINT SMART HOME, INC.,
16

17       Defendant.

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                      COMPLAINT FOR PATENT INFRINGEMENT
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 1         Plaintiff Communication Interface Technologies, LLC (“CIT” or “Plaintiff”), for
 2   its Complaint against Defendant Vivint Smart Home, Inc. (“Vivint” or “Defendant”),
 3   alleges the following:
 4                                    NATURE OF THE ACTION
 5         1.     This is an action for patent infringement arising under the patent laws of
 6   the United States, 35 U.S.C. § 1 et seq.
 7                                              THE PARTIES
 8         2.     Plaintiff CIT is a limited liability company organized under the laws of the
 9   state of Delaware with a place of business at 3107 Boardwalk, Atlantic City, NJ 08401.
10         3.     Upon information and belief, Vivint is a corporation organized and existing
11   under the laws of the state of Delaware, with a principal place of business located at
12   4931 N 300 W, Provo, Utah 84604.
13         4.     Upon information and belief, Vivint sells and offers to sell products and
14   services throughout the United States, including in this District, and introduces products
15   and services into the stream of commerce and incorporates infringing technology
16   knowing that they would be sold in this District and elsewhere in the United States.
17                                   JURISDICTION AND VENUE
18         5.     This is an action for patent infringement arising under the patent laws of
19   the United States, Title 35 of the United States Code.
20         6.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and
21   1338(a).
22         7.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1400(b). On
23   information and belief, Vivint has committed acts of infringement in this District and
24   maintains multiple established places of business in the state of California and in this
25   District, specifically including the Vivint location at 6520 Sunset Boulevard, Los
26   Angeles, California 90028.
27         8.     Upon information and belief, Vivint is subject to this Court’s general and
28   specific personal jurisdiction due at least to their substantial business in California and
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 1   in this District, directly or through intermediaries, including: (i) at least a portion of the
 2   infringements alleged herein; and (ii) regularly doing or soliciting business, engaging in
 3   other persistent courses of conduct and/or deriving substantial revenue from goods and
 4   services provided to individuals and entities in the State of California.
 5                       BACKGROUND OF THE PATENTS IN SUIT
 6         The Invention
 7         9.     Eric Morgan Dowling and Mark Nicholas Anastasi are the inventors of
 8   U.S. patent nos. 6,574,239 (“the ’239 patent”), 8,266,296 (“the ’296 patent”), and
 9   8,291,010 (“the ’010 patent”). A true and correct copy of the ’239 patent is attached as
10   Exhibit 1. A true and correct copy of the ’296 patent is attached as Exhibit 2. A true
11   and correct copy of the ’010 patent is attached as Exhibit 3.
12         10.    The ’239 patent, the ’296 patent, and the ’010 patent resulted from the
13   pioneering efforts of Dr. Dowling and Mr. Anastasi (hereinafter “the Inventors”) in the
14   late 1990s, in the area of quickly resumed client-server communication sessions. (See
15   Ex. 8, Dowling Decl., ¶¶ at 15-19.) These efforts resulted in the development of
16   methods and apparatuses for virtual connection of a remote unit to a server and methods
17   and apparatuses for application-layer evaluation of communications received by a
18   mobile device. (See id. at ¶¶ 17, 19, 21.)
19         11.    At the time of these pioneering efforts, the most widely implemented
20   technology that was in use involved client-server communication sessions that could be
21   instantiated and torn down. (See id. at ¶ 15.) If communications between client and
22   server were needed again, the widely implemented technology would simply instantiate
23   a brand new session between the same client and server. (See id.) Secure Sockets
24   Layer (SSL) is an example of the earlier technology. Unlike Transport Layer Security
25   (TLS), SSL did not allow session reactivation, and instead required a new session to be
26   negotiated from scratch after an older session was deactivated (torn down).
27         12.    Creating a new session required the renegotiation of a set of session keys
28   that included computation of new cryptographic keys. (See id. at ¶ 15.) This process
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 1   required significant start up times and computational resources. (See id.) The invention
 2   encompassed by the patents in suit, instead of tearing down an old session and
 3   instantiating a new session, places the old session into an inactive state, and then
 4   reactivates the old session to place it back into the active state using a much shorter
 5   renegotiation sequence that makes use of saved session parameters. (See id. at ¶ 26.)
 6   The saved session parameters include precomputed client-server encryption keys that
 7   are used to quickly and efficiently reactivate the inactive sessions. Some embodiments
 8   allow the session layer connection between the client and server devices to be
 9   reactivated without the need to create a new session by negotiating new session
10   parameters and session keys. (See Exhibit 1 at Figs. 1A, 2, 3:45-63, 8:34-9:14, 9:54-
11   60.) Other embodiments additionally or alternatively allow the application layer session
12   to be reactivated without the need for the user to enter his/her user authentication
13   credentials at the time of each session reactivation.
14         13.    The Inventors first conceived of the inventions claimed in the ’239 patent,
15   the ’296 patent, and the ’010 patent as a way to shorten the connection time of the
16   dialup modems in use back in the 1990s. (See Ex. 8 at ¶ 16.) Each time a new dialup
17   modem connection needed to be reestablished, there would be a several-second period
18   (typically around 10-12 seconds) during which the user would hear audio modem tones
19   and hissing sounds while the modems reconnected and negotiated a new data session.
20   (See id.) The virtual session inventions allowed the modems to reconnect by
21   remembering the previously negotiated modem parameters, thereby greatly shortening
22   this renegotiation time to being almost unnoticeable. (See Ex. 1 at 13:42-43, 17:50-58;
23   Ex. 8 at ¶ 16.)
24         14.    While developing their invention, the inventors contemplated virtual
25   sessions would also be very useful in wireless applications (see, e.g., Ex. 1 at Fig. 2,
26   9:32-35, 13:4-8) to allow a client-side remote unit to maintain a virtual presence with a
27   remote server. (See Ex. 8 at ¶ 17.) The inventors taught that virtual sessions could be
28   layered over wireless connections to allow remote units such as wireless Internet
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 1   devices to be virtually connected to one or more server-side application programs
 2   running on one or more remote server systems without wasting wireless physical layer
 3   resources to maintain the one or more session layer connections. (See Ex. 1 at 9:28-60;
 4   Ex. 8 at ¶ 17.) The physical layer could be inactive, while the virtual session layer
 5   connections could be maintained without using wireless resources. (See Ex. 1 at 3:45-
 6   49, 8:56-58, 9:7-10; Ex. 8 at ¶ 17.) When the client-side remote unit needed to
 7   communicate with the server, or when the server needed to send newly received
 8   information to the remote unit, the virtual session could be reactivated without the need
 9   to tediously set up and authenticate a new secure cryptographic session with the server.
10   (See Ex. 1 at Fig. 1A, 9:53-60, 13:48-14:17; Ex. 8 at ¶ 17.)
11         15.    For example, the inventors developed methods for controlling virtual
12   sessions between a server-side program and a client-side application program. (See Ex.
13   1 at 14:32-43.) When the virtual session is not needed, it is placed into an inactive state
14   (like a sleep state). (See, e.g., Ex. 1 at 3:45-49, 10:6-11:22; Ex. 2 at 3:56-60.) In this
15   state, no communication resources are used. (See Ex. 1 at 3:37-44, 17:36-45.) When a
16   virtual session is needed again, for example when the server receives new information
17   for the client-side application program, the server can, for example, send a message that
18   causes the client-side application program to resume the virtual session with the server.
19   (See Ex. 1 at 3:60-63.) This session resumption is accomplished using saved session
20   parameters instead of going through the full session authentication and negotiation
21   process, as was needed in the prior art. In modern day parlance, the client-side
22   application program is typically called an “App.”
23         Advantage Over the Prior Art
24         16.    The patented inventions disclosed in the ’239 patent, the ’296 patent, and
25   the ’010 patent provide many advantages over the prior art, and in particular improved
26   the operations of communications between remote units such as wireless computing and
27   communications devices and remote servers. (See Ex. 1 at Figs. 1, 2; Ex. 2 at 3:48-4:39;
28   Ex. 3 at 3:48-4:39.) One advantage of the patented inventions is providing systems and
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 1   methods to enable users such as remote workers or other types of users to stay
 2   connected to one or more central servers without the need to continuously remain
 3   connected via one or more physical channels. (See, e.g., Ex. 1 at 3:37-40; Ex. 2 at 3:48-
 4   51; Ex. 3 at 3:48-51; Ex. 8 at ¶ 25.) A central aspect of the inventions is the concept of
 5   fast reconnect. (See, e.g., Ex. 1 at Abstract, 17:50-58; Ex. 2 at Abstract.) Users of
 6   remote devices can reconnect via a previously established communication session to a
 7   server-side application program, without the need to use the prior art’s long and tedious
 8   session establishment procedures each time a reconnect is needed after a session has
 9   been deactivated. (See Ex. 1 at 12:49-53, 17:36-42; Ex. 8 at ¶¶ 20, 25.)
10         17.    Another advantage offered by the patented inventions is to allow a remote
11   unit to maintain a private/secured session layer connection to support communication
12   between a client-side application program and a server-side application program over
13   long periods of session inactivity. (See Ex. 8 at ¶ 25.) This may be achieved, for
14   example, by computing cryptographic session parameters (e.g., according to public key
15   cryptography techniques) that can be used to quickly resume the session without the
16   user needing to start a new authentication process from scratch. (See Ex. 1 at 3:2-5,
17   3:55-60, 4:22-25, 8:45-53, 10:2-15, 10:51-55, 10:57-62, 11:15-21, 14:32-33, 18:61-66,
18   20:40-43, 20:50-55, 21-49-55, 22:1-7; Figs. 6, 7; Ex. 8 at ¶ 25.) This connection can be
19   referred to as a sustained secure connection that persists, for example, when the user has
20   turned off his or her user device or put it in airplane mode and then turned it back on
21   again. In the prior art, the secure cryptographic session would need to be terminated
22   under such conditions, and a new secure session between the client and the server would
23   need to be established from scratch. The session layer connection can preferentially be
24   used to support various different kinds of application layer communications between the
25   remote unit and the server-side application program. (See Ex. 1 at Figs. 1A, 2, 3:45-63,
26   8:34-9:14, 9:54-60.)
27         18.    Another advantage offered by some embodiments of the patented
28   inventions of the patents in suit is to allow a user using a remote unit to maintain a
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 1   private/secured logon type session between a client-side application program and a
 2   server-side application program over longer periods of time, without the need for the
 3   user to repeatedly reenter his or her logon credentials such as username and password.
 4   This is achieved by computing cryptographic session parameters (e.g., according to
 5   public key cryptography techniques) that can be used to quickly resume the session
 6   without the user needing to start a new authentication process from scratch. (See Ex. 1
 7   at 3:2-5, 3:55-60, 4:22-25, 8:45-53, 10:2-15, 10:51-55, 10:57-62, 11:15-21, 14:32-33,
 8   18:61-66, 20:40-43, 20:50-55, 21-49-55, 22:1-7, Figs. 6, 7; Ex. 8 at ¶ 25.) This can be
 9   referred to as a sustained secure connection that persists, for example, when the user has
10   turned off his or her user device or put it in airplane mode and then turned it back on
11   again. In the prior art, the secure cryptographic session would need to be terminated
12   under such conditions, and a new secure session between the client and the server would
13   need to be manually established in which the user would need to present his or her user
14   credentials to establish a new session.
15         19.    Another advantage offered by the patented inventions of the patents in suit
16   is that the invention contemplated that the remote unit 100 of Fig. 1 and Fig. 2 of the
17   ’239 patent would be able to wirelessly connect (207) (Ex. 1 at Fig. 2) to a plurality of
18   different server-side application programs (220) (Ex. 1 at Fig. 2). (See also Ex. 1 at
19   7:21-25, 7:50-52, 14:62-64.) Typically, a smart phone device will have many different
20   downloaded Apps, and each App will communicate with its own corresponding remote
21   server-side application program. Furthermore, as disclosed in the ’239 patent (Ex. 1 at
22   7:41-44), each such connection between each App on the remote unit and each different
23   server-side application program could be connected by its own virtual session, using a
24   separate set of saved session parameters including cryptographic session
25   reauthentication parameters for fast/accelerated session reconnect. The prior art
26   required all the different sessions to be tediously and manually established and torn
27   down each time they were separately needed. (See Ex. 1 at 7:56-8:10, 17:50-54, 18:40-
28   48, 19:57-60; Ex. 8 at ¶ 20.)
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 1         20.    Yet another advantage offered by various embodiments of the patented
 2   inventions of the patents-in-suit is that any given server-side application program can
 3   use a table to maintain multiple virtual sessions with a plurality of remote units using a
 4   database of pre-computed and prestored cryptographic session keys. (See Ex. 1 at 8:61-
 5   9:4, 10:57-59, 11:12-21; Ex. 8 at ¶¶ 20-21.) That is, the server-side application program
 6   can manage a large number of secure cryptographic virtual sessions with a large number
 7   of different client-side wireless remote units that have downloaded the corresponding
 8   client-side App. (See, e.g., Ex. 1 at Fig. 2, 9:61-10:13.) The prior art required these
 9   different sessions to be tediously and manually established and torn down each time
10   they were separately needed.
11         21.    Yet another advantage offered by various embodiments of the patented
12   inventions of the patents-in-suit is that the virtual session can be reactivated based on
13   either the remote unit requesting data or the server sending data. (See Ex. 1 at Figs. 3, 7,
14   13:21-28, 13:48-54, 13:59-14:3.) The prior art did not provide any means to use fast
15   virtual session reconnection techniques to make the client/server experience seamless
16   over extended periods of usage. (See Ex. 8 at ¶ 20.) Instead, techniques like SSL would
17   require new sessions to be set up and torn down over and over again.
18         22.    Yet another advantage offered by various embodiments of the patented
19   inventions of the patents-in-suit is the ability of the server-side application program to
20   send an unsolicited message to the client-side application running on the wireless
21   remote unit to cause one or more virtual sessions to be reestablished. (See Ex. 1 at 3:61-
22   63, 13:48-14:17, 24:61-64.) This message makes special use of saved cryptographic
23   authentication parameters and information needed to identify the relevant client-side
24   application program (App) that runs on the remote unit. (See Ex. 1 at Figs. 7, 8.) The
25   specification not only describes specific exemplary embodiments that make use of caller
26   ID type packets to send the outbound notification message, but the specification also
27   describes many more general alternative embodiments directed toward wireless
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 1   applications. (See Ex. 1 at 6:45-51, 13:65-14:17, 22:39-55, 22:64-23:6, 23:29-32,
 2   23:39-64, 24:31-25:8, and 25:20-26.)
 3         23.    Because of these significant advantages that can be achieved through the
 4   use of various embodiments of the patented inventions, the ’239 patent, the ’296 patent,
 5   and the ’010 patent present significant commercial value for companies like Defendant.
 6   Indeed, Defendant coordinates its products and services using its mobile Apps,
 7   providing convenience and efficiency for its customers, enhancing the customer
 8   engagement and experience of its customers, and increasing the efficiency of its own
 9   operations, in addition to other benefits.
10         Prior Litigation
11         24.    The ’239 patent was previously litigated in the Eastern District of Texas (2-
12   04-CV-00108, 2-03-CV-00465) and in the Northern District of Texas (3-04-CV-00281).
13   These cases settled before any claim construction hearings were conducted, although in
14   one case a joint claim construction and prehearing statement was submitted by the
15   parties. See Dkt. 130, East Texas Technology Partners, L.P. v. Toshiba America, Inc.,
16   et al., No. 2:03-CV-465(TJW) (E.D. Tex. Jan. 5, 2005).
17         25.    The ’239 patent, the ’296 patent, and the ’010 patent were more recently
18   asserted by CIT in several cases in the Eastern District of Texas. See e.g.,
19   Communication Interface Technologies, LLC v. PepsiCo., Inc. (4:20-cv-00286);
20   Communication Interface Technologies, LLC v. Rent-A-Center, Inc. (4:20-cv-00287);
21   Communication Interface Technologies, LLC v. Texas Instruments, Inc. (4:20-cv-
22   00288); Communication Interface Technologies, LLC v. Yum! Brands, Inc. (4:20-cv-
23   00289); Communication Interface Technologies, LLC v. FedEx Corp. (4:20-cv-00305);
24   Communication Interface Technologies, LLC v. Cinemark Holdings, Inc., et al. (4:20-
25   cv-00306); Communication Interface Technologies, LLC v. Capital One Financial
26   Corp. (4:20-cv-00307); Communication Interface Technologies, LLC v. American
27   Messaging Services, LLC (4:20-cv-00308); Communication Interface Technologies,
28   LLC v. Farmers Group, Inc. (4:20-cv-00526); Communication Interface Technologies,
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 1   LLC v. JPMorgan Chase & Co. (4:20-cv-00527); Communication Interface
 2   Technologies, LLC v. TD Ameritrade, Inc. (4:20-cv-00528); Communication Interface
 3   Technologies, LLC v. United Parcel Service of America, Inc. (4:20-cv-00529);
 4   Communication Interface Technologies, LLC v. Albertson’s, LLC et al. (4:20-cv-
 5   00550); Communication Interface Technologies, LLC v. Aldi, Inc. et al. (4:20-cv-
 6   00551); Communication Interface Technologies, LLC v. The Allstate Corporation et al.
 7   (4:20-cv-00552); Communication Interface Technologies, LLC v. Tractor Supply
 8   Company (4:20-cv-00805); Communication Interface Technologies, LLC v. McDonald’s
 9   Corporation et al. (4:20-cv-00804); Communication Interface Technologies, LLC v.
10   Foot Locker, Inc. (4:20-cv-00802); Communication Interface Technologies, LLC v. 7-
11   Eleven, Inc. (4:20-cv-00800); Communication Interface Technologies, LLC v. Teachers
12   Insurance and Annuity Association of America et al. (4:20-cv-00842); Communication
13   Interface Technologies, LLC v. Applebee’s Restaurants LLC (4:21-cv-00778);
14   Communication Interface Technologies, LLC v. Choice Hotel’s International, Inc.
15   (4:21-cv-00780); and Communication Interface Technologies, LLC v. PNC Financial
16   Services Group, Inc. (4:21-cv-00782), among others.
17            COUNT I – INFRINGEMENT OF U.S. PATENTS NO. 6,574,239
18         26.    The allegations set forth in the foregoing paragraphs 1 through 25 are
19   incorporated into this First Claim for Relief.
20         27.    On June 3, 2003, the ’239 patent, entitled VIRTUAL CONNECTION OF
21   A REMOTE UNIT TO A SERVER was duly and legally issued by the United States
22   Patent and Trademark Office and the ’239 patent expired on or about October 7, 2018.
23         28.    CIT is the assignee and owner of the right, title and interest in and to the
24   ’239 patent, including the right to assert all causes of action arising under said patent
25   and the right to any remedies for infringement of them.
26         29.    As set forth above, the inventions of the ’239 patent resolve technical
27   problems related to client-server computing architecture. (See Ex. 8 at ¶ 21.)
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 1          30.   The claims of the ’239 patent do not merely recite the performance of some
 2   business practice known from the pre-Internet world along with the requirement to
 3   perform it on the Internet. Instead, the claims of the ’239 patent recite one or
 4   more inventive concepts that are rooted in computerized client-server computing
 5   architecture technology and overcome problems specifically arising in the realm of
 6   computerized client-server computing architecture technologies. (See id. at ¶¶ 19, 21-
 7   26.)
 8          31.   As set forth above, the claims of the ’239 patent recite an invention that is
 9   not merely the routine or conventional use of computers. (See id. at ¶¶ 22-24.) Instead,
10   the invention makes use of specific client-server computer architecture functionalities.
11   The ’239 patent claims thus specify how computing devices and remote servers are
12   manipulated to yield a desired result.
13          32.   The technology claimed in the ’239 patent does not preempt all ways of
14   using client-server computing architectures or the use of all communication session
15   technologies, or any other well-known or prior art technology.
16          33.   Each claim of the ’239 patent recites a combination of elements sufficient
17   to ensure that the claim in practice amounts to significantly more than a patent on an
18   ineligible concept.
19          34.   As of the date of this filing, there are more than 180 licensees to the ’239
20   patent.
21          35.   Upon information and belief, Vivint has directly infringed under 35 U.S.C.
22   § 271(a), literally and/or under the doctrine of equivalents, at least one claim of the ’239
23   patent by making, using, selling, offering to sell, importing and/or providing and/or
24   causing to be used products, specifically one or more mobile device applications, which
25   by way of example include the Vivint App: “Vivint” (the “Accused Instrumentalities”).
26   (See, Vivint App via Google Play,
27   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
28   (last accessed and downloaded October 14, 2022).)
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 1         36.    Upon information and belief, the exemplary versions herein and previous
 2   versions of the Accused Instrumentalities distributed prior to expiration of the patents in
 3   suit operated materially in the same manner.
 4         37.    Upon information and belief, at relevant times, the Accused
 5   Instrumentalities perform a method in which wireless push notification messages are
 6   sent over TLS sessions, and the remote server and the client-side application establish a
 7   separate TLS connection for traditional client-server communications. Earlier versions
 8   of the Vivint Apps were developed and published in and before 2018 based on the
 9   version history. (See https://apps.apple.com/us/app/vivint/id734547946 (last accessed
10   and downloaded October 14, 2022).) User reviews of prior versions of the Vivint App
11   listed on Google Play extend to well prior to the expiration of the ’239 patent. (See
12   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
13   (last accessed and downloaded October 14, 2022).)
14         38.    Attached hereto as Exhibit 4, and incorporated herein by reference, is a
15   claim chart detailing how one or more of the Accused Instrumentalities infringe claim 7
16   of the ’239 patent.
17         39.    This infringement analysis is necessarily preliminary, as it is provided in
18   advance of any discovery provided by Vivint with respect to the ’239 patent.
19         40.    CIT reserves all rights to amend, supplement and modify this preliminary
20   infringement analysis.
21         41.    Nothing in the attached chart should be construed as any express or implied
22   contention or admission regarding the construction of any term or phrase of the claims
23   of the ’239 patent.
24         42.    The Accused Instrumentality infringed at least one claim of the ’239 patent
25   during the pendency of the ’239 patent.
26         43.    CIT has been harmed by Vivint’s infringing activities regarding the ’239
27   patent.
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 1            COUNT II – INFRINGEMENT OF U.S. PATENTS NO. 8,266,296
 2          44.   The allegations set forth in the foregoing paragraphs 1 through 43 are
 3   incorporated into this Second Claim for Relief.
 4          45.   On September 11, 2012, the ’296 patent, entitled APPLICATION-LAYER
 5   EVALUATION OF COMMUNICATIONS RECEIVED BY A MOBILE DEVICE was
 6   duly and legally issued by the United States Patent and Trademark Office and the ’296
 7   patent expired on or about March 30, 2019.
 8          46.   CIT is the assignee and owner of the right, title and interest in and to the
 9   ’296 patent, including the right to assert all causes of action arising under said patent
10   and the right to any remedies for infringement of them.
11          47.   As set forth above, the inventions of the ’296 patent resolve technical
12   problems related to client-server computing architecture. (See Ex. 8 at ¶ 21.)
13          48.   The claims of the ’296 patent do not merely recite the performance of some
14   business practice known from the pre-Internet world along with the requirement to
15   perform it on the Internet. Instead, the claims of the ’296 patent recite one or
16   more inventive concepts that are rooted in computerized client-server computing
17   architecture technology and overcome problems specifically arising in the realm of
18   computerized client-server computing architecture technologies. (See id. at ¶¶ 19, 21-
19   26.)
20          49.   As set forth above, the claims of the ’296 patent recite an invention that is
21   not merely the routine or conventional use of computers. (See id. at ¶¶ 22-24.) Instead,
22   the invention makes use of specific client-server computer architecture functionalities.
23   The ’296 patent claims thus specify how computing devices and remote servers are
24   manipulated to yield a desired result.
25          50.   The technology claimed in the ’296 patent does not preempt all ways of
26   using client-server computing architectures or the use of all communication session
27   technologies, or any other well-known or prior art technology.
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                                          12
                         COMPLAINT FOR PATENT INFRINGEMENT
       Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 14 of 168 Page ID #:14


 1         51.    Each claim of the ’296 patent recites a combination of elements sufficient
 2   to ensure that the claim in practice amounts to significantly more than a patent on an
 3   ineligible concept.
 4         52.    As of the date of this filing, there are more than 180 licensees to the ’296
 5   patent.
 6         53.    Upon information and belief, Vivint has directly infringed under 35 U.S.C.
 7   § 271(a), literally and/or under the doctrine of equivalents, at least one claim of the ’296
 8   patent by making, using, selling, offering to sell, importing and/or providing and/or
 9   causing to be used products, specifically one or more mobile device applications, which
10   by way of example include the Vivint App: “Vivint” (the “Accused Instrumentalities”).
11   (See, Vivint App via Google Play,
12   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
13   (last accessed and downloaded October 14, 2022).)
14         54.    Upon information and belief, the exemplary versions herein and previous
15   versions of the Accused Instrumentalities distributed prior to expiration of the patents in
16   suit operated materially in the same manner.
17         55.    Upon information and belief, at relevant times, the Accused
18   Instrumentalities perform a method in which wireless push notification messages are
19   sent over TLS sessions, and the remote server and the client-side application establish a
20   separate TLS connection for traditional client-server communications. Earlier versions
21   of the Vivint Apps were developed and published in and before 2018 based on the
22   version history. (See https://apps.apple.com/us/app/vivint/id734547946 (last accessed
23   and downloaded October 14, 2022).) User reviews of prior versions of the Vivint App
24   listed on Google Play extend to well prior to the expiration of the ’296 patent. (See
25   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
26   (last accessed and downloaded October 14, 2022).)
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                           COMPLAINT FOR PATENT INFRINGEMENT
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 1         56.    Attached hereto as Exhibit 5, and incorporated herein by reference, is a
 2   claim chart detailing how one or more of the Accused Instrumentalities infringe claim 1
 3   of the ’296 patent.
 4         57.    This infringement analysis is necessarily preliminary, as it is provided in
 5   advance of any discovery provided by Vivint with respect to the ’296 patent.
 6         58.    CIT reserves all rights to amend, supplement and modify this preliminary
 7   infringement analysis.
 8         59.    Nothing in the attached chart should be construed as any express or implied
 9   contention or admission regarding the construction of any term or phrase of the claims
10   of the ’296 patent.
11         60.    The Accused Instrumentality infringed at least one claim of the ’296 patent
12   during the pendency of the ’296 patent.
13         61.    CIT has been harmed by Vivint’s infringing activities regarding the ’296
14   patent.
15             COUNT III – INFRINGEMENT OF U.S. PATENTS NO. 8,291,010
16         62.    The allegations set forth in the foregoing paragraphs 1 through 61 are
17   incorporated into this Third Claim for Relief.
18         63.    On October 16, 2012, the ’010 patent, entitled VIRTUAL CONNECTION
19   OF A REMOTE UNIT TO A SERVER was duly and legally issued by the United States
20   Patent and Trademark Office and the ’010 patent expired on or about March 30, 2019.
21         64.    CIT is the assignee and owner of the right, title and interest in and to the
22   ’010 patent, including the right to assert all causes of action arising under said patent
23   and the right to any remedies for infringement of them.
24         65.    As set forth above, the inventions of the ’010 patent resolve technical
25   problems related to client-server computing architecture. (See Ex. 8 at ¶ 21.)
26         66.    The claims of the ’010 patent do not merely recite the performance of some
27   business practice known from the pre-Internet world along with the requirement to
28   perform it on the Internet. Instead, the claims of the ’010 patent recite one or
                                            14
                           COMPLAINT FOR PATENT INFRINGEMENT
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 1   more inventive concepts that are rooted in computerized client-server computing
 2   architecture technology and overcome problems specifically arising in the realm of
 3   computerized client-server computing architecture technologies. (See id. at ¶¶ 19, 21-
 4   26.)
 5          67.   As set forth above, the claims of the ’010 patent recite an invention that is
 6   not merely the routine or conventional use of computers. (See id. at ¶¶ 22-24.) Instead,
 7   the invention makes use of specific client-server computer architecture functionalities.
 8   The ’010 patent claims thus specify how computing devices and remote servers are
 9   manipulated to yield a desired result.
10          68.   The technology claimed in the ’010 patent does not preempt all ways of
11   using client-server computing architectures or the use of all communication session
12   technologies, or any other well-known or prior art technology.
13          69.   Each claim of the ’010 patent recites a combination of elements sufficient
14   to ensure that the claim in practice amounts to significantly more than a patent on an
15   ineligible concept.
16          70.   As of the date of this filing, there are more than 180 licensees to the ’010
17   patent.
18          71.   Upon information and belief, Vivint has directly infringed under 35 U.S.C.
19   § 271(a), literally and/or under the doctrine of equivalents, at least one claim of the ’010
20   patent by making, using, selling, offering to sell, importing and/or providing and/or
21   causing to be used products, specifically one or more mobile device applications, which
22   by way of example include the Vivint Apps: “Vivint” (the “Accused Instrumentalities”).
23   (See, Vivint App via Google Play,
24   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
25   (last accessed and downloaded October 14, 2022).)
26          72.   Upon information and belief, the exemplary versions herein and previous
27   versions of the Accused Instrumentalities distributed prior to expiration of the patents in
28   suit operated materially in the same manner.
                                            15
                           COMPLAINT FOR PATENT INFRINGEMENT
       Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 17 of 168 Page ID #:17


 1         73.    Upon information and belief, at relevant times, the Accused
 2   Instrumentalities perform a method in which wireless push notification messages are
 3   sent over TLS sessions, and the remote server and the client-side application establish a
 4   separate TLS connection for traditional client-server communications. Earlier versions
 5   of the Vivint Apps were developed and published in and before 2018 based on the
 6   version history. (See https://apps.apple.com/us/app/vivint/id734547946 (last accessed
 7   and downloaded October 14, 2022).) User reviews of prior versions of the Vivint App
 8   listed on Google Play extend to well prior to the expiration of the ’010 patent. (See
 9   https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US
10   (last accessed and downloaded October 14, 2022).)
11         74.    Attached hereto as Exhibit 6, and incorporated herein by reference, is a
12   claim chart detailing how one or more of the Accused Instrumentalities infringe claim 1
13   of the ’010 patent.
14         75.    Attached hereto as Exhibit 7, and incorporated herein by reference, is a
15   claim chart detailing how one or more of the Accused Instrumentalities infringe claim
16   17 of the ’010 patent.
17         76.    These infringement analyses are necessarily preliminary, as they are
18   provided in advance of any discovery provided by Vivint with respect to the ’010
19   patent.
20         77.    CIT reserves all rights to amend, supplement and modify this preliminary
21   infringement analysis.
22         78.    Nothing in the attached charts should be construed as any express or
23   implied contention or admission regarding the construction of any term or phrase of the
24   claims of the ’010 patent.
25         79.    The Accused Instrumentality infringed at least one claim of the ’010 patent
26   during the pendency of the ’010 patent.
27         80.    CIT has been harmed by Vivint’s infringing activities regarding the ’010
28   patent.
                                            16
                           COMPLAINT FOR PATENT INFRINGEMENT
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 1                                       PRAYER FOR RELIEF
 2           WHEREFORE, CIT demands judgment for itself and against Vivint as follows:
 3           A.    An adjudication that Vivint has infringed the patents in suit;
 4           B.    An award of damages to be paid by Vivint adequate to compensate CIT for
 5   Vivint’s past infringement of the patents in suit, including interest, costs, expenses and
 6   an accounting of all infringing acts including, but not limited to, those acts not presented
 7   at trial;
 8           C.    A declaration that this case is exceptional under 35 U.S.C. § 285, and an
 9   award of CIT’s reasonable attorneys’ fees; and
10           D.    An award to CIT of such further relief at law or in equity as the Court
11   deems just and proper.
12                              DEMAND FOR TRIAL BY JURY
13           Pursuant to Local Rule 38-1, CIT hereby demands a trial by jury on all claims so
14   triable.
15   Dated: October 19, 2022                 LAW OFFICES OF SETH W. WIENER
16

17                                           By: _____________________________
18                                           Seth W. Wiener
                                             Attorneys for Plaintiff
19                                           COMMUNICATION INTERFACE
                                             TECHNOLOGIES, LLC
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                                          17
                         COMPLAINT FOR PATENT INFRINGEMENT
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                         EXHIBIT 1
Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 20 of 168 Page ID #:20

                                                                                                           USOO6574239B1

(12) United States Patent                                                                 (10) Patent No.:              US 6,574,239 B1
       Dowling et al.                                                                     (45) Date of Patent:                         Jun. 3, 2003

(54) VIRTUAL CONNECTION OF A REMOTE                                                        5,757,890 A       5/1998 Venkatakrishnan
        UNIT TO ASERVER                                                                    5,771,353 A * 6/1998 Eggleston et al. .......... 709/227
                                                                                           5,896,444 A       4/1999 Perlman et al.
(76) Inventors: Lookout
                Eric Morgan    Dowling, 1132 W.
                        Dr., Richardson, TX (US)
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                                                                                           2- - -
                                                                                                    A : SE Its        tal
                                                                                                            ggleSLOn et al.             ..........
                                                                                                                                                   709/206
                75080;
                C
                       Mark   Nicholas Anastasi, 405
                         Trail. Highland Village, TX
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                                                                                                                 c
                                                                                                            ggleston et al.             ..........
                                                                                                                                                   709f2O6
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                        opperas          , Illg               9C,                          6,308.281 B1     10/2001 Hall, Jr. et al.
                      (US) 75077                                                           6,317,455 B1     11/2001 Williams et al.
                                                                                           6,426,946 B1      7/2002 Takagi et al.
(*) Notice:           Subject to any disclaimer, the term of this                                                         9.
                      patent is extended or adjusted under 35                                    FOREIGN PATENT DOCUMENTS
                      U.S.C. 154(b) by 0 days.                                       WO          WO 99/27702   6/1999
(21)    Appl. No.: 09/167,698                                                        * cited by examiner
(22)    Filed:      Oct. 7, 1998                                                     Primary Examiner Salvatore Cangialosi
(51)    Int. Cl."                                               H04J 3700            (74) Attorney, Agent, or Firm-Eric M. Dowling
(52)    U.S. Cl. ........................................ 370/469; 370/329           (57)                  ABSTRACT
(58)    Field of Search ................................. 370/329, 389,
                                370/468, 469; 709/203, 206, 227                      A method is provided for reconnecting a telephone modem
                                                                                     with a reduced delay by reducing a time associated with
(56)                     References Cited                                            retraining. A wireline communication connection is initial
                                                                                     ized by a telephone modem to train a set of parameters. The
                 U.S.   PATENT DOCUMENTS                                             parameters are Stored in a memory Structure. The connection
       4,285,061 A        8/1981 Ho                                                  is used for communication, and is then terminated. At a later
       4,416,015 A       11/1983 Gitlin                                              time, the connection is reestablished by accessing the
       4,489.416 A       12/1984 Stuart                                              parameters from memory and using them to reconnect the
       4,578,796 A        3/1986 Charalambous et al.                                 modem with a reduced set-up delay. Another method
       4,852,151 A        7/1989 Dittakavi et al.                                    involves coupling to a first physical layer and establishing a
       4,995,074 A        2/1991 Goldman et al.                                      Session with a server, and then decoupling from the first
       5,127,051 A        6/1992 Chan et al.                                         physical layer while maintaining the Session. Later, the
       5,287.401 A        2/1994 Lin                                                 Session is resumed using a Second physical layer. At least
       5,321,722 A         6/1994 Ogawa                                              one of the physical layers involves a local interface unit that
        35: A             yo            t                                            includes a landline connection to a WAN.
       5,600,712 A         2/1997 Hanson et al.
       5,751,796 A         5/1998 Scott et al.                                                         75 Claims, 4 Drawing Sheets

                                                             600
                                                               v
                                                    605 - ESTABLISH COMMUNICATION
                                                                    WITH REMOTE UNIT

                                                    610-N ACCEPT AUTHORIZATION
                                                                       PARAMETERS

                                                                   STABLISH APPLICATION
                                                    615               SESSION FOR
                                                                      REMOTE UNIT

                                                    620-              PROVIDE ENTRY
                                                                    N TABLE STRUCTURE

                                                                    DISCONNECT FROM
                                                    625-1              REMOTE UNIT                650
                                                                       REESTABLISH          MANIAN
                                                                   COMMUNICATIONS WITH       WIRTUAL
                                                    650-               REMOTE UNT            SESSION

                                                               ACCEPT AUTHORIZATION
                                                     635-1                CODES

                                                                     RESUME SESSION
                                                    640-1               ACT WITES
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                          10                                             100
                                                                        ?



    120      CONTROL
             PROGRAM                      COMMUNICATION                      127
                                             MODULE                      /
              MODULE
                                                            125

     150
              DISPLAY
             MONTOR
                                            uns
                                             MODULE                          158
                                                            135
               MASS                           POWER
     140      STORAGE                        MODULE           145       FIC        1




                                                      184
      150N     151         APPLICATION
                            SESSIONS
                                       LA                           APPLICATION
                                                                     SESSIONS
                                                                                       152
                                                      182
               154 -      REMOTE UNIT LA                          VIRTUAL SESSION - 156
                         VIRTUAL SESSION                              SERVER


               158         TRANSPORT         - -------              TRANSPORT          160

  FIC. 1A
               164-         Nt(WURK           - - -- - - --                            166


                1701            LINK           ---- - --                               172


                176            PHYSICAL                              PHYSICAL          178
                                                  18O
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       200
                                                                 TABLE       225
                       2O7                                     STRUCTURE

      100                                   210

     REMOTE                           COMMUNICATION             S6           215


                                                                  2.
                             212      COMMUNICATION            APPLICATION   220
            FI C. 2                      SERVER                 PROGRAM




               500



       305           INTERFACE SCREENS BASED WORKFLOW PROCESSING

                     PREDICTION            PREDICTION

       32O    ESTABLESH CONNECTION                 TERMINATE
                  N BACKGROUND                    CONNECTION

                     EXCHANGE
       3251 AUTHENTICATION DATA

       330
              ESTABLISH/REACTIVATE
                    SESSION


                                       FIC 3
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U.S. Patent                Jun. 3, 2003   Sheet 3 of 4              US 6,574,239 B1

        400
         y
  405         RECEIVE COMMUNICATIONS
                   REQUEST FROM
                  USER PROGRAM

  410           NITATE CONNECTION

  415              AUTHORIZATION
                    CONFIRMATION

  420               NTAL DATA
                  COMMUNICATION

   425           NITA DATA DISPLAY                                 500

               LINE-RATE NEGOTATION                               y
   430          IN THE BACKGROUND
                                                ESTABLISH FRST           505
                    SUBSEQUENT                  CONNECTION WITH
   435          HIGH-SPEED TRANSFER              REMOTE ENTITY
                   FIC        4                ESTABLISH SESSION
                                               WITH REMOTE ENTITY


                                                 DROP CURRENT
                                                  CONNECTION                   540
                                                ESTABLISH SECOND         MANTAN
                                                 CONNECTION WITH         VIRTUAL
                                                  REMOTE ENTITY          SESSION


                                                   COMMUNCATE
                                             AUTHORIZATION SEQUENCE

                                                 RESUME SESSION
                                               WITH REMOTE ENTITY


                                                  FIC 6
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U.S. Patent               Jun. 3, 2003          Sheet 4 of 4                   US 6,574,239 B1

          600                                                                        700

           ESTABLISH COMMUNICATION                                ESTABLISH AND
               WTH REMOTE UNIT                                    AUTHENTCATE              705
                                                                    SESSION
            ACCEPT AUTHORIZATION
                 PARAMETERS

            ESTABLISH APPLICATION
   615             SESSION FOR
                   REMOTE UNIT                             ACCEPT COMMUNICATION
                                                                   REQUEST FOR             715
   620-           PROVIDE ENTRY                                    REMOTE UNIT
                 N TABLE STRUCTURE
                                                                 SET UP CALLER-ID          720
                                                                      PACKET
                 DISCONNECT FROM
   625             REMOTE UNIT
                                                                DIAL-OUT TO REMOTE     - 725
                    REESTABLISH            MANTAIN              UNT AND FORWARD
   630          COMMUNICATIONS WITH        VIRTUAL
                    REMOTE UNIT            SESSION
                                                                  PACKETIZE THE
            AccEP Agization                                                                745
                                                                SEND COMMUNICATION
                  RESUME SESSION                                                           750
   640               ACTIVITIES
                   FIC.. 6                                         FIC 7


                 800-                                                805
                                                                     810

                                                                      815

                                   REACTIVATE VIRTUAL SESSION         820
Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 25 of 168 Page ID #:25


                                                    US 6,574.239 B1
                              1                                                                2
      VIRTUAL CONNECTION OF A REMOTE                                  and each visit may involve the expenditure of billable
              UNIT TO ASERVER                                         resources Such as medicines.
                                                                        In the above Scenario, a mobile worker must interact with
                                                                      a central Server during the course of a day. The worker may
          BACKGROUND OF THE INVENTION                                 wish to access the central Server while Visiting a patient. The
  1. Field of the Invention                                           worker may also wish to access the Server from a location
                                                                      where only a wireleSS connection can be established. From
   This invention relates generally to client-server comput           a performance perspective, an ideal Solution is to provide the
ing architectures and communication techniques. More                  mobile worker with a wireleSS connection from a remote
particularly, the invention relates to a System whereby a             unit to a central Server. Such a wireleSS connection could be
mobile worker and a central Server may maintain a virtually           established via a high-powered radio connection with a
continuous connection without the need to maintain a physi            broad area of coverage or via an existing cellular or personal
cal connection continuously.                                          communication system (PCS) network. Solutions using
   2. Description of the Related Art                                  high-powered radio links have the disadvantage that costly
   The concept of a virtual connection has arisen in connec      15   Spectrum may be required. Maintaining a link on a cellular
tion with telecommuting and related applications. Such a              or PCS System is expensive in that a continuous connection
system is described in U.S. Pat. No. 5,764,639. A telecom             consumes billable airtime which is also very costly. From an
muter dials into a Server using a Standard telephone line. The        airtime-cost perspective, an ideal Solution would be to force
telecommuter's modem and a modem controlled by the                    the worker to create a connection, download or up load
central Server establish a connection therebetween. Once a            information, and work locally with data on the remote unit
connection is established, the telecommuter may access a              as often as possible. This Solution is tedious, and while
computer connected to the Server, read emails and receive             Saving airtime costs, may actually represent the more costly
phone calls and faxes. For example, if a customer attempts            Solution when professional Service costs are factored in. This
to call the telecommuter at work by dialing into a private            method has the added disadvantage that when files are
branch exchange (PBX), the server will convert the incom         25   uploaded or downloaded the data must be Synchronized in
ing call to a packetized form, Such as H.323, and redirect the        case another user has changed the data in parallel with the
call via the existing connection between the telecommuter             mobile worker. Alternatively, other users must be “locked
and the Server. Using this System, the telecommuter may               out' of the file from the time the mobile user downloads it
access a computer at work, answer phone calls and answer              until it is finally uploaded with any changes made. This is the
emails. The telecommuter thus appears to be present in his            problem Solved using Semaphores in Shared memory Sys
or her office and thus has a virtual presence there. Note for         tems. In the context of the present invention, a “file Sema
this System to properly function, the telecommuter must stay          phore' is a Semaphore used to lock a Second user out of a file
connected to the server at all times. While this does not             while a first user is using it. Due to the aforementioned
present a significant problem for local telecommuting, this           reasons, in many applications forcing the worker to repeat
Solution is quite costly for long distance telecommuting.        35   edly connect, disconnect, upload and download information
Likewise, this Solution is very costly if the telecommuter is         is unacceptable.
mobile and must maintain a virtual presence with the Server              Some mobile networks have been constructed using what
using a cellular wireleSS connection. Furthermore, in Some            is known as cellular digital packet data (CDPD). In a CDPD
areas it may be difficult to maintain a wireless connection           network, a remote unit transmits a data packet on an unused
continuously. A lost connection may also prevent one from        40   analog channel. In this Sense the mobile unit remains Vir
regaining access to the System until Some period of time has          tually connected to a CDPD communication server. Wireless
passed. Some mobile workers require only intermittent                 airtime is only consumed when data is actually sent. A
access to the Server, but find it too inconvenient to place a         disadvantage to this approach is CDPD networks are not
dial-in call and to log onto the System every time acceSS is          universally available. Cellular coverage is much more ubiq
needed.                                                          45   uitous than CDPD coverage. Also, CDPD network Subscrib
   There is a need to provide mobile workers with various             ers must often pay high fees and hence CDPD may not
forms of virtual connectivity. Mobile workers differ from             represent the most economical Solution.
telecommuters in that while a telecommuter typically works               In Some Systems. Such as packet Switched network routers,
from a Single home location or remote office, a mobile                offices make use of dial-out linkS. Dial-out links are useful
worker moves from location to location during the course of      50   when remote offices are separated by long distances. In Such
a normal working day. An example of a mobile worker is a              Systems, when a packet must be routed from a first office to
home-care professional. A home-care professional is a medi            a Second office, a call is placed to route the packet. The
cal worker who periodically travels to visit with different           dial-out connection remains connected until a no-traffic
Sets of homebound patients according to their individual              condition is detected, indicating the line is no longer active.
needs. The individual patients each have a set of medical        55   When the no-traffic condition is detected the connection is
records indicative of their medical histories. A patient's            dropped until it is again needed. Dial-out links are thus used
medical record is preferably maintained as an interactive             to reduce long distance fees associated with maintaining a
electronic document containing multiple parts. For example,           constant connection, and represents a useful Starting point
the medical record indicates to the home-care professional            for Solving the foregoing problems relating to the establish
precisely what procedures are to be performed and what           60   ment of a virtual presence of a mobile worker. Client-server
medications are to be administered or otherwise given to the          protocols and fast automated connection Strategies employ
patient. Once the Services are performed, the home-care               ing dial-out links are needed to provide new ways for a
professional must annotate the medical record accordingly.            mobile worker to maintain a virtual presence. Also, new
The medical record is updated to reflect the patient's vital          methods are needed to enable dial-out links to be set up with
Signs and other information related to patient progress. Also,   65   low delays to make them more useful for novel Systems.
a billing System takes note to track expendables and Services            It would be desirable to provide a system whereby a
rendered. For example, the patient may be billed per Visit            remote worker could maintain a Seamless connection with a
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                                                     US 6,574.239 B1
                              3                                                                    4
central Server without the need to maintain a dedicated                workflow, when the user will require connectivity to the
channel. It would be desirable if the remote worker could              central Server. Based upon the prediction and in the
communicate with the central Server without the need to                background, a third Step involves initiating the establish
spend time to enter a password, reconnect, and wait for a line         ment of a physical layer communication connection to the
negotiation Sequence to proceed before being able to use the      5    central Server.
connection. It would be desirable for a protocol Stack to                A third aspect of the present invention involves a method
activate a virtual Session based on a prediction derived from          of establishing a connection with a low connection Set-up
a workflow. It would be desirable to use this prediction to set        time. In a first step, the method initiates the establishment of
up a connection in the background without disturbing the               a communication connection to be used to communicate
mobile worker while the mobile worker performed tasks in               with a remote entity. Next the method communicates appli
a workflow. It would also be desirable to have a remote unit           cation layer data via the communication connection prior to
which contains most of the Screen-related information                  the completion of a line-rate negotiation process. Next the
needed to provide the appearance of an established connec              method negotiates a line Speed in the background.
tion before the connection has been fully established. It                A fourth aspect of the present invention involves a method
would be desirable for the remote unit to download infor          15   of Setting up and operating a virtual Session. This method
mation before it is needed and upload information after it is          can be practiced by a client-side remote unit or a Server-side
gathered without the user even being aware these actions are           Virtual Session Server. A first connection is established to a
being performed. It would further be desirable to establish a          remote entity. This first connection is then used to establish
Virtual Session using a first communication medium Such as             a set of parameters needed to define a communication
a landline and to later communicate using the Same Virtual             session with the remote entity. Next the first connection
Session using a Second communication medium Such as a                  disconnected and a set of communication Session parameters
wireless link. This would allow a mobile worker to select the          are maintained. NeXt a Second connection to the remote
most economical or convenient means of communications at               entity is established and an authorization Sequence is com
a given time. In embodiments involving modem-based                     municated. The communication Session is next reactivated
connections, it would be desirable to transmit data imme          25   using the communication Session using the Second connec
diately using instantly available but lower line Speeds. It            tion. A related method is used to allow a remote unit to
would be desirable to then negotiate a higher line Speed in            maintain a virtual communications presence with a remote
the background while the remote worker and/or the server               communication Server coupled to a virtual Session Server.
perform other tasks. Moreover, it would be desirable to                   A fifth aspect of the invention involves a method of
establish a Session between a remote unit and a Server So that         accessing a Server from a remote unit. At a first time, a first
various forms of communications may proceed while pro                  physical layer is used to establish a Session with the Server.
Viding the user with the appearance the user is continuously           The Session involves a communication path that involves at
connected to the server and has a virtual presence with the            least partially the first physical layer. The first physical layer
SCWC.                                                                  is then decoupled while maintaining the Session. At a Second
            SUMMARY OF THE INVENTION
                                                                  35   time, a Second physical layer is used to resume the Session
                                                                       So that the communication path of the Session involves at
   The present invention solves these and other problems by            least partially the Second physical layer. At least one of the
providing Systems and methods to enable a remote worker to             physical layerS involves a local coupling to a local interface
Stay virtually connected to a central Server without the need          unit that couples to a WAN via a landline connection and the
to continuously remain connected via a physical channel.          40   communication path of the Session to the Server comprises
The present invention is useful when costs are associated              the landline connection.
with maintaining a connection, for example when the con                   Another aspect of the invention involves a method of
nection has associated with it long distance, wireless, or             reconnecting a telephone modem with a reduced delay by
other usage-related toll charges.                                      reducing a time associated with retraining. A first commu
   A first aspect of the present invention involves a commu       45   nication connection over a wireline telephone communica
nication protocol making use of a virtual Session layer. The           tion channel is initialized using the telephone modem. The
Virtual Session layer allows a communication Session and an            initializing is performed at least partially by performing a
application Session to be maintained in a deactivated State            line rate negotiation Sequence with a far end modem to train
when no physical connection exists. When a remote unit                 a set of parameters to be used to Support communications
later reconnects with a server, the virtual Session is placed     50   over the wireline telephone communication channel. The Set
into an active State and Session communications resumes as             of parameters can include Signal constellation parameters,
though uninterrupted. A remote unit, a virtual Session Server,         echo canceller coefficients, and/or equalizer coefficients for
and a communication System including the remote unit and               example. The Set of parameters are then Stored in a memory
the virtual Session Server are presented to Support Virtual            Structure. Communication then commence at a negotiated
Sessions communications. In one embodiment, the Virtual           55   date rate via the first communication connection with the far
Session Server manages a logon Session between the remote              end modem using the parameters. Then the first communi
unit and a Server-side application program. The virtual                cation connection is terminated. Next, the parameters are
Session Server emulates the presence of the remote unit to the         accessed from the memory Structure and are used to at least
Server-Side application program and thereby maintains the              partially initialize a Second communication connection over
logon. In related embodiments, the Server-side application        60   the wireline telephone communication channel using the
program involves a communication Server capable of relay               telephone modem. Communicaiton next commences at the
ing messages and establishing communication channels with              negotiated date rate Via Said Second communication connec
the remote unit using the virtual Session layer.                       tion by reusing at least Some of the parameters. This allows
   A Second aspect of the present invention involves a                 a Setup delay time associated with the initialization of the
method of accessing a central Server from a remote unit. A        65   first communication connection to be longer than a Setup
first Step involves presenting a workflow to a user via a user         delay time associated with the initialization of the Seocnd
interface. A Second Step involves predicting, based upon the           communication connection.
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        BRIEF DESCRIPTION OF THE FIGURES                               CPU 105, and a peripheral interconnect bus for other sub
                                                                       Systems. In multi-layered bus based designs, the different
   The various novel features of the present invention are             layers are preferably connected by bus bridges. All of these
illustrated in the figures listed below and described in the           and other equivalent embodiments of the bus 110 are known
detailed description which follows.                               5    to the skilled artisan. From here forward, the discussion will
   FIG. 1 is a block diagram representing an embodiment of             center on the illustrated embodiment of the remote unit 100
a remote unit designed in accordance with the present                  whereby all Subsystems are directly connected via the bus
invention.                                                             110. Embodiments where the bus 110 represents a different
   FIG. 1A is a block diagram illustrating a layered Software          physical interconnection topology are implicitly included in
architecture representative of the communication protocols             the discussion below.
of the present invention.                                                A memory 115 is also coupled to the bus 110. The
   FIG. 2 is a block diagram illustrating a System comprising          memory 115 may be implemented using Static random
a remote unit operably coupled to a Server via a communi               access memory (SRAM) or dynamic random access memory
cation medium.                                                         (DRAM). One type of SRAM is read-only memory (ROM).
   FIG. 3 is a flow chart illustrating a method of processing     15   Preferably the memory 115 includes a ROM for use at
whereby an application program implementing a workflow                 boot-up, and a DRAM to hold a significant amount of data
provides a prediction of when the user will need a connec              Storage for use while executing programs. The remote unit
tion and establishes a connection in the background just               100 also includes a control program module 120. The
before it is needed.                                                   control program module 120 is controllably coupled to the
   FIG. 4 is a flow chart illustrating a method of establishing        CPU 105 and is also coupled to the bus 110. The central
communication with a remote entity with a near-immediate               program module 120 typically exists as a Software module
Set up time.                                                           executed from the memory 115 by the CPU 105. The control
                                                                       program module 120 effectively configures the remote unit
   FIG. 5 is a flow chart illustrating a method of communi             100 to operate in accordance with aspects of the present
cating by maintaining a virtual presence without the need to      25   invention as discussed herein below.
continuously maintain a physical connection.                             A communications module 125 is also coupled to the bus
   FIG. 6 is a flow chart illustrating a method of processing          110. The communications module includes at least one
performed on a Server acting as a front-end to an application          communication interface to allow the remote unit to com
program to maintain Sessions for remote users who are not              municate with a remote entity Such as a virtual Session Server
continuously physically connected to the application pro               as will be discussed in detail hereinafter. In a preferred
gram.                                                                  embodiment, the communications module 125 includes a
   FIG. 7 is a flow chart illustrating a method of processing          plurality of communication interfaces. For example, a first
performed on a server managing virtual connections for                 interface 126 provides a wireless link, and a second com
users who are not continuously physically connected to the             munication interface 127 provides one or more wireline
SCWC.                                                             35   links. Also, the wireline communication interface 127 may
  FIG. 8 is a flow chart illustrating a method of processing           include a Standard telephone modem interface and a packet
performed by a remote unit to accept different types of                Style interface designed to plug directly into an Ethernet
incoming calls.                                                        connection to be coupled to a local area network (LAN), a
             DETAILED DESCRIPTION OF THE
                                                                       wide area network (WAN) or the Internet. The Internet is the
               PREFERRED EMBODIMENTS
                                                                  40   well-known and ubiquitous World Wide Web. In some
                                                                       embodiments, the communications module 125 includes a
   FIG. 1 is a block diagram representing an embodiment of             caller-identification packet processor. A caller-identification
a remote unit 100 designed in accordance with the present              packet processor receives a caller-identification packet,
invention. The remote unit 100 may be implemented as a                 extracts information therefrom, and passes the information
laptop computer, a personal digital assistant, a desktop          45   to the CPU 105. Caller-identification packets may be advan
computer or WorkStation, or as a dedicated unit customized             tageously used to identify incoming calls with a virtual
for a particular application. The remote unit 100 includes a           session as discussed in connection with FIGS. 7-8. The
central processing unit (CPU) 105 connected to a central bus           communications module 125 may optionally include a voice
110. The central processing unit may be implemented using              interface to allow a user to engage in telephone conversa
an available microprocessor, microcontroller, or customized       50   tions using the remote unit 100. In this case a separate
logic. For example, a Pentium TM processor from Intel Corp.            handset or a built-in handset may be used. Alternatively a
may be used to implement the CPU 105. The central bus is               Speakerphone may be built into the remote unit using a
preferably constructed as a Set of unbroken wires used to              microphone, a speaker, and an echo canceller.
carry Signals between a Set of component Subsystems within                The remote unit 100 also includes a display monitor 130.
the remote unit 100. It should be noted, in Some embodi           55   The display monitor 130 is also coupled to the bus 110. The
ments of the present invention, the bus 110 may be imple               display monitor 130 is preferably implemented using a
mented equivalently using a set of direct parallel and/or              liquid crystal display (LCD), although other display tech
serial connections between individual modules. The bus 110             nologies may equivalently be used. Also connected to the
as illustrated in FIG. 1 shows a low cost and a preferred              bus 110 is an optional universal input-output (I/O) module
means to connect the illustrated Subsystems. Any combina          60   135. The universal I/O module includes a coupling to a set
tion of bus connections and direct Serial or parallel linkS may        of external devices 138. The external devices are preferably
be used to implement the connection Structure provided by              data collection units as described below. The universal I/O
the bus 110. Different implementations represent different             module preferably provides a Standard link layer interface to
price-to-performance ratioS and will be dictated by the needs          the software module 120 executing on the CPU 105. The
of an individual embodiment. The bus 110 also comprehends         65   remote unit 100 also preferably includes a mass storage
multi-layered bus structures. For example, Some embodi                 device 140. The mass storage device 140 is also connected
ments make use of a local processor bus connected to the               to the bus 110. The mass storage device is preferably
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implemented using magnetic disk or optical disk technology,           implementing the workflow automatically downloads infor
but any mass Storage device, to include a non-volatile                mation before it is needed and later automatically uploads
memory, may be used.                                                  new information after it has been gathered. This way, users
   The remote unit 100 also includes a power module 145.              need not even be aware they are not connected at all times.
The power module is preferably and optionally coupled to              The user is not burdened with the need to connect and
the buS 110 to receive power management control informa               reconnect, and need not be burdened with downloading and
tion. The power module preferably includes a battery, an              uploading data. The user experiences the full benefit of
alternating current (AC) connector, a direct current (DC)             being continuously connected to the central Server without
connector, and a power management control interface. The              the associated cost of remaining continuously connected via
AC connector allows the remote unit 100 to be powered                 a physical connection. In Systems where file Semaphores are
from a standard 110 V wall outlet. The DC connector allows            not employed, the physical connection is established just
the remote unit 100 to be powered from a vehicle, for                 before the workflow indicates it will be needed and is
example by plugging the unit into a cigarette lighter outlet.         dropped when the workflow indicates it will not be needed
Either of these connectors may be preferably used to also             for some time. Further details of the operation of the remote
charge the battery in the remote unit. The power module 145      15   unit 100 are given in the discussions provided in connection
is coupled to Supply power to a power bus which is con                with FIGS. 2-8.
nected to all Subsystems. Depending on the power manage                 A central aspect of the present invention involves the
ment configuration of an individual System, different Sub             concept of a “virtual Session.” A Session as defined herein is
Systems may accept power from Separate connections to                 Similar to the definition provided in the open Systems
allow portions of the remote unit to be selectively turned off        interconnect (OSI) reference model from the International
while they are not being used.                                        Standards Organization (ISO). The OSI model is a model of
   The remote unit 100 is operative to execute an application         a layered Software Structure used in computer communica
program. The application program is operative to Supply a             tions. A Software System which implements a layered model
Sequence of interactive Screens or a menu based interface to          of communication is known as a “protocol stack.” The OSI
the user. The Sequence of interactive Screens or a particular    25   model is well known and divides a computer communica
usage of a menu based System implements a workflow. In an             tions proceSS into Seven layers. At each layer is a Software
example embodiment, the remote unit 100 is carried by a               module which communicates with a peer Software module at
home-care professional. The home care professional has a              the same layer. Within a protocol Stack, each layer commu
Sequence of procedures which need to be implemented in the            nicates with the layer above and/or below. Actual commu
course of working with a patient. This Sequence of proce              nication systems often deviate from the seven layer OSI
dures gives rise to the workflow implemented in the control           model. A protocol Stack using basic concepts Similar to the
program 120 which executes on the remote unit 100. In the             Seven layer OSI model is next discussed which represents an
example embodiment involving a home-care professional,                aspect of the present invention.
the universal I/O module is connected to a set of peripheral             FIG. 1A illustrates a representative protocol 150 used to
units to collect Vital information Such as blood pressure,       35   Support the present invention. At the top layer is an appli
temperature, insulin level and the like. Other information            cation Session layer. A first protocol Stack with an applica
Such as the patients weight may be entered manually by the            tion session layer software module 151 communicates with
home-care professional as a part of the workflow. At certain          a Second protocol Stack with an applications Session layer
times in the workflow, an external communication connec               Software module 152. The application session layer software
tion will be needed because data may need to be uploaded         40   module 151 is typically implemented as a client-side soft
or downloaded to/from a central Server. In accordance with            ware module which presents a user interface to a user. The
the present invention, the remote unit 100 is operative to            application Session layer Software module 152 is typically
provide a SeamleSS and transparent Virtual presence with the          implemented by a Server-Side Software module operative to
central Server. In general, the central Server may itself be          provide communication and/or computer related Services to
Segmented into two or more individual central Servers. The       45   the client-side Software module. For example the application
discussion herein focuses on an embodiment whereby a                  Sessions layer Software module 152 may involve a logon
Virtual presence is maintained with a Single central Server           Session with a database program, or may represent a unified
having multiple Server components. The present invention              messaging Server Supplying voice mail, email and fax mail.
may be equivalently practiced by embodiments involving a              Similarly, the application session layer software module 152
Virtual presence with more than one central Server. Thus, one    50   may involve a telephony application operative to provide a
remote unit could maintain multiple virtual connections to            packet Switched or a circuit Switched telephone connection
totally Separate Server Systems. In Such a configuration the          to the client-side application Session layer Software module
application workflow would dictate to which Server System             151. One layer down in the protocol stack is a virtual session
the remote unit would physically connect while other Servers          layer. In the example embodiment, the first protocol Stack
remain Virtually connected.                                      55   implements a virtual session layer software module 154 in
   A key aspect of the operation of the remote unit 100 is its        the remote unit 100. The virtual session layer software
ability to maintain a virtual presence with the central Server        module 154 communicates with a peer virtual session soft
without continuously maintaining a physical connection.               ware module 156 via the peer-to-peer communication path
The remote unit 100 is operative to provide communications            182. In the exemplary embodiment, the virtual session layer
when it is needed without the user needing to go through a       60   Software module 156 is implemented within a virtual session
Set of normally associated connection Sequences. For                  server as discussed in connection with FIG. 2. The virtual
example, in accordance with one aspect of the invention, the          Session Server typically maintains a table linking one or
user need only interact with the Screens provided to imple            more application Sessions to a virtual Session. For example,
ment the workflow while the remote unit 100 automatically             this linking of application Sessions into the table structure
Sets up a connection in the background to be available when      65   may be accomplished by including a pointer to a data
it is needed. In embodiments where file Synchronization is            Structure containing application Session control data, or by
not an issue or is handled using file Semaphores, the Software        placing the data structure holding the application Session
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control data directly in the table structure. Additionally, the          established between the communication endpoints, i.e., the
table Structure allows the Virtual Session Server to maintain            remote unit and the central Server. Also, an application
a plurality of Virtual Sessions with a plurality of client remote        program running on the remote unit may need to establish an
units. In the OSI model, the OSI-Session layer provides a set            application Session with an application program running on
of rules used to establish and terminate data Streams between            the central Server. In Such case an application Session is
nodes in a network. A set of OSI-Session layer Services                  created using a connection Stream provided and governed by
include establishing and terminating node connections, mes               the communication Session. A table Structure is used to
Sage flow control, dialog control, and end-to-end data con               maintain both the communication Session parameters and
trol. The Session layer controls dialogs, which involve                  the application Session parameters. For example, a first user
conversational protocols as used in mainframe computer                   authentication parameter may be used to establish a com
terminal communications. The virtual session layer 154, 152              munication Session with the Server. A Second user authen
of the protocol 150 may perform any of these functions in                tication parameter may be used to establish an application
addition to maintaining the table linking to the application             Session with the application program. This Second user
Sessions.                                                                authentication parameter may include a user identification
   The next Software modules in the first protocol Stack are        15   parameter and a password, for example.
the transport layer 158, the network layer 164, the link layer              In light of the aforesaid concepts, a “virtual Session' is
170 and the physical layer 176. These software modules                   next defined. A virtual Session is preferably implemented as
respectively perform peer communications with the Server                 a communication Session as defined above. A virtual Session,
side protocol stack's Software modules 160, 166, 172, and                like an OSI Session, provides a set of rules for establishing
178. The physical layer defines the low-level mechanical                 data Streams between nodes or endpoints. The Virtual Session
and electrical channel protocols and the physical connection             also may provide other Session features Such as dialog
itself. These four lower layers are well known in the art of             control, message flow control, and end-to-end data control.
data communications and can be implemented in various                    A virtual Session is controlled using a data Structure which
well-known ways. Likewise, alternative and equivalent pro                provides a way to associate the virtual Session with the lower
tocol Stacks may be constructed, for example, with the              25   layers of a protocol Stack, leading down to a physical layer.
transport layer removed, various layerS merged into one, or              AS mentioned above, in most embodiments, a virtual Session
new layers added.                                                        is implemented as a communication Session. Application
   An important aspect of a virtual Session oriented com                 Sessions are then added onto the virtual Session as connec
munication protocol such as the protocol 150 is the ability to           tion Streams within the communication Session.
maintain a peer-to-peer virtual Session communication path                 In a virtual Session, a communication Session may be
182 without the presence of a physical layer communication               suspended with some or all of the lower layers of the
path 180. The physical layer communication path 180 rep                  protocol Stack missing. In particular, a virtual Session may
resents a physical layer communication connection, for                   be maintained while a physical layer connection has been
example, a wireline connection, a cellular wireless                      removed. The virtual Session can then be reasSociated with
connection, or a network connection to the Internet. When           35   a physical layer connection at a later time. The Virtual
the physical layer communication path 180 is disconnected,               Session thus also preferably provides connect and reconnect
no physical channel exists between the client-side Software              rules used to establish a virtual Session and then to reasSo
and the Server-side Software, and the physical layer com                 ciate the Virtual Session to a new physical connection to Set
munication path 180 is said to be in a “disconnected State.”             up a new data Stream in Support of a dialog at a later time.
However, data Structures maintained at the Virtual Session          40   Related activities Such as the initiation of dial-out links to
layer allow one or more peer-to-peer application Session                 reestablish a physical layer communication path is also
communication paths 184 to remain in a deactivated but                   preferably handled by the virtual Session in response to a
existent State, even when the physical layer communication               Signal from an application layer program.
path is in the disconnected State. Likewise, the virtual                   An aspect of a virtual Session is the maintenance of an
session communication path 182 established between the              45   application between an application program and a virtual
remote unit and the virtual Session Server also remains in a             session server as will be described below. A virtual session
deactivated but existent State. This is made possible through            Server acts as a proxy agent for a remote unit. When the
the use of the table Structure maintained in memory which                remote unit is not connected via a physical layer commu
retains its information after the physical layer communica               nication path, the virtual Session Server maintains a proxy
tion path 180 has been disconnected. When the physical              50   presence with the application program on behalf of the
layer communication path 180 has been reconnected, the                   disconnected remote unit. At a later time, when the remote
physical layer communication path is said to be placed into              unit reconnects into the virtual Session by passing a set of
a “connected State.” At Such time, the virtual Session layer             communication Session authentication parameters, the
Software modules 154 and 156 are operative to reactivate the             remote unit is thereby granted access to one or more
Virtual Session layer communication path 182 and the appli          55   application Sessions which have been maintained in proxy
cation sessions layer communication path 184. When these                 by the virtual session server.
paths are reactivated, peer-to-peer communication may once                  In a preferred embodiment, the Virtual Session uses a Set
again proceed over the application Session layer communi                 of authentication parameters and a set of encryption keys to
cation path 184 and the virtual Session layer communication              maintain a Secure connection. A separate Set of authentica
path 182.                                                           60   tion parameters is used by an application running on the
  AS defined herein, a distinction is made between a com                 remote unit to gain access to an individual application
munication Session and an application Session. A commu                   Session. Once the application Session has been established
nication Session is defined as a Session between nodes or                over a virtual Session, a table is used to maintain a set of
communication endpoints, and an application Session is                   parameters needed to maintain the application Session, even
defined as a Session between applications. For example, a           65   though no physical layer connection exists between the
remote unit may establish a communication Session with a                 endpoints of the virtual session. When a virtual session data
central Server. In this case a communication Session is                  Structure is set up and no physical layer connection exists to
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Support communication over the Virtual Session, the Virtual                The communication interface 210 is also coupled to a
session is said to be “inactive.” When a virtual session data           virtual session server 215. The virtual session server 215 is
Structure is Set up and a physical layer connection does exist          coupled to a table Structure 225 and an application program
to Support communication over the Virtual Session, the                  220. The table structure 225 is preferably implemented as a
virtual session is said to be “active.” A transition from an            Software entity and may be located in a memory module
active State to an inactive State is called “deactivating a             within the server 215. The virtual session server 215 may be
Virtual Session,” and a transition from an inactive State to an         implemented as a Software entity which executes on a
active State is called “activating a virtual Session.” The              hardware platform. The hardware platform of the virtual
process of transitioning from an active State to an inactive            Session Server 215 may be designed with an internal archi
State is also known as “disconnecting from a physical                   tecture similar to the remote unit 100 but is designed to
connection.” When this occurs, the physical layer connec                provide a higher computation capacity and to handle mul
tion is no longer available to Support communication over               tiple users. When Supporting a virtual Session Server, the
the virtual Session. In a preferred embodiment, a table                 display monitor 130 is optional as users may control the
Structure is used to maintain the Virtual Session parameters            virtual session server 215 remotely. The control program
as well as a Set of parameters for each application Session        15   module 120, when implemented in the virtual session server
established over the virtual session. When a virtual session
is activated, there is no need to reauthenticate the individual         215 provides the serverside of the communication protocols
                                                                        discussed in connection with FIGS. 3-8. Hence the remote
application Sessions. This is because the table typically               unit 100 and the virtual session server 215 involve similar
includes a user identification parameter, a user password, a            architectures and respectively implement the client and
Set of application Session parameters, a communication                  Server Sides of a set of Virtual-Session-related communica
Session identification parameter, and an encryption key for
the communication Session. Additional data Such as modem                tion protocols of the present invention.
initiation parameters may be added to the table as required                The application program 220 may execute on the same
by the System configuration and usage.                                  hardware platform as the virtual session server 215. In
   Referring now to FIG. 2, a block diagram illustrating a              general, both the Virtual Session Server 215 and the appli
System configuration 200 is shown. The System configura            25   cation program 220 may be implemented as Software mod
tion 200 includes the remote unit 100 operatively coupled to            ules running on personal computers, WorkStations, dedicated
a communication interface 210. A direct wireless link 207               custom hardware, mainframe, or file Servers. For example,
optionally couples the remote unit 100 to the communication             the virtual session server 215 may be implemented as a
interface 210. A direct wireless link is used in embodiments            Software module running on an UltaSparcTM workstation or
where the remote unit 100 maintains a direct wireless link              file server from Sun Microsystems Inc. The Software may be
with the communication interface 210. The communication                 written to execute over a multitasking operating System Such
interface thus provides an air interface for the direct wireleSS        as SolarisTM from Sun Microsystems Inc. or WindowsNTTM
link. Alternatively or in addition to the direct wireless link          from Micrsoft Inc. In a first preferred embodiment, the
207, a wireline link 208 couples the remote unit 100 to the             application program 220 includes a distributed database
communication interface 210. The communication interface           35   program running on a collection of networked ServerS Such
210 maintains the connection 208 via a network interface                as Sun UltraSparcTM servers. In a second preferred
coupled to a public Switched telephone network (PSTN) or                embodiment, the application program may itself be a com
a network Such as the Internet. This connection 208 may                 munication Server as provided by an Internet Service pro
itself involve a microwave link, a wireleSS link through a              vider (ISP).
public Switched cellular network or a wireless link in a PCS       40     The system 200 is operative to implement a set of virtual
network.                                                                Session communication protocols according to the present
  The communication interface 210 is preferably coupled to              invention. The remote unit 100 establishes a session via the
a communication Server 212. The communication Server 212                virtual session server 215 to set up a virtual presence with
may be thought of as generalization of a private branch                 the application program 220. Preferably, the virtual session
exchange (PBX). The communication server 212 accepts               45   server 215 also provides a link to the communication server
tele-traffic from any variety of Sources and provides Swit              212 to provide it access to the virtual session. When the
chable connections to couple different Sources together. For            remote unit 100 disconnects from a physical connection 207
example, the communication Server 212 may be imple                      or 208, the virtual session is maintained within the table
mented as a PBX which receives a set of direct inward dial              structure 225. When the remote unit 100 later wishes to
lines from a central office operated by the public telephone       50   reestablish communication with the application program
network. The PBX then provides local users with extensions              220, the virtual connection server 215 is operative to keep
and allows local users to call each other by dialing the last           the virtual Session active and to allow the user rapid and
four digits of their telephone numbers. The PBX typically               nearly transparent access to the application program 220.
provides an outside line to a user once the user has dialed a           Similarly, the Virtual Session also preferably is used to
   C.                                                              55   provide a virtual communication link between the commu
  The communication Server 212 may also be configured to                nication sever 212 and the remote unit 100. In some systems,
provide additional types of connections, Such as packet                 a first virtual session is established between the remote unit
based Voice and Video connections according to the H.323                100 and the application program 220, and a second virtual
international Standard. In Such an embodiment, the commu                session is established between the remote unit 100 and the
nication Server 212 provides a gateway function passing            60   communication server 212. The details of the operation of
calls between the public Switched telephone network and a               the virtual session server 215 and the virtual session proto
network Such as the Internet. The communication server 212              cols are discussed below in connection FIGS. 3-8. Before
may also provide other communications Services Such as                  proceeding to these portions of the detailed description, two
Voice mail, email, fax-mail, call distribution and the like. In         embodiments of the system 200 are described.
Systems involving Internet telephony, the communication            65     In a first exemplary embodiment of the system 200, a
Server may operate only using packet protocols and not                  mobile worker Such as a home-care professional operates the
include an interface for circuit Switched connections.                  remote unit 100 to establish and maintain a virtual session
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with the application program 220. In one embodiment, the               do this, the user's phone is dialed in a downlink direction
application program 220 controls access to a database                  dial-out link by the virtual session server 215 via the
including complete medical and billing records for indi                communication interface 210. The remote unit preferably
vidual patients. Depending on working conditions, the                  Suppresses the first ring and examines caller identification
home-care professional may require access from a wireleSS              data. When the caller identification data indicates the calling
connection Such as a cellular connection, or else may be able          party is the virtual session server 215, the remote unit 100
to communicate via a wireline connection provided within a             automatically picks up the call and in this example, accepts
patient's home. AS the home care professional proceeds                 the email. If caller identification is not used, a Substitute
through a given workflow, the professional will eventually             protocol should be employed to assure that connection has
need to communicate with the application program 220.                  been made to the proper application Session defined within
When this time arrives, the present invention is operative to          the virtual session. The substitute protocol preferably
establish a physical connection between the home-care                  involves Sending a packet header at the beginning of a call
professional and the application program 220. The profes               whereby the packet header contains one or more fields
Sional need not be aware the physical connection has not               which identify associated the application Session. Again, the
been available Since the time the virtual Session was first       15   user need not even realize a connection has been reestab
established. The virtual session is maintained by the virtual          lished. Instead, the user receives the email message as
session server 215 and the protocols of the present invention          though the connection had remained continuously active.
are employed to ensure Such a virtual connectivity is pro                 Another type of operation may occur when the user of the
vided without the need for the remote unit 100 to be                   remote unit 100 is actively connected to the virtual session
continuously connected to the application program 220.                 server 215 and a call comes in directed to the remote user's
   In a Second exemplary embodiment, the application pro               extension. At this point the call is preferably converted into
gram 220 is a communication server operated by an ISP. In              packets and is Sent to the user over the existing connection.
this example, the remote unit 100 is operated by an Internet           In an alternative embodiment, the physical connection is
user. After the Internet user has remained inactive for a              automatically and temporarily dropped and the call is for
period of time, the connection 208 is terminated. At a later      25   warded to the remote user. The virtual connection to the
time, when the Internet user clicks on a hyperlink, thus               application is maintained through the virtual Server. The
demanding Service, a short delay is incurred while the                 communications module 125 preferably analyzes caller
connection is reestablished. The remote unit is provided               identification data to determine the incoming call is a voice
access without the user needing to reestablish a connection.           call to cause the optional telephone aspect of the remote unit
When the user clicks on a hyperlink, the telephone is rapidly          100 to ring. More details related to the foregoing system
dialed without presenting dialing tones to the user. An                operation are discussed in connection with FIGS. 3-8 below.
authentication packet and a request packet are Sent using a               The virtual session server 215 is able to maintain an open
low data rate protocol Such as one used for line-rate nego             logon to the application program 220. In one embodiment,
tiation in modems. The user is authenticated by the Server             the virtual session server 215 executes a client-side Software
and the request packet is forwarded through the Internet to       35   which interfaces with the application program 220. That is,
the Internet site referenced by the hyperlink. While the               if the application program 220 employs a client-server
remote Internet Server takes time to respond to the request,           architecture, the application program 220 will implement a
a higher line Speed is negotiated in the background without            server-side Software module which interacts with the client
burdening the user. Because a home Internet user uses the              Side Software. The Server-Side program performs database or
Same analog connection between the user's premises and a          40   other server oriented functions, while the client-side Soft
network interface, the modem parameters may be preferably              ware provides a user interface to the user. The remote unit
saved by the server in the table 225 to accelerate                     100 can then control the operations of the virtual session
re-negotiation. The user is provided access almost                     Server 215 using Standard remote Session Software. An
immediately, and the connection is reestablished transpar              example of commercially available remote Session Software
ently. Note while this example focuses on an Internet             45   is PCAnywhere TM from Semantec Corporation. In another
application, the techniques apply to any application whereby           embodiment, the Virtual Session Server executes the client
a network site is accessed by activating a hyperlink.                  side software in parallel with the remote unit. In still another
  AS will be discussed below, the virtual session between              embodiment, the remote unit executes the client-side
the remote unit 100 and the virtual session server 215                 Software, and the virtual Session Server merely provides a
provides a means to initiate transferS in both an uplink and      50   connection Stream to pass data from the application program
a downlink direction. The uplink direction is from the                 220 to the remote unit 100. When the virtual session is in a
remote unit 100 to the virtual session server 215, and the             deactivated State, the virtual Session Server emulates the
downlink direction is from the virtual session server 215 to           client-side Software as needed to maintain an active Session
the remote unit 100. A virtual session is said to exist between        with the application program 220 in the absence of the
the remote unit and the virtual session server 215. This          55   remote unit 100. A wide variety of equivalent techniques
Virtual Session may be used to create individual virtual               may be used to allow the virtual session server 215 to
sessions between the remote unit 100 and the application               maintain a pointer or re-entry point into the application 220
program 220, and between the remote unit 100 and the                   while acting as a proxy agent to maintain the logon for the
communication Server 212. For example, an uplink connec                remote unit 100. A table structure is preferably used to allow
tion is established, and when a home Internet user has been       60   the Virtual Session Server to Simultaneously maintain a
inactive for a period, the connection is dropped. AS dis               plurality of logons for a plurality of different remote units.
cussed above, the connection is reactivated transparently                 In some embodiments, the remote unit 100 may need to
when the user once again activates an Internet link, as in an          maintain a plurality of Virtual Sessions with a plurality of
Internet browser. In the same example, a user may have an              different virtual Session Servers. For example, an indepen
email reader program connected through a virtual Session. If      65   dent contractor may provide home-care Services for two
an email comes in for the user and the virtual Session is in           distinct health regions. Each health region may use a sepa
place, the email should be rapidly forwarded to the user. To           rate database. The remote unit 100 may then access these
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Separate databases using a first and a Second client-side                 When a step in the workflow process 305 is performed
application Software module. During the course of a day, the            leading up to the need for a physical layer communication
remote unit may need to activate the first or the Second                connection, control next passes from the first step 305 to a
client-side application Software modules. In Such case the              second step 320 via the control path 315. The control path
remote unit 100 is operative to maintain a table structure              315 is activated when the workflow process 305 provides a
similar to the table structure 225. The table structure main            prediction indicating a physical layer communication con
tained by the remote unit links an application Software                 nection will Subsequently be needed. In Some cases the
module through an application Session to a virtual Session.             prediction may be provided right when the physical layer
When the first client-side application program demands                  communication connection is needed. In other cases, the
access to a first database, the virtual Session layer Software          prediction 315 may be used to initiate background process
154 in the remote unit causes a physical connection to be               ing to download data which will not be needed until a later
established to Support Virtual Session communications 182               time. In menu based systems, the prediction 315 may be
with the first database application program. Likewise, if the           learned by observing the workflow habits of a user. The
Second client-side application Software module desires to               prediction 315 is a function of the application program or
access a Second database, the virtual Session layer Software       15   workflow 305 and is optional. In the second step 320, a
module 154 activates a physical layer connection back to the            connection is established in the background. Background
Second database Server. In other applications a single appli            processing enables the user to continue interacting with the
cation program may be used which accesses information on
more than one virtual Session Server. In Such case a single             workflow process 305 while a physical layer communication
application program can Select the virtual Session to activate          connection is simultaneously and transparently established.
based on the communications request generated from within               That is, the physical layer communication path is reestab
the application program. In Still other embodiments, a Single           lished without inhibiting the user from interacting with the
physical connection 208 or 207 may be used to communi                   workflow 305. Hence when control passes via the control
cate with the communication interface 210. The communi                  path 315 to the step 320, control preferably simultaneously
cation Server 212 then forwards packets to a first local virtual        passes via the control path 317 back into the workflow. The
session server Such as the virtual session server 215. If the      25   background proceSS is preferably forked as a separate task
received communication packets are destined for a Second                and two execution flows proceed in parallel by time sharing
Virtual Session Server, then the communication Server 212               the CPU 105. Multitasking is well known in the art and is
preferably forwards the packets to a remote virtual Session             implemented using interrupt based processing. In alternative
Server using a network connection Such as an Internet                   embodiments the control path 317 may be deleted and a
connection.                                                             Single control flow may be implemented using the control
   Referring now to FIG. 3, a method 300 is illustrated to              path 315. However, this embodiment may require the user to
show how the remote unit 100 preferably operates to acti                wait for the connection to be established and is hence not
vate a connection. The method 300 is preferably practiced               deemed to be the preferred embodiment of the method.
by the remote unit 100 in support of a virtual session with             Other equivalent embodiments Set up the communication
the virtual session server 215. A first step 305 of the method     35   path transparently by multiplexing the CPU 105’s compu
300 involves actions within a workflow process 305. The                 tation cycles from within the workflow process or Some
workflow process 305 includes the step 305 of the method                other process.
300 and also performs other activities to interact with a                  Once control has been forked via the control path 315 to
user's workflow requirements. Control loops from the first              the second step 320, a dialer within the communications
step 305 back to the first step 305 via a control path 310. The    40   module 125 preferably dials to establish a physical layer
Workflow, as discussed above, is preferably made up of a                communication connection with the communication inter
menu System and/or a set of interactive Screens traversed by            face 210. In embodiments using dedicated radio links, the
a worker in performing a set of tasks. For example, a                   connection may be established over the wireless link 207.
home-care professional's workflow involves accessing and                One preferred embodiment of a remote unit 100 incorporates
displaying a patient's medical record, entering a set of data      45   a cellular radio. In this case the dialer dials a telephone
into the medical record, and performing tasks indicated by              number and a connection is established using a public
the doctor's directions as annotated in the medical record. In          Switched cellular telephone network So that the connection
this example, as the home-care professional moves from one              is set up on the link 208. Stationary Internet based embodi
screen to the next, control loops via the control path 310.             ments perform the Second Step 320 by dialing a telephone
The workflow process 305 is an application program which           50   number using an automatic dialer which dials a land line
executes on the CPU 105. The workflow process 305 is                    connection for a modem. In all cases, it is preferred to
preferably implemented as a proceSS running on the CPU                  SuppreSS the dialing tones and line-rate negotiation signals
105 in a multitasking operating environment. A multitasking             So the connection may be established transparently to the
operating environment is one in which multiple programs or              USC.
processes may execute in parallel by Sharing time slots            55      Control next passes from the second step 320 to a third
within the CPU 105. Multitasking operating system software              step 325. In the step 325, an authentication code is trans
is well known and is readily available. In a multitasking               mitted from the remote unit 100 to the communication
programming environment a first process may execute in a                interface 210. This authentication code is then passed to the
normal fashion and provide an interface to a user. At the               virtual session server 215. The virtual session server evalu
Same time a Second proceSS may be executed by Sharing              60   ates the authentication code to determine if acceSS is to be
CPU cycles without the user's intervention or knowledge. In             permitted. In a preferred embodiment, the authentication
Such a case the Second process is said to be a background               code involves a digital Signature as is known in the field of
proceSS or is said to perform background processing. At                 public key cryptography. In a preferred embodiment, all
Some point in the course of the workflow, a physical layer              transmissions are encrypted using public key cryptography.
communication connection will be needed to communicate             65   Some Systems may be implemented using various encryp
information between the remote 100 and the application                  tion Standards Such as Secure Sockets layer based encryption.
program 220.                                                            The amount of authentication and encryption used in any
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given embodiment is left to the System designer, but pref              the workflow come to a point where this information is to be
erably all transactions are encrypted as described above.              uploaded to the application program 220. When Such a
   Control next passes from the third step 325 to a fourth step        prediction is made, control passes from the first step 305 via
330. In the fourth step 330, a session is established/                 the control path 318 to a fifth step 335. The fifth step 335 is
reactivated with the virtual session server 215. The session           operative to deactivate the connection established over the
is established the first time the method 300 passes control to         link 207 or the link 208. The step 335 may optionally
the step 330. Subsequently the step 330 is operative to                involve forking a Separate execution thread or otherwise
reactivate the session with the virtual session server. When           accessing a separate process in a multitasking environment.
the Session between the remote unit 100 and the virtual                Alternatively, the fifth step 335 may be performed by
Session Server 220 is reactivated, Virtual Session communi             executing a set of instructions in the workflow process 305.
cations resume. At this point, the virtual Session Server 215          At a later time, a prediction may be made indicating the link
correlates information stored in the table structure 225 with          207 or 208 needs to once again be activated, whereby
the connection and provides the remote unit 100 access to              control again passes over to the Second Step 320 via the
the application program 220. If no data is Stored in table             control path 315. It should be noted different systems will
Structure 225, acceSS is provided to a default logon Screen       15   typically Set their prediction times according to the eco
allowing remote unit 100 to establish a new application                nomic conditions involved. For example, in Some Systems
session. The virtual session server 215 then populates the             the first minute of connection time may cost five times as
table structure 225 to establish a virtual session. The step           much as all Subsequent minutes. In this case predictions
330 involves setting up a stream connection between the                would be preferably Set according to a criterion to minimize
workflow process 305 and a protocol stack. The protocol                cost by not establishing and terminating connections more
Stack is operative to read information bits from the Stream            often than necessary. If a flat rate were charged per minute
connection and communicate the bits acroSS an external                 connections would be set-up and terminated more often. If
communication link. Bits received over the external com                automatic uploading and downloading is performed in the
munication link are converted by the protocol Stack into               background, a very efficient use of airtime can often be
information bits to be sent back to the workflow process 305      25   achieved while presenting the user with the appearance of
acroSS the connection Stream. Once the appropriate commu               being continuously connected to the application program
nication processes are configured, control next passes back            220.
to the workflow process 305. Due to the aforementioned                   Referring now to FIG. 4, a method 400 of establishing a
forking operation, the passing of control back to the work             communication link with low delay is illustrated. The
flow process 305 may have already occurred via the control             method 400 may be practiced by both the remote unit 100
path 317. In this case the passing of control from the step            and the communication interface 210. This method is most
330 to the workflow process is not explicitly performed.               applicable to Systems involving modems whereby digital
   When control loops back from the fourth step 330 to the             data is transferred over an analog channel requiring receiver
workflow process 305, a physical layer communication                   training. Receiver training involves transmitting data
connection is activated for current or Subsequent communi         35   Sequences through a channel and allowing a receiver to
cation. When the user gets to a point in the workflow where            adjust its receiver parameters. Receiver parameters include
communication with the application program 220 is needed,              echo canceller and equalizer filter coefficients. Most Systems
the connection has already been transparently Set up in the            also adjust their data rates and Signal constellations based on
background. Hence the user gets the feel of being connected            observed conditions. In modems, this entire process is
to the application program 220 all the time, where in fact the    40   known as line-rate negotiation. Prior art Systems involving
remote 100 is connected via a physical channel to the                  receiver training are tedious to use because they force the
application program 220 only a fraction of the time. This              user to wait while the receiver is trained. Most Systems play
Virtual connection Saves communication resources and                   the training Signals though a speaker to allow the user to hear
money when a toll is charged based on the amount of usage              the training process. This lets the user know what the
on the link 207 or the link 208. In some embodiments, the         45   computer is doing for the duration of the delay. The method
fourth step 330, or an execution thread within the workflow            400 improves upon this prior art solution by allowing the
305 is operative to upload or download information in the              user to gain almost immediate access without a significant
background. This way the user has ready access to data                 delay.
contained in the application program 220, but in general a                In a first step 405, a protocol stack or other process
shorter connect time is required. While with prior art sys        50   practicing the method 400 receives a communications
tems it is burdensome for a user to connect to a central Server        request from a user program. For example, this occurs when
and download and upload information, with the Virtual                  a user clicks on an icon to initiate the establishment of an
Session of the present invention the user need not even be             Internet connection. Control next passes to a step 410 where
aware this process is occurring. Rather the user feels as              the connection is initiated. This Step typically involves an
though he or she is continuously connected with a fast            55   automatic dialer dialing the number of an Internet Service
connection because the data needed at a given point in the             provider (ISP). The ISPsoftware may be implemented as a
workflow is already available locally or has been uploaded             communication Server application corresponding to the
in the background transparently without user intervention. In          application program 220. In this case access to the applica
Systems where server Synchronization is an issue, file Sema            tion program is governed by the Virtual Session Server 215.
phores and/or direct active Sessions not employing upload         60      Control next passes from the second step 410 to a third
ing and/or downloading of records may be used.                         step 415. In the third step 415 an authorization sequence is
   Based on another point in the workflow, another predic              eXchanged. In a preferred embodiment public key cryptog
tion is made to predict when the communication channel                 raphy involving digital Signatures and keys is used. Embodi
will not be needed for some time. For example, it may be               ments involving a virtual Session Server 215 either Set up a
known, based on the workflow, the home-care professional          65   Session or activate an existing Session during the third Step
will next perform a Sequence of tests and enter data into a            415. Control next passes from the third step 415 to a fourth
Screen displayed on the remote unit. Only at a later time will         step 420. In the fourth step 420, one or more initial appli
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cation layer data packets are transmitted acroSS the connec            maintaining a virtual Session with a remote Server because it
tion using a low speed protocol. A low speed protocol is used          is imperative to allow the user to appear to be connected
by the transmitter and receiver when performing line-rate              without having to experience delays when accessing data.
negotiations. For more details of line-rate negotiation                The method 300 and the method 400 may be performed
protocols, see, for example, the V.34 and V.90 standards               together in a complementary fashion to make the Virtual
from the International Telecommunications Union. In the                Session appear to be constantly available.
present invention, the low Speed protocol is used to transmit             The method 400 may be practiced by the remote unit 100
application layer data before the line-rate negotiation pro            and the virtual session server 215. When the remote unit 100
cedures have completed. This avoids the need for the user to           initiates the method, the virtual session server 215 executes
wait for line-rate negotiation to complete before being able           steps 410, 415, 420, 430 and 435. When the virtual session
to access a communication path.                                        Server 215, the application program 220, or the communi
   Control next passes from the fourth step 420 to a fifth step        cation Server 212 initiates the method, one or a combination
425. In the fifth step 425, initial data is displayed. Software        of these servers practice the steps 405, 410, 415, 420, 430,
located locally in the remote unit 100 preferably contains             and 435. The first step 405 involves, for example, receiving
high-volume graphics related data So that the initial data        15   a communication request Such as a telephony call or an
eXchange of the Step 420 only requires a Small amount of               email for the remote unit 100. In some systems, the first step
data to be transferred. For example, the user logs onto the            405 may involve a request generated from within the appli
Internet and almost immediately Sees a Screen of informa               cation program 220.
tion indicating the user is connected and the System is ready             Referring now to FIG. 5, a method 500 of establishing and
to accept inputs. This is made possible by displaying locally          operating a virtual Session is illustrated. For example, the
held Screens of graphical data and allowing a Small amount             method 500 establishes a virtual session between the remote
of Specific information Such as time, date, and headlines to           unit 100 and the virtual Session server 215. The method 500
be received and displayed. If the user then immediately                is practiced by both the remote unit 100 and the virtual
clicks on a link, an application layer request packet is sent          session server 215. In a first step 505 a first physical layer
using the line-rate negotiation protocol's data format. This      25   communication connection is established with a remote
allows the user to immediately begin making requests before            entity. If the method is practiced by the remote unit 100, then
the line-rate negotiations have completed. In many cases the           the remote entity typically corresponds to the virtual Session
user will pause and read the headline information, giving the          server 215. The virtual session may be used to support
System even more time to perform line-rate negotiation in              virtual Sub-sessions between the remote unit 100 and the
the background.                                                        application program 220. Also, a virtual Sub-Session may be
   Control next passes from the fifth step 425 to a sixth step         established between the remote unit 100 and the communi
430. In the sixth step 430, a background process is forked to          cation Server 212. For the purposes of discussion herein, all
perform line-rate negotiation. Line-rate negotiation is                of these virtual sessions will be referred to simply as virtual
allowed to proceed in the background while the user is                 sessions. If the method 500 is practiced by the virtual session
reading the information provided on the initial display of the    35   Server 215, then the remote entity typically corresponds to
Step 425. Likewise, if the user had rapidly clicked on a link,         the remote unit. The step 505 may be activated according to
a request packet is Sent out and while the Server is respond           the prediction 315, and the step 505 may use the method 400
ing to the request, the background line-rate negotiation may           to allow the connection to be set up with very low delay.
proceed. The step 430 is operative to perform line-rate                   Control next passes from the first step 505 to a second step
negotiation So as to set up a high-speed connection for           40   510. In the second step 510 a session is established with the
Subsequent higher Volume data transferS. In embodiments                remote entity. In a preferred embodiment, this involves
involving a virtual Session Server 215, the user's line Speed          eXchanging password information and agreeing upon a Set of
parameters may be stored in the table structure 225. For               keys to encrypt data transacted in the Session. Also, the
example, if the user is an Internet user and the application           virtual session server 215 preferably sets up a table entry in
program 220 is an ISP, the user will often dial in from the       45   the table structure 225. The table entry indicates the pres
Same location. Thus parameters derived in a previous acti              ence of a virtual Session. The table entry may include
Vation of a communication channel will be either identical or          modem parameters as discussed in connection with FIG. 4.
Similar to those used in a current activation. Hence the Sixth         Also, the virtual Session as Set up in the table entry links the
step 430 optionally involves accessing from the table 225 a            remote unit to a user identification and a password as
Set of Starting parameters derived from the activation of the     50   presented to the application program 220. For example, a
communication channel. If communication is needed before               user name and a password may be used as user authentica
the line-rate negotiation has completed, communication                 tion parameters. Preferably public key encryption is used to
preferably proceeds at the highest rate negotiated up to that          encrypt all information So the password Sent from the remote
point.                                                                 unit 100 to the application program 220 cannot be effectively
   Once the line-rate negotiation process of the step 430 has     55   intercepted. The remote unit 100 also preferably sets up a
completed, control passes to a Seventh Step 435. In the Step           Virtual Session data structure to hold Similar information
435, communication is able to proceed at full speed. In most           related to the virtual Session. Once the Virtual Session has
cases where this method is implemented, the user will get              been Set up, the remote unit 100 may access the application
the full benefit of being connected almost immediately                 program 220. Also, the remote unit 100 may optionally
without the normal delay associated with prior art Systems.       60   access the communication Server 212 for communication
This is So because initial low-volume data is allowed to pass          Services.
through the channel before the line-rate negotiation has                  Control next passes from the second step 510 to a third
completed. Line rate negotiation then proceeds in the back             step 515. In the third step 515, the physical connection
ground in parallel with other activities Such as the user              established in the first step 505 is dropped. Meanwhile the
reading headline information or a distant Server accessing        65   Virtual Session data Structures and table entries established in
data and responding to the initial data request packet Sent            the second step 510 are retained. The session is allowed to
acroSS the Internet. This technique is useful when a user is           proceed while no physical layer connection exists. That is,
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the step 510 is operative to set up a table structure including          for communicating with the remote unit 100. Control next
one or more data Structures which allows a virtual Session to            passes to a Second step 610 whereby a set of authorization
be maintained in memory while other activities occur. Hence              parameters are accepted and authenticated. AS discussed in
a passive background thread of execution passes from the                 connection with FIG. 5, the authentication parameters pref
step 510 to a passive step 540 whereby the virtual session is            erably include the exchange of public keys which include a
maintained. This allows the remote unit 100 to stand by or               digital Signature in accordance with public key cryptogra
be used for steps of the workflow process 305 not requiring              phy. Control next passes to a third step 615 where a user
communication with the application program 220. Once the                 identification and a password are passed by the Virtual
user needs to communicate with the application program                   session server 215 to the application program 220 on behalf
220, or when a prediction 315 is made, control next passes               of the remote unit 100. AS discussed in connection with FIG.
from the third step 515 to a fourth step 520. The step 520 is            5, the user identification and the password to be presented to
operative to reestablish a Second physical layer communi                 the application program 220 are preferably transmitted in
cation connection to allow communication to proceed once                 encrypted form. Once the application program 220 authen
again using the Session established in the Second step 510.              ticates the user identification and password needed to gain
This connection reestablishment may be performed in                 15   access, the virtual Session Server 215 enters an entry into the
response to the prediction 315 and may use the low-delay                 table structure 225 to hold a set of Session parameters. The
connection establishment technique of the method 400.                    Session parameters include the user identification, a Session
   In Some embodiments, the present invention involves                   identifier, encryption data and possibly other data Such as
using distinct and Separate communications media to per                  modem Starting parameters. Once the Session has been
form the step 505 and the step 520. For example, a mobile                logged into the table, the user may use it to communicate
worker may call in from home to Set up the virtual Session               with the application program 220.
in the Step 510 using the first physical layer communication                Control next passes from the fourth step 620 to a fifth step
connection established in the step 505. Later in the day, the            625. In the fifth step 625 the physical layer connection is
worker may call in from a restaurant while catching up on                dropped. This Step is performed when the remote unit does
Some records keeping. This Second use of the virtual Session        25   not currently require communications with the application
involves use of the Second physical layer communication                  program 220. In step 650 the virtual server maintains the
connection which in this example is a wireleSS connection                application Session while the physical connection is discon
different from the landline connection used to initiate the              nected. At a later time, when the user needs access to the
Session from home earlier in the day. At a Still later time, the         application program or when the prediction 315 is made,
worker may call in from a patient's home via a third physical            control next passes to a sixth step 630. In the sixth step 630
layer communication connection while performing home                     a Second physical layer connection is established to allow
care Services. If modem Starting parameters have been Stored             communication between the remote unit 100 and the appli
in table 225, they are preferably updated whenever the                   cation 220 to resume. As discussed in connection with FIG.
communication connection is changed. Hence the Virtual                   5, the Second physical layer connection may involve a
Session of the present invention enables a mobile worker to         35   different communication path and/or medium as was used
continue communications via the most expedient and/or                    for the first physical layer connection. That is, a plurality of
economical means without causing the user to have to                     communications media are preferably Supported to allow the
reestablish a communication connection. Preferably, when                 user to call in Via different means, for example via a wireleSS
the remote unit 100 is connected to a communications                     or a wireline connection. The step 630 may be initiated due
Source via the connector 127, the remote unit 100 automati          40   to actions at the remote unit 100 or in response to events
cally detects this connectivity and makes use of it for                  occurring in the Server. For example, the communication
Subsequent Virtual-Session communications. That is, the                  Server 212 may receive a call for the remote unit. Alterna
present invention contemplates the availability of various               tively an email may be received which needs to be for
forms of "pigtail” connectors being available So the remote              warded to the remote unit. In such a case, the sixth step 630
unit 100 can operate in a “plug-and-play” fashion. Pigtails         45   optionally involves Sending a caller identification packet to
may be Supplied to allow the remote unit to connect to the               let the remote unit know what type of communication, Such
PSTN, the Internet, or to another computer via a universal               as a voice telephony call, an email, or a fax, is inbound. A
Serial bus, for example.                                                 caller identification packet is a Sequence of information bits
   Control next passes from the fourth step 520 to a fifth step          Sent acroSS a communication connection identifying the
525. In the fifth step 525 an authorization sequence is             50   calling party of the connection. In Standard telephone
eXchanged. This is preferably implemented using public key               Systems, the caller identification packet is transmitted
encryption and digital Signatures. Some embodiments may                  between the first and Second rings when the telephone call
be developed which do not implement the fifth step 525, but              is being Set-up. More details relating to communications
preferred embodiments do make use of user authentication.                initiated by the virtual session server 215 back to the remote
After the fifth step 525 has completed, the session is              55   unit 100 are discussed in connection with FIG. 7.
resumed in a sixth step 530. Over the course of the virtual                 Once the Second physical layer communication connec
session, control may loop back to the third step 515 as many             tion is established in the sixth step 630, possibly according
times as the Virtual Session is activated with a new physical            to the method 400, control next passes to a seventh step 635.
connection. When the sixth step 530 is entered, the virtual              In the seventh step 635, authorization codes are verified
Session is once again activated So that the passive Step 540        60   similarly to the second step 610. Once the user codes have
also passes control to the sixth step 530. In a minimal                  been Verified to be correct, control next passes to an eighth
implementation of the method, no looping occurs and the                  Step 640 whereby communication once again resumes using
method terminates after the first pass through the Sixth Step            the previously established Virtual Session.
530.                                                                        Referring now to FIG. 7, a method 700 of processing
   Referring now to FIG. 6, a method 600 practiced by the           65   communication requests in a virtual Session is illustrated.
virtual session server 210 is illustrated. In a first step 605, a        This method is preferably practiced by the virtual session
first physical layer communication connection is established             server 215 simultaneously with the method 600. In a first
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step 705 a virtual session is established between the virtual          presently actively connected to the virtual Session Server, the
session server 215 and the remote unit 100 as discussed in             communication request may be forwarded to the remote unit
connection with FIGS. 5 and 6. At some later time, while the           100 making the remote user appear to be present in the office
Virtual Session is active, the communication Server 212                at all times. The only time the remote unit 100 would not be
receives an incoming communication request for the remote              reachable is when it is engaged in a communication with an
unit 100. Because the virtual session server 215 practices the         entity other than the virtual connection server. This problem
method 500 and/or the method 600, depending on the time                may be mitigated by allowing the remote unit to only be
of arrival of the communication, the remote unit 100 may or            reachable through the access number provided by the com
may not be physically connected to the Virtual Session Server          munication Server 212. If a call is placed from the remote
215 by a physical communication link. Hence when the                   unit to another point, this call too may be routed through the
communication is received, control passes from the step 705            communication server 212. Systems which do allow the
based on a decision 710 which determines whether a physi               remote unit to make calls outside the Virtual Session may
cal connection currently exists to the remote unit 100.                preferably employ voice mail at the communication Server
   If the virtual session is presently in a state whereby the          212. When the remote unit again becomes available, the
physical connection has been disconnected, control passes         15   virtual session server 215 may forward the communication
from the first step 705 to a second step 715. In the second            to the remote unit according to the method 700. Remote
Step 715 the communication request is accepted by the                  units may also be designed using call-waiting concepts
communication Server 212 through a direct connection or                whereby the virtual session may be re-activated by inter
via the communication interface 210. Control next passes to            rupting another call.
a third and optional step 720 whereby a specific caller                   Referring now to FIG. 8, an optional method 800 prac
identification packet is associated with the communication             ticed by the remote unit 100 is illustrated. This method is
type. For example, if the communication involves a tele                practiced when a virtual Session exists, the remote unit and
phone call a fist caller identification packet is sent identify        the Virtual Session Server are presently not connected via a
ing an extension used for telephone calls. If the communi              physical channel, and a communication request is to be
cation involves an email, a Second caller identification          25   forwarded to the remote unit 100. In a first step a first ring
packet is Sent identifying an extension used for email. On the         Signal is detected. Optionally, the first ring Signal is Sup
other hand, if the communication comes from the applica                pressed So the user will not hear it. In Some Systems a
tion program 220, Still another caller identification packet is        Vibrational first ring Signal may be allowed to pass through
Sent. When this optional use of a caller identification packet         to notify the user of an incoming communication. In Still
is employed, the remote unit 100 has the information needed            other embodiments, the remote unit may be programmed to
to properly and immediately respond to an incoming call as             Sound a normal ring on the first ring Signal. In Some
discussed in connection with FIG.8. If a call is received by           embodiments the ring Signal will not be a traditional tele
the remote unit from a Source other than the Virtual connec            phone ring Signal but will in general be any signal indicative
tion server 215, the caller identification information will            of an incoming communication request.
identify the call as not being associated with the Virtual        35      In current Systems, a caller identification packet is pre
session. Control next passes to a fourth step 725 whereby an           Sented to the called party after the first ring Signal. Hence
automatic dialer responds to communication requests and                identification of the calling party becomes available at this
the communication is forwarded to the remote unit 100.                 time. After the first ring Signal, control passes from the first
  Another situation arises when the communication request              step 805 to a second step 810. In the second step 810, the
arrives while the remote unit 100 and the virtual session         40   caller identification information is evaluated. Note it would
Server 215 are currently connected by an existing physical             be preferable to accept the caller identification data before
channel. According to one mode of processing, control stays            the first ring, and the present invention contemplates Sys
in the first step 705 while communication proceeds in an               tems whereby the virtual session server 215 signals to the
active phase of a virtual Session. When the communication              PSTN to provide a caller identification packet before the first
request arrives, the communication Server 212 Signals to the      45   ring. This Service does not appear to be available from
Virtual Session Server that a new call has arrived for the             telephone Service providers at this time. Embodiments also
remote unit 100. The virtual session server then causes the            comprehended by the present invention include Systems
existing physical layer communication connection to be                 whereby the remote unit 100 immediately picks up an
dropped and thus control passes from the first step 705 to the         incoming call and caller identification information is Sent by
Second Step 715 as in the foregoing discussion. In another        50   the virtual connection server 215 over the connection iden
mode of processing, the existing physical layer communi                tifying the call-type. During the second step 810, the caller
cation connection is left in tact and control passes from the          identification packet is evaluated. AS discussed in connec
first step 705 to a fifth step 745. In the fifth step 745, the         tion with the third step 720 of the method 700, the virtual
communication is packetized, and in a sixth step 750 the               Session Server 215 Sends out a caller identification packet to
communication packets are passed along the existing physi         55   identify the type of incoming call. For example, different
cal layer communication connection. Control continues to               caller identification packets indicate whether the incoming
loop back from the sixth step 750 to the fifth step 745 during         call is an email, a Voice telephone call, or a communication
the course of the communication. In this mode of operation             from the application program 220.
the existing physical layer communication connection is                   Control next passes from the second step 810 to a third
shared to provide the remote user with a means to Stay            60   step 815. In the third step 815, an application layer program
connected to the application program 220 and communicate               is Selected to process the incoming call. In the foregoing
at the same time. In this case the physical layer is time              examples, an application may be launched to accept an email
shared by the virtual session to allow multiple modes of               message, a voice telephone call, or to accept a communica
communications to proceed in parallel.                                 tion from the application program 220. If the communica
   Note the method 700 provides the user of the remote unit       65   tion is an email, it may be desirable to pop a mailbox icon
100 with a virtual presence in the work place while actually           on the Screen or to produce a Speech Signal Stating "you've
being remote. Independent of whether the remote unit is                got mail.” If the incoming call is a voice call, it may be
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desirable to allow the telephone to ring like a normal                    4. For use in controlling a virtual Session, a method
telephone. If the communication is from the application                 compriSIng:
program 220, it may be desirable to update data located in                establishing a virtual Session with a remote entity, the
the Screens of the workflow or otherwise Signal the presence                 Virtual Session being instantiated to Support at least one
of new data. Once the appropriate application has been             5         application layer program;
launched to handle the incoming communication, control                    placing the Virtual Session in an inactive State;
next passes to a fourth step 820 whereby communication                    receiving a ring Signal via a communication path;
Session is reactivated and the communication is processed.                reading a set of information that follows the ring Signal;
For example, one or more packets of information may be
received and related information Such as an email message                 checking the Set of information to see if it identifies the
may be displayed. Also, a telephone call may be allowed to                   application layer program; and
proceed or a set of information may be downloaded from the                if the Step of checking results in a match, activating the
application program 220.                                                     Virtual Session and coupling the at least one application
                                                                             to the remote entity thereby.
   Although the present invention has been described with          15     5. For use in controlling a virtual Session, a method
reference to specific embodiments, other embodiments may                comprising:
occur to those skilled in the art without deviating from the              establishing a virtual Session with a remote entity, the
intended Scope. For example, other forms of communica                        Virtual Session being instantiated to Support at least one
tions Such as fax messages may be accepted and displayed                     application layer program;
by the remote unit 100. Also, the present invention may be                placing the Virtual Session in an inactive State;
used for applications other than mobile workers and Internet              receiving an incoming communication request;
users. Virtual Sessions according to the present invention are
applicable to any Situation where a continual connectivity is             reading a set of information associated with Said incoming
required but the cost to remain continuously connected is                    communication request;
high. Vehicle computers with cellular radio based Internet         25     checking the Set of information to see if it identifies the
connections are an example. In Such Systems, the remote                      application layer program; and
unit 100 may be a vehicle-mounted computer or may include                 if the Step of checking results in a match, activating the
a connection to a vehicle-mounted computer. Also, Virtual                    Virtual Session and coupling the at least one application
Sessions according to the present invention are applicable to                to the remote entity thereby.
any situation where the user should not be burdened with the              6. For use in controlling a virtual Session on a Server, a
need to upload and/or download data and go through con                  method comprising:
nection and disconnection procedures. Therefore, it is to be              establishing a virtual Session with a remote unit, the
understood that the invention herein encompasses all Such                    Virtual Session being instantiated to Support at least one
embodiments which do not depart from the Spirit and Scope                    application layer program;
of the invention as defined in the appended claims.                35

  What is claimed is:
                                                                          placing the Virtual Session in an inactive State;
  1. For use in controlling a virtual Session, a method                   dialing a telephone number corresponding to Said remote
comprising:                                                                  unit to cause a ring Signal followed by a set of
                                                                             application-program identifying caller identification
  establishing a virtual Session with a remote entity, the         40        data to be delivered to Said remote unit; and
     Virtual Session being instantiated to Support an appli               placing the Virtual Session back into the active State and
     cation layer program;                                                   transferring data between the application and the
  placing the virtual Session in an inactive State;                          remote unit via the virtual Session in response to Said
  receiving an incoming call;                                                Step of dialing.
                                                                   45     7. For use in controlling a virtual Session on a Server, a
  reading a set of caller identification information from Said          method comprising:
     call;
  checking the Set of caller identification information to See            establishing a virtual Session with a remote unit, the
     if it identifies the application layer program; and                     Virtual Session being instantiated to Support at least one
                                                                             application layer program;
  if the Step of checking results in a match, activating the       50
                                                                          placing the Virtual Session in an inactive State;
     Virtual Session.
  2. The method of claim 1, wherein the virtual session is                Sending a signal indicative of an incoming communica
also established to Support a Second application program, the                tion request and an application-program identifying
Step of checking involves determining whether any of the                     packet to Said remote unit, Said application-program
application program or the Second application are identified       55        identifying packet identifying an application program
by the Set of caller identification information, and if the Step             that needs to resume a virtual Session and communicate
of checking results in a match, additionally Selecting which                 with Said remote unit; and
of the application programs to launch.                                     placing the Virtual Session back into the active State and
  3. The method of claim 1, wherein a second virtual                          transferring data between the application and the
Session is also established to Support a Second application        60         remote unit via the virtual Session in response to Said
program, the Step of checking involves determining whether                    Step of Sending.
any of the application program or the Second application are               8. A method of pausing a modem connection and recon
identified by the set of caller identification information, and         necting a telephone modem to a far end modem with a
if the Step of checking results in a match, additionally                reduced delay by reducing a time associated with line rate
checking which of Virtual Sessions to activate and which the       65   re-negotiation, the method comprising:
application programs to launch, and in the Step of activating,             initializing a first communication connection with the far
activating the identified virtual Session and application.                    end modem over a wireline telephone communication
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     channel using the telephone modem, the initializing                 the communication Session is placed back into an active
     being performed at least partially by performing a line                State Substantially in conjunction with the initialization
     rate negotiation Sequence with the far end modem to                    of the Second communication connection.
     derive a first Set of modem parameters to be used to                16. The method of claim 8, wherein the communication
     Support communications over the wireline telephone           5    Session Supports a peer-to-peer Internet connection Software
     communication channel;                                            layer above the physical layer, and the Internet Session is
  Storing the Set of modem parameters in a memory;                     between a client software layer co-located with the tele
  communicating at a negotiated data rate via the first                phone modem and a Server Software layer co-located with
     communication connection with the far end modem                   the far end modem.
    using at least one of the first Set of modem parameters,             17. The method of claim 8, wherein the first indication is
  receiving a first indication associated with a request to            generated in response to a user input to a graphical user
    temporarily Suspend modem communications,                          interface of a computer program.
  in response to the first indication, terminating the first             18. The method of claim 8, wherein the first indication is
     communication connection;                                         generated in response to a user input to a work flow as
  receiving a Second indication associated with a request to      15
                                                                       presented by a graphical user interface of a computer pro
     resume modem communications,                                      gram.
  in response to the Second indication, accessing from the               19. The method of claim 8, wherein the second indication
     memory a plurality of the first Set of modem parameters           is generated in response to a user action.
     and using the accessed modem parameters as modem                    20. The method of claim 8, wherein the second indication
     Starting parameters in a line rate re-negotiation                 is generated in response to a user input to a graphical user
     Sequence, and initializing a Second communication                 interface of a computer program.
     connection to the far end modem over the wireline                   21. The method of claim 8, wherein the second indication
     telephone communication channel using the telephone               is generated in response to a user input to a work flow as
     modem, the initializing of the Second communication               presented by a graphical user interface of a computer pro
     connection being performed at least partially by per         25
                                                                       gram.
     forming the line rate re-negotiation Sequence to derive             22. The method of claim 8, wherein first indication is
     a re-negotiated Set of modem parameters to be used to             generated in response to a first user action and the Second
     Support communications over the Second communica                  indication is generated in response to a Second user action.
     tion connection of the wireline telephone communica                 23. The method of claim 22, wherein the first user action
     tion channel; and                                                 is associated with a call waiting Signal and the Second user
  communicating at a re-negotiated data rate via the Second            action is associated with the user hanging up a voice
    communication connection using at least one of the                 telephone call.
    re-negotiated Set of modem parameters,                               24. The method of claim 22, wherein the first indication
  wherein the accessed modem Starting parameters are used              is generated in response to first user action indicating a
    to accelerate the derivation of the re-negotiated Set of      35   desire to pause communication in order to free up the
    modem parameters with respect to the time required to              wireline telephone communication channel to be used for a
    derive the first Set of modem parameters, and whereby              Voice telephone call, and the Second indication is generated
    a Setup delay time associated with the initialization of           in response to a Second user action indicative of the desire
     the Second communication connection is shorter than a             to resume modem communication with the far end modem.
     Setup delay time associated with the initialization of the   40
                                                                         25. The method of claim 8, further comprising:
     first communication connection.                                     establishing a communication Session between a first
   9. The method of claim 8, wherein the line rate negotia                  Software layer coupled to the telephone modem and a
tion is performed at least partially in accordance with the                 Second Software layer coupled to the far end modem,
V.34 modem standard.                                                        wherein the communication Session assumes an active
   10. The method of claim 8, wherein the line rate nego          45        State and Supports communication between the first and
tiation is performed at least partially in accordance with the              Second Software layerS via the first communication
V.90 modem standard.                                                        connection;
  11. The method of claim 8, wherein the memory includes                 placing the communication Session into an inactive State
a table structure.                                                         Substantially in conjunction with the first indication;
   12. The method of claim 8, wherein the modem param             50        and
eters comprise adjustable echo cancellation coefficients that            placing the communication Session back into the active
are adjusted in response to a training Signal Sent through the             State Substantially in conjunction with the initializing of
wireline telephone communication channel.                                  the Second communication connection, and using the
   13. The method of claim 8, wherein the modem param                      communication Session to Support communication
eters comprise adjustable equalizer coefficients that are         55       between the first and second software layers via the
adjusted in response to a training Signal Sent through the                  Second communication connection.
wireline telephone communication channel.                                26. The method of claim 25, herein the communication
   14. The method of claim 8, wherein the modem param                  Session involves an authentication parameter.
eters comprise adjustable Signal constellation configuration             27. The method of claim 25, wherein:
parameters that are adjusted in response to a training Signal     60     the communication Session corresponds to a communica
Sent through the wireline telephone communication channel.                  tion Services logon Session that involves an authenti
  15. The method of claim 8, wherein:                                       cation parameter; and,
  a communication Session is established in conjunction                  the first Software layer corresponds to client-side Software
     with the first communication connection;                               and the Second Software layer corresponds to Server
  the communication Session is placed in an inactive State        65        Side Software.
     Substantially in conjunction wit the termination of the             28. The method of claim 25, wherein the communication
     first communication connection; and,                              Session is placed into the inactive State in response to a first
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user action indicating a desire to pause communication in                a computer-readable Storage medium;
order to free up the wireline telephone communication                    a Software instantiated on the computer-readable Storage
channel to be used for a voice call.                                        medium, the Software including:
  29. The method of claim 25, wherein the communication                     a first function that causes a first communication con
Session is placed back into the active State in response to a     5            nection with a far end modem to be initialized over
Second user action indicating a desire to resume the com                      a wireline telephone communication channel using
munication Session with the Software layer coupled to the far                 the telephone modem, the initializing being per
end modem.                                                                    formed at least partially by performing a line rate
  30. The method of claim 25, wherein the authentication                      negotiation Sequence with the far end modem to
parameter is associated with an Internet-related protocol                     derive a first Set of modem parameters to be used to
above the physical layer to Support client-Server communi                     Support communications over the wireline telephone
cations using the Internet.                                                   communication channel;
  31. The method of claim 25, wherein the communication                     a Second function that causes the Set of modem param
Session is at least partially transacted in accordance with an                 eters to be stored in the memory;
Internet-related protocol above the physical layer in order to    15        a third function that causes communication to proceed
Support client-Server communications using the Internet.                       at a negotiated data rate via the first communication
   32. The method of claim 8, further comprising:                              connection with the far end modem using at least one
   establishing an application Session between a first appli                   of the first Set of modem parameters,
     cation Software layer coupled to the telephone modem                   a fourth function, responsive to a first indication asso
      and a Second application Software layer coupled to the                   ciated with a request to temporarily Suspend modem
     far end modem, wherein the application Session                           communications, to causes the first communication
      assumes an active State and Supports communication                      connection to be terminated;
     between the first and Second application Software layers               a fifth function, responsive to a Second indication
     via the first communication connection;                                  asSociated with a request to resume modem
  placing the application Session into an inactive State          25          communications, to causes a plurality of the first Set
    Substantially in conjunction with the terminating, and                    of modem parameters to be accessed from memory,
  placing the application Session back into the active State                  the accessed modem parameters to be used as
    Substantially in conjunction with the initializing the                    modem Starting parameters in a line rate
                                                                              re-negotiation Sequence, and a Second communica
    Second communication connection, and using the appli                      tion connection to be initialized to the far end
    cation Session to Support communication between the                       modem over the wireline telephone communication
    first and Second application Software layers via the                      channel using the telephone modem, wherein the
     Second communication connection.
   33. The method of claim 32, wherein the application                        initializing of the Second communication connection
                                                                              is performed at least partially by performing the line
Session involves an authentication parameter.                     35          rate re-negotiation Sequence to derive a re-negotiated
   34. The method of claim 32, wherein the application                        Set of modem parameters to be used to Support
Session involves an authentication parameter corresponding                    communications over the Second communication
to an application logon Session conducted between a client                    connection of the wireline telephone communication
and Server acroSS the Internet.
  35. The method of claim 32, wherein the communication
                                                                              channel, wherein the plurality of the Stored modem
                                                                  40          Starting parameters are used to accelerate the deri
Session is placed into the inactive State in response to a user               Vation of the re-negotiated Set of modem parameters
action indicating a desire to pause communication in order                    with respect to the time required to derive the first set
to free up the Wireline telephone communication channel to                    of modem parameters, and whereby a Setup delay
be used for a voice call.                                                     time associated with the initialization of the Second
  36. The method of claim 32, wherein the communication           45          communication connection is shorter than a Setup
Session is placed back into the active State in response to a                 delay time associated with the initialization of the
user action indicating a desire resume the communication                      first communication connection; and
Session wit the Software layer coupled to the far end modem.                a sixth function that causes communication to resume
   37. The method of claim 8, wherein the telephone modem                       at a re-negotiated data rate via the Second commu
is an analog client modem and the far end modem is a digital      50           nication connection using at least one of the
ISP modem.                                                                     re-negotiated Set of modem parameters.
   38. The method of claim 8, wherein the telephone modem                 42. The device of claim 41, wherein the line rate nego
is an analog client modem and the far end modem is a digital           tiation is performed at least partially in accordance with the
ISP modem, and both modems support the V.90 communi                    V.34 modem standard.
cation protocol.                                                  55      43. The device of claim 41, wherein the line rate nego
  39. The method of claim 8, wherein the far end modem is              tiation is performed at least partially in accordance with the
an analog client modem and the telephone modem is a                    V90 modem standard.
digital ISP modem, and both modems support the V.90                      44. The device of claim 41, wherein the memory includes
communication protocol                                                 a table structure.
   40. The method of claim 8, wherein the re-negotiated data      60      45. The device of claim 41, wherein the modem param
rate can be re-negotiated to be the same as the negotiated             eters comprise adjustable echo cancellation coefficients that
data rate.                                                             are adjusted in response to a training Signal Sent through the
  41. A device, comprising;                                            wireline telephone communication channel.
  a telephone modem that supports at least one of PCM                     46. The device of claim 41, wherein the modem param
    pulse amplitude data transmission and reception, and          65   eters comprise adjustable equalizer coefficients that are
    includes a coupling for connecting to a telephone line;            adjusted in response to a training Signal Sent through the
  a memory;                                                            wireline telephone communication channel.
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   47. The device of claim 41, wherein the modem param                       Sion to Support communication between the first and
eters comprise adjustable Signal constellation configuration                 Second Software layerS via the Second communication
parameters that are adjusted in response to a training Signal                connection.
Sent through the wireline telephone communication channel.                60. The device of claim 59, wherein the communication
  48. The device of claim 41, wherein:                                  Session involves an authentication parameter.
  a communication Session is established in conjunction                   61. The device of claim 59, wherein the communication
     with the first communication connection;                           Session corresponds to a communication Services logon
                                                                        Session that involves an authentication parameter, the first
  the communication Session is placed in an inactive State              Software layer corresponds to client-side Software and the
     Substantially in conjunction with the termination of the           Second Software layer corresponds to Server-Side Software.
     first communication connection; and,                                 62. The device of claim 59, wherein the communication
  the communication Session is placed back into an active               Session is placed into the inactive State in response to a first
     State Substantially in conjunction with the initialization         user action indicating a desire to pause communication in
     of the Second communication connection.                            order to free up the wireline telephone communication
  49. The method of claim 48, wherein the communication            15   channel to be used for a voice call.
Session Supports a peer-to-peer Internet connection Software              63. The device of claim 62, wherein the communication
layer above the physical layer, and the Internet Session is             Session is placed back into the active State in response to a
between a client software layer co-located with the tele                Second user action indicating a desire to resume the com
phone modem and a Server Software layer co-located with                 munication Session with the Software layer coupled to the far
the far end modem.                                                      end modem.
  50. The device of claim 41, wherein the first indication is             64. The method of claim 62, wherein the authentication
generated in response to a user action.                                 parameter is associated with an Internet-related protocol
  51. The device of claim 41, wherein the first indication is           above the physical layer to Support client-Server communi
generated in response to a user input to a graphical user               cations using the Internet.
interface of a computer program.                                   25     65. The method of claim 62, wherein the communication
  52. The device of claim 41, wherein the first indication is           Session is at least partially transacted in accordance with an
generated in response to a user input to a work flow as                 Internet-related protocol above the physical layer in order to
presented by a graphical user interface of a computer pro               Support client-Server communications using the Internet.
gram.                                                                      66. The device of claim 41, further comprising:
  53. The device of claim 41, wherein the second indication                an Seventh function that causes an application Session to
is generated in response to a user action.                                   be established between a first application Software layer
  54. The device of claim 41, wherein the second indication                  coupled to the telephone modem and a Second appli
is generated in response to a user input to a interface of a                 cation Software layer coupled to the far end modem,
computer program.                                                            wherein the application Session assumes an active State
  55. The device of claim 41, wherein the second indication        35        and Supports communication between the first and
is generated in response to a user input to a work flow as                   Second application Software layerS via the first com
presented by a graphical user interface of a computer pro                    munication connection;
gram.                                                                     a eighth function that causes the application Session to be
  56. The device of claim 41, wherein the first indication is                placed into an inactive State Substantially in conjunc
generated in response to a first user action and the Second        40        tion with the terminating, and
indication is generated in response to a Second user action.              a ninth function that causes the application Session to be
  57. The device of claim 56, wherein the first user action                  placed back into the active State Substantially in con
is associated with a call waiting Signal and the Second user                 junction with the initializing the Second communica
action is associated with the user hanging up a voice                        tion connection, and using the application Session to
telephone call.                                                    45        Support communication between the first and Second
  58. The device of claim 56, wherein the first indication is                application Software lay is via the Second communica
generated in response to a first user action indicating a desire             tion connection.
to pause communication in order to free up the wireline                    67. The device of claim 66, wherein the application
telephone communication channel to be used for a voice                  Session involves an authentication parameter.
telephone call, and the Second indication is generated in          50      68. The device of claim 66, wherein the application
response to a Second user action indicating a desire to                 Session involves an authentication parameter corresponding
resume modem communication with the far end modem.
  59. The device of claim 41, further comprising:                       to an application logon Session conducted between a client
                                                                        and Server acroSS the Internet.
  a Seventh function that causes a communication Session to                69. The device of claim 66, wherein the application
     be established between a first software layer coupled to      55   Session is placed into the inactive State in response to a user
     the telephone modem and a Second Software layer                    action indicating a desire to pause communication in order
     coupled to the far end modem, wherein the communi                  to free up the Wireline telephone communication channel to
     cation Session assumes an active State and Supports                be used for a voice call.
     communication between the first and Second Software                  70. The device of claim 66, wherein the application
     layerS via the first communication connection;                60   Session is placed back into the active State in response to a
  a eighth function that causes the communication Session               user action indicating a desire resume the communication
     to be placed into an inactive State Substantially in               Session with the Software layer coupled to the far end
     conjunction wit the terminating, and                               modem.
  a ninth function that causes the communication Session to                71. The device of claim 66, wherein the memory com
     be placed back into the active State Substantially in         65   prises the computer-readable Storage medium.
     conjunction with the initializing of the Second commu                 72. The device of claim 41, wherein the memory com
     nication connection, and using the communication Ses               prises nonvolatile memory.
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   73. The method of claim 41, wherein the telephone       digital ISP modem, and both modems support the V.90
modem is an analog client modem and the far end modem      communication protocol.
is a digital ISP modem, and both modems support the V.90      75. The method of claim 41, wherein the re-negotiated
communication protocol.                                    data rate can be re-negotiated to be the same as the nego
                                                           tiated data rate.
  74. The method of claim 41, wherein the far end modem
is an analog client modem and the telephone modem is a
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                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.       : 6,574.239 B1                                                                    Page 1 of 1
DATED            : June 3, 2003
INVENTOR(S) : Dowling et al.

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 27
        Line 66, delete “wit” and insert -- with --
        Column 28
        Line 57, delete “herein’ and insert -- wherein --
        Column 29
        Line 48, delete “wit” and insert -- with --
        Column 30
        Lines 21 and 25, delete “causes' and insert -- cause --
        Column 31
        Line 14, delete “method” and insert -- device --
        Line 32, delete “a interface” and insert -- a graphical user interface --
        Line 62, delete “wit” and insert -- with --
        Column 32
        Lines 21 and 25, delete “method” and insert -- device --
        Line 46, delete “lay is.” and insert -- layer --
        Column 33
        Lines 1 and 5, delete “method” and insert -- device --
        Column 34
        Line 3, delete “method’ and insert -- device --

                                                                   Signed and Sealed this
                                                          Twenty-ninth Day of March, 2005


                                                                                   WDJ
                                                                              JON W. DUDAS
                                                          Director of the United States Patent and Trademark Office
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                         EXHIBIT 2
     Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 44 of 168 Page ID #:44

                                                                                                           USOO8266296B2


(12) United States Patent                                                              (10) Patent No.:                   US 8.266,296 B2
       Dowling et al.                                                                  (45) Date of Patent:                        *Sep. 11, 2012

(54) COMMUNICATIONS
     APPLICATION-LAYEREVALUATION
                     RECEIVED BY A
                                  OF                                                    t I w-SR A            3. E. SR
                                                                                                                    tuart
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        MOBILE DEVICE                                                                                             (Continued)
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                            (US); Mark Nicholas Anastasi,                                      FOREIGN PATENT DOCUMENTS
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(73) Assignee: East Texas Technology Partners, LP,                              WO                      99.27702  6, 1999
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(*) Notice: Subject to any disclaimer, the term of this
            patent is extended or adjusted under 35
                                                                                   E.; A.E. S.S.R.S.E.W.", ESE
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                            This patent is Subject to a terminal dis-           to Plaintiffs Second Amended Complaint.” Civil Action No.
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(21) Appl. No.: 12/272,481
                 y x- - -         9
                                                                                 District of Texas Marshall Division, (Mar. 15, 2004), 8 pages.
(22) Filed:                 Nov. 17, 2008                                                                         (Continued)
(65)                           Prior        O  O
                                       Publication   Data                       Primaryy Examiner — Ramv
                                                                                                       y M. Osman
        US 2009/0083376 A1                  Mar. 26, 2009                       A
                                                                                 (57)    tu
                                                                                                   d        iat
                                                                                                                   st
                                                                                                                    t
                                                                                                                                     ded which all
                 Related U.S. Application Data                                       partiseptstyley
(60) Division of application No. 10/920,817, filed on Aug.                      virtual session allows a remote and possibly mobile user to
     18, 2004, now abandoned, which is a continuation of                        ma1nta1n a virtual presence in an office environment without
     application No. 10/335,821, filed on Jan. 2, 2003, now                     actually being present. Using the present invention, a remote
        abandoned, which is a continuation of application No.                   user can access a central application program such as an
        09/167,698,
        6,574,239.
                    filed on Oct. 7, 1998, now Pat. No.                          Internet service provider, a database system, an inventory
                                                                                system or billing system. Likewise, the remote user can
51) Int. C                                                                      receive calls and otherforms of communications as though he
(51) Int. Cl.                                                                   or she were present in an office environment. A virtual session
     G06F 15/16               (2006.01)                                         does not require a physical connection to be continuously
(52) U.S. Cl. ........ 709/227; 709/203; 709/217; 709/i.                        present in order to provide a virtual connectivity. This is
                                                        709/234                 especially important for mobile applications where the
(58) Field of Classification Search .................. 709/203,                 remote user may incur long distance and/or wireless toll
                                709/205, 223, 217, 227, 234                     charges. Also, methods are presented to allow a remote unit to
     See application file for complete search history.                          rapidly reconnect in a transparent and seamless way without
                                                                                burdening the user with the need to connect and reconnect or
(56)                          References Cited                                  to upload and download information. Related methods are
                                                                                provided to allow the virtual session to be established, oper
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                                                                                 500
                                                                                 y
                                                               ESABLISH FRS
                                                               CONNECON, WH              505
                                                                REMOTE ENITY

                                                               ESTABLISH SESSION         510
                                                              WTH REMOTE ENITY


                                                                DROP CURRENT
                                                                 CONNECTION                    540
                                                              ESTABLISH SECOMD           MANIAN
                                                              CONNECON WITH              WRAL
                                                                REMOTE ENITY             SESSION
                                                            ---
                                                             52O
                                                                   COMMUNCATE
                                                            ATHORIZATION SEQUENCE
                                                            - 9
                                                             525
                                                               RESUE SESSION
                                                              WH REMOTE ENY              530
Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 45 of 168 Page ID #:45


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                             110                                              100



                                                                JZ-126
     120      CONTROL                       COMMUNICATION
              PROGRAM                                                          127
              MODULE                           MODULE               F-1
                                                              125

     130      MONOR                           units.
                                                 AO
                                               MODULE               8        N. 1 38
                                                              135
                  MASS                         POWER
     140      STORAGE                          MODULE          145          HIC.       1




                                                        184
      150N        151         APPLICATION
                               SESSIONS
                                                        /               APPLICATION
                                                                         SESSIONS
                                                                                           152
                                                        182
                  54         REMOTE UNIT LA                         VIRTUAL SESSION - 156
                            VIRTUAL SESSION                               SERVER


                  158         TRANSPORT        - ---- ---               TRANSPORT          60

   FIG.      1A
                  164-         NEWUKK           -------                                    166


                  170-1            LINK         -------                                    172



                                                    80
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        200
             Y                                                     TABLE       225
                                                                 STRUCTURE



      REMOTE                            COMMUNICATION             SSG          215
       UNIT                               INTERFACE
                                                                  SERVER


                                                                  Z
                                  212   COMMUNICATION            A56,on        220
          FIC.          2                  SERVER                PROGRAM




                  300



       305            INTERFACE SCREENS BASED WORKFLOW PROCESSING

                        PREDICTION          PREDCTION

       320       ESTABLISH CONNECTION                TERMINATE
                     N BACKGROUND                   CONNECTION

                      EXCHANGE
       325       AUTHENTICATION DATA


       350
                 ESTABLISH/REACTIVATE
                        SESSION


                                        FIC. 3
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         400

               RECEIVE COMMUNICATIONS
   405              REQUEST FROM
                   USER PROGRAM

   410           NITIATE CONNECTION

   415             AUTHORIZATION
                    CONFIRMATION

   420               NITAL DATA
                   COMMUNICATION

                 INA DATA DISPLAY
   425                                                             500
               LINE-RATE NEGOTATION
   450          IN THE BACKGROUND
                                                 ESTABLISH FIRST
                                                 CONNECTION WITH         505
                    SUBSEQUENT                    REMOTE ENTITY
   455          HIGH-SPEED TRANSFER
                    FIG. 4                      ESTABLISH SESSION
                                               WITH REMOTE ENTITY


                                                  DROP CURRENT
                                                   CONNECTION                  540

                                                ESTABLISH SECOND         MANTAIN
                                                CONNECTION WITH          VIRTUAL
                                                  REMOTE ENTITY          SESSION


                                                   COMMUNICATE
                                             AUTHORIZATION SEQUENCE


                                                 RESUME SESSION
                                               WITH REMOTE ENTITY


                                                  A TC. 6
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         600                                                                      700

   605    ESTABLISH COMMUNICATION                              ESTABLISH AND        7
              WITH REMOTE UNIT                                  AUTHENTCAE              O5
                                                                  SESSION
   60      ACCEPT AUTHORIZATION
                PARAMETERS

   615     ESTABLISH APPLICATION
                  SESSION FOR
                  REMOTE UNIT                              ACCEPT COMMUNICATION
                                                               REQUEST FOR              715
   620           PROVIDE ENTRY                                  REMOTE UNIT
               IN TABLE STRUCTURE
                                                                                    720

   625                                          650
                                                                                    725
                  REESTABLISH             MANTAIN
   630     COMMUNICATIONS WITH            VIRTUAL
               REMOTE UNIT                SESSION


   635


   640

                 FIG. 6                                        FIC. 7


                                      DETECT/SUPPRESS            805
                                     FIRST RING SIGNAL

                                     EVALUATE CALLER-D           810

                                 SELECT/ACTIVATE APPLICATION     815

                                 REACTIVATE VIRTUAL SESSION      820
  Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 50 of 168 Page ID #:50


                                                        US 8,266,296 B2
                                1.                                                                       2
      APPLICATION-LAYEREVALUATION OF                                      of their medical histories. A patient’s medical record is pref
       COMMUNICATIONS RECEIVED BY A                                       erably maintained as an interactive electronic document con
              MOBILE DEVICE                                               taining multiple parts. For example, the medical record indi
                                                                          cates to the home-care professional precisely what
           CROSS-REFERENCE TO RELATED                                     procedures are to be performed and what medications are to
                  APPLICATIONS                                            be administered or otherwise given to the patient. Once the
                                                                          services are performed, the home-care professional must
  The present application is a divisional of U.S. patent appli            annotate the medical record accordingly. The medical record
cation Ser. No. 10/920,817, filed Aug. 18, 2004, which is a               is updated to reflect the patient’s vital signs and other infor
continuation of U.S. patent application Ser. No. 10/335,821          10   mation related to patient progress. Also, a billing system takes
filed Jan. 2, 2003, now abandoned, which is a continuation of             note to track expendables and services rendered. For
U.S. patent application Ser. No. 09/167,698, filed Oct. 7,                example, the patient may be billed per visit and each visit may
1998, now U.S. Pat. No. 6,574.239, entitled “Virtual Connec               involve the expenditure of billable resources such as medi
tion of a Remote Unit to a Server.” The present application               cines.
claims priority to these applications and incorporates them by       15     In the above scenario, a mobile worker must interact with a
reference herein in their entireties.                                     central server during the course of a day. The worker may
                                                                          wish to access the central server while visiting a patient. The
          BACKGROUND OF THE INVENTION                                     worker may also wish to access the server from a location
                                                                          where only a wireless connection can be established. From a
   1. Field of the Invention                                              performance perspective, an ideal Solution is to provide the
   This invention relates generally to client-server computing            mobile worker with a wireless connection from a remote unit
architectures and communication techniques. More particu                  to a central server. Such a wireless connection could be estab
larly, the invention relates to a system whereby a mobile                 lished via a high-powered radio connection with a broad area
worker and a central server may maintain a virtually continu              of coverage or via an existing cellular or personal communi
ous connection without the need to maintain a physical con           25   cation system (PCS) network. Solutions using high-powered
nection continuously.                                                     radio links have the disadvantage that costly spectrum may be
   2. Description of the Related Art                                      required. Maintaining a link on a cellular or PCS system is
   The concept of a virtual connection has arisen in connec               expensive in that a continuous connection consumes billable
tion with telecommuting and related applications. Such a                  airtime which is also very costly. From an airtime-cost per
system is described in U.S. Pat. No. 5,764,639. A telecom            30   spective, an ideal solution would be to force the worker to
muter dials into a server using a standard telephone line. The            create a connection, download or up load information, and
telecommuter's modem and a modem controlled by the cen                    work locally with data on the remote unitas often as possible.
tral server establish a connection therebetween. Once a con               This solution is tedious, and while Saving airtime costs, may
nection is established, the telecommuter may access a com                 actually represent the more costly solution when professional
puter connected to the server, read emails and receive phone         35   service costs are factored in. This method has the added
calls and faxes. For example, if a customer attempts to call the          disadvantage that when files are uploaded or downloaded the
telecommuter at work by dialing into a private branch                     data must be synchronized in case another user has changed
exchange (PBX), the server will convert the incoming call to              the data in parallel with the mobile worker. Alternatively,
a packetized form, such as H.323, and redirect the call via the           other users must be "locked out of the file from the time the
existing connection between the telecommuter and the server.         40   mobile user downloads it until it is finally uploaded with any
Using this system, the telecommuter may access a computer                 changes made. This is the problem solved using semaphores
at work, answer phone calls and answer emails. The telecom                in shared memory systems. In the context of the present
muter thus appears to be present in his or her office and thus            invention, a "file semaphore' is a semaphore used to lock a
has a virtual presence there. Note for this system to properly            second user out of a file while a first user is using it. Due to the
function, the telecommuter must stay connected to the server         45   aforementioned reasons, in many applications forcing the
at all times. While this does not present a significant problem           worker to repeatedly connect, disconnect, upload and down
for local telecommuting, this solution is quite costly for long           load information is unacceptable.
distance telecommuting. Likewise, this solution is very costly               Some mobile networks have been constructed using what
if the telecommuter is mobile and must maintain a virtual                 is known as cellular digital packet data (CDPD). In a CDPD
presence with the server using a cellular wireless connection.       50   network, a remote unit transmits a data packet on an unused
Furthermore, in some areas it may be difficult to maintain a              analog channel. In this sense the mobile unit remains virtually
wireless connection continuously. A lost connection may also              connected to a CDPD communication server. Wireless air
prevent one from regaining access to the system until some                time is only consumed when data is actually sent. A disad
period of time has passed. Some mobile workers require only               vantage to this approach is CDPD networks are not univer
intermittent access to the server, but find it too inconvenient to   55   Sally available. Cellular coverage is much more ubiquitous
place a dial-in call and to log onto the system every time                than CDPD coverage. Also, CDPD network subscribers must
access is needed.                                                         often pay high fees and hence CDPD may not represent the
   There is a need to provide mobile workers with various                 most economical Solution.
forms of virtual connectivity. Mobile workers differ from                   In some systems such as packet Switched network routers,
telecommuters in that while a telecommuter typically works           60   offices make use of dial-out links. Dial-out links are useful
from a single home location or remote office, a mobile worker             when remote offices are separated by long distances. In Such
moves from location to location during the course of a normal             systems, when a packet must be routed from a first office to a
working day. An example of a mobile worker is a home-care                 second office, a call is placed to route the packet. The dial-out
professional. A home-care professional is a medical worker                connection remains connected until a no-traffic condition is
who periodically travels to visit with different sets of home        65   detected, indicating the line is no longer active. When the
bound patients according to their individual needs. The indi              no-traffic condition is detected the connection is dropped
vidual patients each have a set of medical records indicative             until it is again needed. Dial-out links are thus used to reduce
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                                                       US 8,266,296 B2
                               3                                                                        4
long distance fees associated with maintaining a constant                a server-side application program. The virtual session server
connection, and represents a useful starting point for solving           emulates the presence of the remote unit to the server-side
the foregoing problems relating to the establishment of a                application program and thereby maintains the logon. In
virtual presence of a mobile worker. Client-server protocols             related embodiments, the server-side application program
and fast automated connection strategies employing dial-out              involves a communication server capable of relaying mes
links are needed to provide new ways for a mobile worker to              sages and establishing communication channels with the
maintain a virtual presence. Also, new methods are needed to             remote unit using the virtual session layer.
enable dial-out links to be set up with low delays to make                  A second aspect of the present invention involves a method
them more useful for novel systems.                                      of accessing a central server from a remote unit. A first step
   It would be desirable to provide a system whereby a remote       10
                                                                         involves presenting a workflow to a user via a user interface.
worker could maintain a seamless connection with a central
server without the need to maintain a dedicated channel. It              A second step involves predicting, based upon the workflow,
would be desirable if the remote worker could communicate                when the user will require connectivity to the central server.
with the central server without the need to spend time to enter          Based upon the prediction and in the background, a third step
a password, reconnect, and wait for a line negotiation              15   involves initiating the establishment of a physical layer com
                                                                         munication connection to the central server.
sequence to proceed before being able to use the connection.
It would be desirable for a protocol stack to activate a virtual           A third aspect of the present invention involves a method of
session based on a prediction derived from a workflow. It                establishing a connection with a low connection set-up time.
would be desirable to use this prediction to set up a connec             In a first step, the method initiates the establishment of a
tion in the background without disturbing the mobile worker              communication connection to be used to communicate with a
while the mobile worker performed tasks in a workflow. It                remote entity. Next the method communicates application
would also be desirable to have a remote unit which contains             layer data via the communication connection prior to the
most of the screen-related information needed to provide the             completion of a line-rate negotiation process. Next the
appearance of an established connection before the connec                method negotiates a line speed in the background.
tion has been fully established. It would be desirable for the      25      A fourth aspect of the present invention involves a method
remote unit to download information before it is needed and              of setting up and operating a virtual session. This method can
upload information after it is gathered without the user even            be practiced by a client-side remote unit or a server-side
being aware these actions are being performed. It would                  virtual session server. A first connection is established to a
further be desirable to establish a virtual session using a first        remote entity. This first connection is then used to establish a
communication medium such as a landline and to later com            30   set of parameters needed to define a communication session
municate using the same virtual session using a second com               with the remote entity. Next the first connection disconnected
munication medium such as a wireless link. This would allow              and a set of communication session parameters are main
a mobile worker to select the most economical or convenient              tained. Next a second connection to the remote entity is estab
means of communications at a given time. In embodiments                  lished and an authorization sequence is communicated. The
involving modem-based connections, it would be desirable to         35   communication session is next reactivated using the commu
transmit data immediately using instantly available but lower            nication session using the second connection. A related
line speeds. It would be desirable to then negotiate a higher            method is used to allow a remote unit to maintain a virtual
line speed in the background while the remote worker and/or              communications presence with a remote communication
the server perform other tasks. Moreover, it would be desir              server coupled to a virtual session server.
able to establish a session between a remote unit and a server      40
so that various forms of communications may proceed while                        BRIEF DESCRIPTION OF THE FIGURES
providing the user with the appearance the user is continu
ously connected to the server and has a virtual presence with               The various novel features of the present invention are
the server.                                                              illustrated in the figures listed below and described in the
                                                                    45   detailed description which follows.
              SUMMARY OF THE INVENTION                                      FIG. 1 is a block diagram representing an embodiment of a
                                                                         remote unit designed in accordance with the present inven
   The present invention solves these and other problems by              tion.
providing systems and methods to enable a remote worker to                  FIG. 1A is a block diagram illustrating a layered software
stay virtually connected to a central server without the need to    50   architecture representative of the communication protocols
continuously remain connected via a physical channel. The                of the present invention.
present invention is useful when costs are associated with                  FIG. 2 is a block diagram illustrating a system comprising
maintaining a connection, for example when the connection                a remote unit operably coupled to a server via a communica
has associated with it long distance, wireless, or other usage           tion medium.
related toll charges.                                               55     FIG. 3 is a flow chart illustrating a method of processing
   A first aspect of the present invention involves a commu              whereby an application program implementing a workflow
nication protocol making use of a virtual session layer. The             provides a prediction of when the user will need a connection
virtual session layer allows a communication session and an              and establishes a connection in the background just before it
application session to be maintained in an inactive state when           is needed.
no physical connection exists. When a remote unit later             60      FIG. 4 is a flow chart illustrating a method of establishing
reconnects with a server, the virtual session is placed into an          communication with a remote entity with a near-immediate
active state and session communications resumes as though                set up time.
uninterrupted. A remote unit, a virtual session server, and a               FIG. 5 is a flow chart illustrating a method of communi
communication system including the remote unit and the                   cating by maintaining a virtual presence without the need to
virtual session server are presented to support virtual sessions    65   continuously maintain a physical connection.
communications. In one embodiment, the virtual session                      FIG. 6 is a flow chart illustrating a method of processing
server manages a logon Session between the remote unit and               performed on a server acting as a front-end to an application
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program to maintain sessions for remote users who are not             with a remote entity such as a virtual session server as will be
continuously physically connected to the application pro              discussed in detail hereinafter. In a preferred embodiment, the
gram.                                                                 communications module 125 includes a plurality of commu
  FIG. 7 is a flow chart illustrating a method of processing          nication interfaces. For example, a first interface 126 provides
performed on a server managing virtual connections for users          a wireless link, and a second communication interface 127
who are not continuously physically connected to the server.          provides one or more wireline links. Also, the wireline com
  FIG. 8 is a flow chart illustrating a method of processing          munication interface 127 may include a standard telephone
performed by a remote unit to accept different types of incom         modem interface and a packet style interface designed to plug
ing calls.                                                            directly into an Ethernet connection to be coupled to a local
                                                                 10   area network (LAN), a wide area network (WAN) or the
   DETAILED DESCRIPTION OF THE PREFERRED                              Internet. The Internet is the well-known and ubiquitous World
               EMBODIMENTS                                            WideWeb. In some embodiments, the communications mod
                                                                      ule 125 includes a caller-identification packet processor. A
   FIG. 1 is a block diagram representing an embodiment of a          caller-identification packet processor receives a caller-iden
remote unit 100 designed in accordance with the present          15   tification packet, extracts information therefrom, and passes
invention. The remote unit 100 may be implemented as a                the information to the CPU 105. Caller-identification packets
laptop computer, a personal digital assistant, a desktop com          may be advantageously used to identify incoming calls with a
puter or workstation, or as a dedicated unit customized for a         virtual session as discussed in connection with FIGS. 7-8. The
particular application. The remote unit 100 includes a central        communications module 125 may optionally include a Voice
processing unit (CPU) 105 connected to a central bus 110.             interface to allow a user to engage in telephone conversations
The central processing unit may be implemented using an               using the remote unit 100. In this case a separate handset or a
available microprocessor, microcontroller, or customized              built-in handset may be used. Alternatively a speakerphone
logic. For example, a Pentium.T.M. processor from Intel Corp.         may be built into the remote unit using a microphone, a
may be used to implement the CPU 105. The central bus is              speaker, and an echo canceller.
preferably constructed as a set of unbroken wires used to        25      The remote unit 100 also includes a display monitor 130.
carry signals between a set of component Subsystems within            The display monitor 130 is also coupled to the bus 110. The
the remote unit 100. It should be noted, in some embodiments          display monitor 130 is preferably implemented using a liquid
of the present invention, the bus 110 may be implemented              crystal display (LCD), although other display technologies
equivalently using a set of direct parallel and/or serial con         may equivalently be used. Also connected to the bus 110 is an
nections between individual modules. The bus 110 as illus        30   optional universal input-output (I/O) module 135. The uni
trated in FIG. 1 shows a low cost and a preferred means to            Versal I/O module includes a coupling to a set of external
connect the illustrated subsystems. Any combination of bus            devices 138. The external devices are preferably data collec
connections and direct serial or parallel links may be used to        tion units as described below. The universal I/O module pref
implement the connection structure provided by the bus 110.           erably provides a standard link layer interface to the software
Different implementations represent different price-to-per       35   module 120 executing on the CPU 105. The remote unit 100
formance ratios and will be dictated by the needs of an indi          also preferably includes a mass storage device 140. The mass
vidual embodiment. The bus 110 also comprehends multi                 storage device 140 is also connected to the bus 110. The mass
layered bus structures. For example, Some embodiments                 storage device is preferably implemented using magnetic
make use of a local processor bus connected to the CPU 105,           disk or optical disk technology, but any mass storage device,
and a peripheral interconnect bus for other Subsystems. In       40   to include a non-volatile memory, may be used.
multi-layered bus based designs, the different layers are pref           The remote unit 100 also includes a power module 145.
erably connected by bus bridges. All of these and other               The power module is preferably and optionally coupled to the
equivalent embodiments of the bus 110 are known to the                bus 110 to receive power management control information.
skilled artisan. From here forward, the discussion will center        The power module preferably includes a battery, an alternat
on the illustrated embodiment of the remote unit 100 whereby     45   ing current (AC) connector, a direct current (DC) connector,
all subsystems are directly connected via the bus 110.                and a power management control interface. The AC connec
Embodiments where the bus 110 represents a different physi            tor allows the remote unit 100 to be powered from a standard
cal interconnection topology are implicitly included in the           110 V wall outlet. The DC connector allows the remote unit
discussion below.                                                     100 to be powered from a vehicle, for example by plugging
   A memory 115 is also coupled to the bus 110. The memory       50   the unit into a cigarette lighter outlet. Either of these connec
115 may be implemented using static random access memory              tors may be preferably used to also charge the battery in the
(SRAM) or dynamic random access memory (DRAM). One                    remote unit. The power module 145 is coupled to supply
type of SRAM is read-only memory (ROM). Preferably the                power to a power bus which is connected to all Subsystems.
memory 115 includes a ROM for use at boot-up, and a DRAM              Depending on the power management configuration of an
to hold a significant amount of data storage for use while       55   individual system, different Subsystems may accept power
executing programs. The remote unit 100 also includes a               from separate connections to allow portions of the remote unit
control program module 120. The control program module                to be selectively turned off while they are not being used.
120 is controllably coupled to the CPU 105 and is also                   The remote unit 100 is operative to execute an application
coupled to the bus 110. The central program module 120                program. The application program is operative to Supply a
typically exists as a software module executed from the          60   sequence of interactive screens or a menu based interface to
memory 115 by the CPU 105. The control program module                 the user. The sequence of interactive Screens or a particular
120 effectively configures the remote unit 100 to operate in          usage of a menu based system implements a workflow. In an
accordance with aspects of the present invention as discussed         example embodiment, the remote unit 100 is carried by a
herein below.                                                         home-care professional. The home care professional has a
  A communications module 125 is also coupled to the bus         65   sequence of procedures which need to be implemented in the
110. The communications module includes at least one com              course of working with a patient. This sequence of procedures
munication interface to allow the remote unit to communicate          gives rise to the workflow implemented in the control pro
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gram 120 which executes on the remote unit 100. In the                stack using basic concepts similar to the seven layer OSI
example embodiment involving a home-care professional,                model is next discussed which represents an aspect of the
the universal I/O module is connected to a set of peripheral          present invention.
units to collect vital information Such as blood pressure,               FIG. 1A illustrates a representative protocol 150 used to
temperature, insulin level and the like. Other information            Support the present invention. At the top layer is an applica
Such as the patients weight may be entered manually by the            tion session layer. A first protocol stack with an application
home-care professional as a part of the workflow. At certain          session layer software module 151 communicates with a sec
times in the workflow, an external communication connection           ond protocol stack with an applications session layer Software
will be needed because data may need to be uploaded or                module 152. The application session layer software module
downloaded to/from a central server. In accordance with the      10   151 is typically implemented as a client-side software module
present invention, the remote unit 100 is operative to provide        which presents a user interface to a user. The application
a seamless and transparent virtual presence with the central          session layer software module 152 is typically implemented
server. In general, the central server may itself be segmented        by a server-side software module operative to provide com
into two or more individual central servers. The discussion
                                                                      munication and/or computer related services to the client-side
                                                                 15   Software module. For example the application sessions layer
herein focuses on an embodiment whereby a virtual presence            software module 152 may involve a logon session with a
is maintained with a single central server having multiple            database program, or may represent a unified messaging
server components. The present invention may be equiva                server Supplying Voice mail, email and fax mail. Similarly, the
lently practiced by embodiments involving a virtual presence          application session layer software module 152 may involve a
with more than one central server. Thus, one remote unit              telephony application operative to provide a packet Switched
could maintain multiple virtual connections to totally sepa           or a circuit Switched telephone connection to the client-side
rate server systems. In Such a configuration the application          application session layer software module 151. One layer
workflow would dictate to which server system the remote              down in the protocol stack is a virtual session layer. In the
unit would physically connect while other servers remain              example embodiment, the first protocol stack implements a
virtually connected.                                             25   virtual session layer software module 154 in the remote unit
   A key aspect of the operation of the remote unit 100 is its        100. The virtual session layer software module 154 commu
ability to maintain a virtual presence with the central server        nicates with a peer virtual session software module 156 via
without continuously maintaining a physical connection. The           the peer-to-peer communication path 182. In the exemplary
remote unit 100 is operative to provide communications when           embodiment, the virtual session layer software module 156 is
it is needed without the user needing to go through a set of     30   implemented within a virtual session server as discussed in
normally associated connection sequences. For example, in             connection with FIG. 2. The virtual session server typically
accordance with one aspect of the invention, the user need            maintains a table linking one or more application sessions to
only interact with the screens provided to implement the              a virtual session. For example, this linking of application
                                                                      sessions into the table structure may be accomplished by
workflow while the remote unit 100 automatically sets up a       35   including a pointer to a data structure containing application
connection in the background to be available when it is               session control data, or by placing the data structure holding
needed. In embodiments where file synchronization is not an           the application session control data directly in the table struc
issue or is handled using file semaphores, the Software imple         ture. Additionally, the table structure allows the virtual ses
menting the workflow automatically downloads information              sion server to maintain a plurality of virtual sessions with a
before it is needed and later automatically uploads new infor    40   plurality of client remote units. In the OSI model, the OSI
mation after it has been gathered. This way, users need not           session layer provides a set of rules used to establish and
even be aware they are not connected at all times. The user is        terminate data streams between nodes in a network. A set of
not burdened with the need to connect and reconnect, and              OSI-Session layer services include establishing and terminat
need not be burdened with downloading and uploading data.             ing node connections, message flow control, dialog control,
The user experiences the full benefit of being continuously      45   and end-to-end data control. The session layer controls dia
connected to the central server without the associated cost of        logs, which involve conversational protocols as used in main
remaining continuously connected via a physical connection.           frame computer terminal communications. The virtual ses
In Systems where file semaphores are not employed, the                sion layer 154, 152 of the protocol 150 may perform any of
physical connection is established just before the workflow           these functions in addition to maintaining the table linking to
indicates it will be needed and is dropped when the workflow     50   the application sessions.
indicates it will not be needed for some time. Further details           The next software modules in the first protocol stack are the
of the operation of the remote unit 100 are given in the              transport layer 158, the network layer 164, the link layer 170
discussions provided in connection with FIGS. 2-8.                    and the physical layer 176. These software modules respec
   A central aspect of the present invention involves the con         tively perform peer communications with the server-side pro
cept of a “virtual session.” A session as defined herein is      55   tocol stack's software modules 160, 166, 172, and 178. The
similar to the definition provided in the open systems inter          physical layer defines the low-level mechanical and electrical
connect (OSI) reference model from the International Stan             channel protocols and the physical connection itself. These
dards Organization (ISO). The OSI model is a model of a               four lower layers are well known in the art of data communi
layered software structure used in computer communica                 cations and can be implemented in various well-known ways.
tions. A Software system which implements a layered model        60   Likewise, alternative and equivalent protocol stacks may be
of communication is known as a “protocol stack. The OSI               constructed, for example, with the transport layer removed,
model is well known and divides a computer communications             various layers merged into one, or new layers added.
process into seven layers. At each layer is a software module           An important aspect of a virtual session oriented commu
which communicates with a peer Software module at the same            nication protocol such as the protocol 150 is the ability to
layer. Within a protocol stack, each layer communicates with     65   maintain a peer-to-peer virtual session communication path
the layer above and/or below. Actual communication systems            182 without the presence of a physical layer communication
often deviate from the seven layer OSI model. A protocol              path 180. The physical layer communication path 180 repre
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sents a physical layer communication connection, for                      layer connection at a later time. The virtual session thus also
example, a wireline connection, a cellular wireless connec                preferably provides connect and reconnect rules used to
tion, or a network connection to the Internet. When the physi             establish a virtual session and then to reassociate the virtual
cal layer communication path 180 is disconnected, no physi                session to a new physical connection to set up a new data
cal channel exists between the client-side software and the               stream in Support of a dialog at a later time. Related activities
server-side Software, and the physical layer communication                such as the initiation of dial-out links to reestablish a physical
path 180 is said to be in a “disconnected state.” However, data           layer communication path is also preferably handled by the
structures maintained at the virtual session layer allow one or           virtual session in response to a signal from an application
more peer-to-peer application session communication paths                 layer program.
184 to remain in a deactivated but existent state, even when         10      An aspect of a virtual session is the maintenance of an
the physical layer communication path is in the disconnected              application between an application program and a virtual
state. Likewise, the virtual session communication path 182               session server as will be described below. A virtual session
established between the remote unit and the virtual session               server acts as a proxy agent for a remote unit. When the
server also remains in a deactivated but existent state. This is          remote unit is not connected via a physical layer communi
made possible through the use of the table structure main            15   cation path, the virtual session server maintains a proxy
tained in memory which retains its information after the                  presence with the application program on behalf of the dis
physical layer communication path 180 has been discon                     connected remote unit. At a later time, when the remote unit
nected. When the physical layer communication path 180 has                reconnects into the virtual session by passing a set of com
been reconnected, the physical layer communication path is                munication session authentication parameters, the remote
said to be placed into a “connected state.” At such time, the             unit is thereby granted access to one or more application
virtual session layer software modules 154 and 156 are opera              sessions which have been maintained in proxy by the virtual
tive to reactivate the virtual session layer communication path           session server.
182 and the application sessions layer communication path                    In a preferred embodiment, the virtual session uses a set of
184. When these paths are reactivated, peer-to-peer commu                 authentication parameters and a set of encryption keys to
nication may once again proceed over the application session         25   maintain a secure connection. A separate set of authentication
layer communication path 184 and the virtual session layer                parameters is used by an application running on the remote
communication path 182.                                                   unit to gain access to an individual application session. Once
  As defined herein, a distinction is made between a com                  the application session has been established over a virtual
munication session and an application session. A communi                  session, a table is used to maintain a set of parameters needed
cation session is defined as a session between nodes or com          30   to maintain the application session, even though no physical
munication endpoints, and an application session is defined as            layer connection exists between the endpoints of the virtual
a session between applications. For example, a remote unit                session. When a virtual session data structure is set up and no
may establish a communication session with a central server.              physical layer connection exists to support communication
In this case a communication session is established between               over the virtual session, the virtual session is said to be “inac
the communication endpoints, i.e., the remote unit and the           35   tive.” When a virtual session data structure is set up and a
central server. Also, an application program running on the               physical layer connection does exist to support communica
remote unit may need to establish an application session with             tion over the virtual session, the virtual session is said to be
an application program running on the central server. In Such             “active.” A transition from an active state to an inactive state
case an application session is created using a connection                 is called “deactivating a virtual session, and a transition from
stream provided and governed by the communication session.           40   an inactive state to an active state is called “activating a virtual
A table structure is used to maintain both the communication              session.” The process of transitioning from an active state to
session parameters and the application session parameters.                an inactive state is also known as "disconnecting from a
For example, a first user authentication parameter may be                 physical connection.” When this occurs, the physical layer
used to establish a communication session with the server. A              connection is no longer available to Support communication
second user authentication parameter may be used to estab            45   over the virtual session. In a preferred embodiment, a table
lish an application session with the application program. This            structure is used to maintain the virtual session parameters as
second user authentication parameter may include a user                   well as a set of parameters for each application session estab
identification parameter and a password, for example.                     lished over the virtual session. When a virtual session is
   In light of the aforesaid concepts, a “virtual session' is next        activated, there is no need to reauthenticate the individual
defined. A virtual session is preferably implemented as a            50   application sessions. This is because the table typically
communication session as defined above. A virtual session,                includes a user identification parameter, a userpassword, a set
like an OSI session, provides a set of rules for establishing             of application session parameters, a communication session
data streams between nodes or endpoints. The virtual session              identification parameter, and an encryption key for the com
also may provide other session features such as dialog con                munication session. Additional data Such as modem initiation
trol, message flow control, and end-to-end data control. A           55   parameters may be added to the table as required by the
virtual session is controlled using a data structure which                system configuration and usage.
provides a way to associate the virtual session with the lower              Referring now to FIG. 2, a block diagram illustrating a
layers of a protocol stack, leading downto a physical layer. As           system configuration 200 is shown. The system configuration
mentioned above, in most embodiments, a virtual session is                200 includes the remote unit 100 operatively coupled to a
implemented as a communication session. Application ses              60   communication interface 210. A direct wireless link 207
sions are then added onto the virtual session as connection               optionally couples the remote unit 100 to the communication
streams within the communication session.                                 interface 210. A direct wireless link is used in embodiments
   In a virtual session, a communication session may be sus               where the remote unit 100 maintains a direct wireless link
pended with some or all of the lower layers of the protocol               with the communication interface 210. The communication
stack missing. In particular, a virtual session may be main          65   interface thus provides an air interface for the direct wireless
tained while a physical layer connection has been removed.                link. Alternatively or in addition to the direct wireless link
The virtual session can then be reassociated with a physical              207, a wireline link 208 couples the remote unit 100 to the
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communication interface 210. The communication interface                 application program may itself be a communication server as
210 maintains the connection 208 via a network interface                 provided by an Internet service provider (ISP).
coupled to a public switched telephone network (PSTN) or a                 The system 200 is operative to implement a set of virtual
network such as the Internet. This connection 208 may itself             session communication protocols according to the present
involve a microwave link, a wireless link through a public          5    invention. The remote unit 100 establishes a session via the
switched cellular network or a wireless link in a PCS network.           virtual session server 215 to set up a virtual presence with the
  The communication interface 210 is preferably coupled to               application program 220. Preferably, the virtual session
a communication server 212. The communication server 212                 server 215 also provides a link to the communication server
may be thought of as generalization of a private branch                  212 to provide it access to the virtual session. When the
exchange (PBX). The communication server 212 accepts                10   remote unit 100 disconnects from a physical connection 207
tele-traffic from any variety of sources and provides switch             or 208, the virtual session is maintained within the table
able connections to couple different sources together. For               structure 225. When the remote unit 100 later wishes to rees
example, the communication server 212 may be implemented                 tablish communication with the application program 220, the
as a PBX which receives a set of direct inward dial lines from           virtual connection server 215 is operative to keep the virtual
a central office operated by the public telephone network. The      15   session active and to allow the user rapid and nearly transpar
PBX then provides local users with extensions and allows                 ent access to the application program 220. Similarly, the
local users to call each other by dialing the last four digits of        virtual session also preferably is used to provide a virtual
their telephone numbers. The PBX typically provides an out               communication link between the communication sever 212
side line to a user once the user has dialed a nine.                     and the remote unit 100. In some systems, a first virtual
  The communication server 212 may also be configured to                 session is established between the remote unit 100 and the
provide additional types of connections. Such as packet based            application program 220, and a second virtual session is
Voice and video connections according to the H.323 interna               established between the remote unit 100 and the communi
tional standard. In such an embodiment, the communication                cation server 212. The details of the operation of the virtual
server 212 provides a gateway function passing calls between             session server 215 and the virtual session protocols are dis
the public switched telephone network and a network such as         25   cussed below in connection FIGS. 3-8. Before proceeding to
the Internet. The communication server 212 may also provide              these portions of the detailed description, two embodiments
other communications services such as Voice mail, email,                 of the system 200 are described.
fax-mail, call distribution and the like. In systems involving              In a first exemplary embodiment of the system 200, a
Internet telephony, the communication server may operate                 mobile worker Such as a home-care professional operates the
only using packet protocols and not include an interface for        30   remote unit 100 to establish and maintain a virtual session
circuit Switched connections.                                            with the application program 220. In one embodiment, the
  The communication interface 210 is also coupled to a                   application program 220 controls access to a database includ
virtual session server 215. The virtual session server 215 is            ing complete medical and billing records for individual
coupled to a table structure 225 and an application program              patients. Depending on working conditions, the home-care
220. The table structure 225 is preferably implemented as a         35   professional may require access from a wireless connection
Software entity and may be located in a memory module                    Such as a cellular connection, or else may be able to commu
within the server 215. The virtual session server 215 may be             nicate via a wireline connection provided within a patients
implemented as a software entity which executes on a hard                home. As the home care professional proceeds through a
ware platform. The hardware platform of the virtual session              given workflow, the professional will eventually need to com
server 215 may be designed with an internal architecture            40   municate with the application program 220. When this time
similar to the remote unit 100 but is designed to provide a              arrives, the present invention is operative to establish a physi
higher computation capacity and to handle multiple users.                cal connection between the home-care professional and the
When Supporting a virtual session server, the display monitor            application program 220. The professional need not be aware
130 is optional as users may control the virtual session server          the physical connection has not been available since the time
215 remotely. The control program module 120, when imple            45   the virtual session was first established. The virtual session is
mented in the virtual session server 215 provides the server             maintained by the virtual session server 215 and the protocols
side of the communication protocols discussed in connection              of the present invention are employed to ensure such a virtual
with FIGS. 3-8. Hence the remote unit 100 and the virtual                connectivity is provided without the need for the remote unit
session server 215 involve similar architectures and respec              100 to be continuously connected to the application program
tively implement the client and serversides of a set of virtual     50   220.
session-related communication protocols of the present                      In a second exemplary embodiment, the application pro
invention.                                                               gram 220 is a communication server operated by an ISP. In
   The application program 220 may execute on the same                   this example, the remote unit 100 is operated by an Internet
hardware platform as the virtual session server 215. In gen              user. After the Internet user has remained inactive for a period
eral, both the virtual session server 215 and the application       55   of time, the connection 208 is terminated. At a later time,
program 220 may be implemented as Software modules run                   when the Internet user clicks on a hyperlink, thus demanding
ning on personal computers, workStations, dedicated custom               service, a short delay is incurred while the connection is
hardware, mainframe, or file servers. For example, the virtual           reestablished. The remote unit is provided access without the
session server 215 may be implemented as a software module               user needing to reestablish a connection. When the user clicks
running on an UltaSparcTM. workstation or file server from          60   on a hyperlink, the telephone is rapidly dialed without pre
Sun Microsystems Inc. The software may be written to                     senting dialingtones to the user. An authentication packet and
execute over a multitasking operating system such as                     a request packet are sent using a low data rate protocol such as
SolarisTM. from Sun Microsystems Inc. or WindowsNTTM.                    one used for line-rate negotiation in modems. The user is
from Micrsoft Inc. In a first preferred embodiment, the appli            authenticated by the server and the request packet is for
cation program 220 includes a distributed database program          65   warded through the Internet to the Internet site referenced by
running on a collection of networked servers such as Sun                 the hyperlink. While the remote Internet server takes time to
UltraSparcTM. servers. In a second preferred embodiment, the             respond to the request, a higher line speed is negotiated in the
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background without burdening the user. Because a home                    server oriented functions, while the client-side software pro
Internet user uses the same analog connection between the                vides a user interface to the user. The remote unit 100 can then
user's premises and a network interface, the modem param                 control the operations of the virtual session server 215 using
eters may be preferably saved by the server in the table 225 to          standard remote session Software. An example of commer
accelerate re-negotiation. The user is provided access almost            cially available remote session software is PCAnywhereTM.
immediately, and the connection is reestablished transpar                from Semantec Corporation. In another embodiment, the vir
ently. Note while this example focuses on an Internet appli              tual session server executes the client-side Software in paral
cation, the techniques apply to any application whereby a                lel with the remote unit. In still another embodiment, the
network site is accessed by activating a hyperlink.                      remote unit executes the client-side software, and the virtual
  As will be discussed below, the virtual session between the       10   session server merely provides a connection stream to pass
remote unit 100 and the virtual session server 215 provides a            data from the application program 220 to the remote unit 100.
means to initiate transfers in both an uplink and a downlink             When the virtual session is in a deactivated state, the virtual
direction. The uplink direction is from the remote unit 100 to           session server emulates the client-side Software as needed to
the virtual session server 215, and the downlink direction is            maintain an active session with the application program 220
from the virtual session server 215 to the remote unit 100. A       15   in the absence of the remote unit 100. A wide variety of
virtual session is said to exist between the remote unit and the         equivalent techniques may be used to allow the virtual session
virtual session server 215. This virtual session may be used to          server 215 to maintain a pointer or re-entry point into the
create individual virtual sessions between the remote unit 100           application 220 while acting as a proxy agent to maintain the
and the application program 220, and between the remote unit             logon for the remote unit 100. A table structure is preferably
100 and the communication server 212. For example, an                    used to allow the virtual session server to simultaneously
uplink connection is established, and when a home Internet               maintain a plurality of logons for a plurality of different
user has been inactive for a period, the connection is dropped.          remote units.
As discussed above, the connection is reactivated transpar                  In some embodiments, the remote unit 100 may need to
ently when the user once again activates an Internet link, as in         maintain a plurality of virtual sessions with a plurality of
an Internet browser. In the same example, a user may have an        25   different virtual session servers. For example, an independent
email reader program connected through a virtual session. If             contractor may provide home-care services for two distinct
an email comes in for the user and the virtual session is in             health regions. Each health region may use a separate data
place, the email should be rapidly forwarded to the user. To do          base. The remote unit 100 may then access these separate
this, the user's phone is dialed in a downlink direction dial-out        databases using a first and a second client-side application
link by the virtual session server 215 via the communication        30   Software module. During the course of a day, the remote unit
interface 210. The remote unit preferably suppresses the first           may need to activate the first or the second client-side appli
ring and examines caller identification data. When the caller            cation software modules. In such case the remote unit 100 is
identification data indicates the calling party is the virtual           operative to maintain a table structure similar to the table
session server 215, the remote unit 100 automatically picks              structure 225. The table structure maintained by the remote
up the call and in this example, accepts the email. If caller       35   unit links an application Software module through an appli
identification is not used, a substitute protocol should be              cation session to a virtual session. When the first client-side
employed to assure that connection has been made to the                  application program demands access to a first database, the
proper application session defined within the virtual session.           virtual session layer software 154 in the remote unit causes a
The substitute protocol preferably involves sending a packet             physical connection to be established to Support virtual ses
header at the beginning of a call whereby the packet header         40   sion communications 182 with the first database application
contains one or more fields which identify associated the                program. Likewise, if the second client-side application soft
application session. Again, the user need not even realize a             ware module desires to access a second database, the virtual
connection has been reestablished. Instead, the user receives            session layer software module 154 activates a physical layer
the email message as though the connection had remained                  connection back to the second database server. In other appli
continuously active.                                                45   cations a single application program may be used which
  Another type of operation may occur when the user of the               accesses information on more than one virtual session server.
remote unit 100 is actively connected to the virtual session             In Such case a single application program can select the Vir
server 215 and a call comes in directed to the remote user's             tual session to activate based on the communications request
extension. At this point the call is preferably converted into           generated from within the application program. In still other
packets and is sent to the user over the existing connection. In    50   embodiments, a single physical connection 208 or 207 may
an alternative embodiment, the physical connection is auto               be used to communicate with the communication interface
matically and temporarily dropped and the call is forwarded              210. The communication server 212 then forwards packets to
to the remote user. The virtual connection to the application is         a first local virtual session server Such as the virtual session
maintained through the virtual server. The communications                server 215. If the received communication packets are des
module 125 preferably analyzes caller-identification data to        55   tined for a second virtual session server, then the communi
determine the incoming call is a voice call to cause the                 cation server 212 preferably forwards the packets to a remote
optional telephone aspect of the remote unit 100 to ring. More           virtual session server using a network connection Such as an
details related to the foregoing system operation are dis                Internet connection.
cussed in connection with FIGS. 3-8 below.                                  Referring now to FIG. 3, a method 300 is illustrated to
  The virtual session server 215 is able to maintain an open        60   show how the remote unit 100 preferably operates to activate
logonto the application program 220. In one embodiment, the              a connection. The method 300 is preferably practiced by the
virtual session server 215 executes a client-side software               remote unit 100 in support of a virtual session with the virtual
which interfaces with the application program 220. That is, if           session server 215. A first step 305 of the method 300 involves
the application program 220 employs a client-server archi                actions within a workflow process 305. The workflow process
tecture, the application program 220 will implement a server        65   305 includes the step 305 of the method 300 and also per
side software module which interacts with the client-side                forms other activities to interact with a user's workflow
software. The server-side program performs database or other             requirements. Control loops from the first step 305back to the
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first step 305 via a control path 310. The workflow, as dis             may be established over the wireless link 207. One preferred
cussed above, is preferably made up of a menu system and/or             embodiment of a remote unit 100 incorporates a cellular
a set of interactive screens traversed by a worker in perform           radio. In this case the dialer dials a telephone number and a
ing a set of tasks. For example, a home-care professionals              connection is established using a public Switched cellular
workflow involves accessing and displaying a patient’s medi             telephone network so that the connection is set up on the link
cal record, entering a set of data into the medical record, and         208. Stationary Internet based embodiments perform the sec
performing tasks indicated by the doctor's directions as anno           ond step 320 by dialing a telephone number using an auto
tated in the medical record. In this example, as the home-care          matic dialer which dials a land line connection for a modem.
professional moves from one screen to the next, control loops           In all cases, it is preferred to Suppress the dialing tones and
via the control path 310. The workflow process 305 is an           10   line-rate negotiation signals so the connection may be estab
application program which executes on the CPU 105. The                  lished transparently to the user.
workflow process 305 is preferably implemented as a process                Control next passes from the second step 320 to a third step
running on the CPU 105 in a multitasking operating environ              325. In the step 325, an authentication code is transmitted
ment. A multitasking operating environment is one in which              from the remote unit 100 to the communication interface 210.
multiple programs or processes may execute in parallel by          15   This authentication code is then passed to the virtual session
sharing time slots within the CPU 105. Multitasking operat              server 215. The virtual session server evaluates the authenti
ing system software is well known and is readily available. In          cation code to determine if access is to be permitted. In a
a multitasking-programming environment a first process may              preferred embodiment, the authentication code involves a
execute in a normal fashion and provide an interface to a user.         digital signature as is known in the field of public key cryp
At the same time a second process may be executed by shar               tography. In a preferred embodiment, all transmissions are
ing CPU cycles without the user's intervention or knowledge.            encrypted using public key cryptography. Some systems may
In Such a case the second process is said to be a background            be implemented using various encryption standards Such as
process or is said to perform background processing. At some            secure Sockets layer based encryption. The amount of authen
point in the course of the workflow, a physical layer commu             tication and encryption used in any given embodiment is left
nication connection will be needed to communicate informa          25   to the system designer, but preferably all transactions are
tion between the remote 100 and the application program 220.            encrypted as described above.
   When a step in the workflow process 305 is performed                    Control next passes from the third step 325 to a fourth step
leading up to the need for a physical layer communication               330. In the fourth step 330, a session is established/reacti
connection, control next passes from the first step 305 to a            vated with the virtual session server 215. The session is estab
second step 320 via the control path.315. The control path.315     30   lished the first time the method 300 passes control to the step
is activated when the workflow process 305 provides a pre               330. Subsequently the step 330 is operative to reactivate the
diction indicating a physical layer communication connec                session with the virtual session server. When the session
tion will Subsequently be needed. In some cases the predic              between the remote unit 100 and the virtual session server 220
tion may be provided right when the physical layer                      is reactivated, virtual session communications resume. At this
communication connection is needed. In other cases, the pre        35   point, the virtual session server 215 correlates information
diction 315 may be used to initiate background processing to            stored in the table structure 225 with the connection and
download data which will not be needed until a later time. In           provides the remote unit 100 access to the application pro
menu based systems, the prediction 315 may be learned by                gram 220. If no data is stored in table structure 225, access is
observing the workflow habits of a user. The prediction 315 is          provided to a default logon screen allowing remote unit 100 to
a function of the application program or workflow 305 and is       40   establish a new application session. The virtual session server
optional. In the second step 320, a connection is established in        215 then populates the table structure 225 to establish a vir
the background. Background processing enables the user to               tual session. The step 330 involves setting up a stream con
continue interacting with the workflow process 305 while a              nection between the workflow process 305 and a protocol
physical layer communication connection is simultaneously               stack. The protocol stack is operative to read information bits
and transparently established. That is, the physical layer com     45   from the stream connection and communicate the bits across
munication path is reestablished without inhibiting the user            an external communication link. Bits received over the exter
from interacting with the workflow 305. Hence when control              nal communication link are converted by the protocol stack
passes via the control path 315 to the step 320, control pref           into information bits to be sent back to the workflow process
erably simultaneously passes via the control path 317 back              305 across the connection stream. Once the appropriate com
into the workflow. The background process is preferably            50   munication processes are configured, control next passes
forked as a separate task and two execution flows proceed in            back to the workflow process 305. Due to the aforementioned
parallel by time sharing the CPU 105. Multitasking is well              forking operation, the passing of control back to the workflow
known in the art and is implemented using interrupt based               process 305 may have already occurred via the control path
processing. In alternative embodiments the control path 317             317. In this case the passing of control from the step 330 to the
may be deleted and a single control flow may be implemented        55   workflow process is not explicitly performed.
using the control path 315. However, this embodiment may                   When control loops back from the fourth step 330 to the
require the user to wait for the connection to be established           workflow process 305, a physical layer communication con
and is hence not deemed to be the preferred embodiment of               nection is activated for current or Subsequent communication.
the method. Other equivalent embodiments set up the com                 When the user gets to a point in the workflow where commu
munication path transparently by multiplexing the CPU 105’s        60   nication with the application program 220 is needed, the
computation cycles from within the workflow process or                  connection has already been transparently set up in the back
Some other process.                                                     ground. Hence the user gets the feel of being connected to the
   Once control has been forked via the control path315 to the          application program 220 all the time, where in fact the remote
second step 320, a dialer within the communications module              100 is connected via a physical channel to the application
125 preferably dials to establish a physical layer communi         65   program 220 only a fraction of the time. This virtual connec
cation connection with the communication interface 210. In              tion saves communication resources and money whenatoll is
embodiments using dedicated radio links, the connection                 charged based on the amount of usage on the link 207 or the
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link 208. In some embodiments, the fourth step 330, or an               prior art solution by allowing the user to gain almost imme
execution thread within the workflow 305 is operative to                diate access without a significant delay.
upload or download information in the background. This way                 In a first step 405, a protocol stack or other process prac
the user has ready access to data contained in the application          ticing the method 400 receives a communications request
program 220, but in generala shorter connect time is required.     5    from a user program. For example, this occurs when a user
While with prior art systems it is burdensome for a user to             clicks on an icon to initiate the establishment of an Internet
connect to a central server and download and upload infor               connection. Control next passes to a step 410 where the con
mation, with the virtual session of the present invention the           nection is initiated. This step typically involves an automatic
user need not even be aware this process is occurring. Rather           dialer dialing the number of an Internet service provider
the user feels as though he or she is continuously connected       10   (ISP). The ISP software may be implemented as a communi
with a fast connection because the data needed at a givenpoint          cation server application corresponding to the application
in the workflow is already available locally or has been                program 220. In this case access to the application program is
uploaded in the background transparently without user inter             governed by the virtual session server 215.
                                                                           Control next passes from the second step 410 to a third step
vention. In systems where server synchronization is an issue,      15   415. In the third step 415 an authorization sequence is
file semaphores and/or direct active sessions not employing             exchanged. In a preferred embodiment public key cryptogra
uploading and/or downloading of records may be used.                    phy involving digital signatures and keys is used. Embodi
   Based on another point in the workflow, another prediction           ments involving a virtual session server 215 either set up a
is made to predict when the communication channel will not              session or activate an existing session during the third step
be needed for some time. For example, it may be known,                  415. Control next passes from the third step 415 to a fourth
based on the workflow, the home-care professional will next             step 420. In the fourth step 420, one or more initial application
perform a sequence of tests and enter data into a screen                layer data packets are transmitted across the connection using
displayed on the remote unit. Only at a later time will the             a low speed protocol. A low speed protocol is used by the
workflow come to a point where this information is to be                transmitter and receiver when performing line-rate negotia
uploaded to the application program 220. When such a pre           25   tions. For more details of line-rate negotiation protocols, see,
diction is made, control passes from the first step 305 via the         for example, the V.34 and V.90 standards from the Interna
control path 318 to a fifth step 335. The fifth step 335 is             tional Telecommunications Union. In the present invention,
operative to deactivate the connection established over the             the low speed protocol is used to transmit application layer
link 207 or the link 208. The step 335 may optionally involve           data before the line-rate negotiation procedures have com
forking a separate execution thread or otherwise accessing a       30   pleted. This avoids the need for the user to wait for line-rate
separate process in a multitasking environment. Alterna                 negotiation to complete before being able to access a com
tively, the fifth step 335 may be performed by executing a set          munication path.
of instructions in the workflow process 305. At a later time, a            Control next passes from the fourth step 420 to a fifth step
prediction may be made indicating the link 207 or 208 needs             425. In the fifth step 425, initial data is displayed. Software
to once again be activated, whereby control again passes over      35   located locally in the remote unit 100 preferably contains
to the second step 320 via the control path 315. It should be           high-volume graphics related data so that the initial data
noted different systems will typically set their prediction             exchange of the step 420 only requires a small amount of data
times according to the economic conditions involved. For                to be transferred. For example, the user logs onto the Internet
example, in Some systems the first minute of connection time            and almost immediately sees a screen of information indicat
may cost five times as much as all Subsequent minutes. In this     40   ing the user is connected and the system is ready to accept
case predictions would be preferably set according to a crite           inputs. This is made possible by displaying locally held
rion to minimize cost by not establishing and terminating               screens of graphical data and allowing a small amount of
connections more often than necessary. If a flat rate were              specific information Such as time, date, and headlines to be
charged per minute connections would be set-up and termi                received and displayed. If the user then immediately clicks on
nated more often. If automatic uploading and downloading is        45   a link, an application layer request packet is sent using the
performed in the background, a very efficient use of air-time           line-rate negotiation protocols data format. This allows the
can often be achieved while presenting the user with the                user to immediately begin making requests before the line
appearance of being continuously connected to the applica               rate negotiations have completed. In many cases the user will
tion program 220.                                                       pause and read the headline information, giving the system
   Referring now to FIG. 4, a method 400 of establishing a         50   even more time to perform line-rate negotiation in the back
communication link with low delay is illustrated. The method            ground.
400 may be practiced by both the remote unit 100 and the                   Control next passes from the fifth step 425 to a sixth step
communication interface 210. This method is most applicable             430. In the sixth step 430, a background process is forked to
to systems involving modems whereby digital data is trans               perform line-rate negotiation. Line-rate negotiation is
ferred over an analog channel requiring receiver training.         55   allowed to proceed in the background while the user is read
Receiver training involves transmitting data sequences                  ing the information provided on the initial display of the step
through a channel and allowing a receiver to adjust its receiver        425. Likewise, if the user had rapidly clicked on a link, a
parameters. Receiver parameters include echo canceller and              request packet is sent out and while the server is responding to
equalizer filter coefficients. Most systems also adjust their           the request, the background line-rate negotiation may pro
data rates and signal constellations based on observed condi       60   ceed. The step 430 is operative to perform line-rate negotia
tions. In modems, this entire process is known as line-rate             tion so as to set up a high-speed connection for Subsequent
negotiation. Prior art systems involving receiver training are          higher Volume data transfers. In embodiments involving a
tedious to use because they force the user to wait while the            virtual session server 215, the user's line speed parameters
receiver is trained. Most systems play the training signals             may be stored in the table structure 225. For example, if the
though a speaker to allow the user to hear the training process.   65   user is an Internet user and the application program 220 is an
This lets the user know what the computer is doing for the              ISP, the user will often dial in from the same location. Thus
duration of the delay. The method 400 improves upon this                parameters derived in a previous activation of a communica
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tion channel will be either identical or similar to those used in        user identification and a password as presented to the appli
a current activation. Hence the sixth step 430 optionally                cation program 220. For example, a user name and a pass
involves accessing from the table 225 a set of starting param            word may be used as user authentication parameters. Prefer
eters derived from the activation of the communication chan              ably public key encryption is used to encrypt all information
nel. If communication is needed before the line-rate negotia             so the password sent from the remote unit 100 to the appli
tion has completed, communication preferably proceeds at                 cation program 220 cannot be effectively intercepted. The
the highest rate negotiated up to that point.                            remote unit 100 also preferably sets up a virtual session data
   Once the line-rate negotiation process of the step 430 has            structure to hold similar information related to the virtual
completed, control passes to a seventh step 435. In the step             session. Once the virtual session has been set up, the remote
435, communication is able to proceed at full speed. In most        10   unit 100 may access the application program 220. Also, the
cases where this method is implemented, the user will get the            remote unit 100 may optionally access the communication
full benefit of being connected almost immediately without               server 212 for communication services.
the normal delay associated with prior art systems. This is so              Control next passes from the second step 510 to a third step
because initial low-volume data is allowed to pass through the           515. In the third step 515, the physical connection established
channel before the line-rate negotiation has completed. Line        15   in the first step 505 is dropped. Meanwhile the virtual session
rate negotiation then proceeds in the background in parallel             data structures and table entries established in the second step
with other activities such as the user reading headline infor            510 are retained. The session is allowed to proceed while no
mation or a distant server accessing data and responding to              physical layer connection exists. That is, the step 510 is
the initial data request packet sent across the Internet. This           operative to set up a table structure including one or more data
technique is useful when a user is maintaining a virtual ses             structures which allows a virtual session to be maintained in
sion with a remote server because it is imperative to allow the          memory while other activities occur. Hence a passive back
user to appear to be connected without having to experience              ground thread of execution passes from the step 510 to a
delays when accessing data. The method 300 and the method                passive step 540 whereby the virtual session is maintained.
400 may be performed together in a complementary fashion                 This allows the remote unit 100 to stand by or be used for
to make the virtual session appear to be constantly available.      25   steps of the workflow process 305 not requiring communica
   The method 400 may be practiced by the remote unit 100                tion with the application program 220. Once the user needs to
and the virtual session server 215. When the remote unit 100             communicate with the application program 220, or when a
initiates the method, the virtual session server 215 executes            prediction 315 is made, control next passes from the third step
steps 410, 415, 420, 430 and 435. When the virtual session               515 to a fourth step 520. The step 520 is operative to reestab
server 215, the application program 220, or the communica           30   lish a second physical layer communication connection to
tion server 212 initiates the method, one or a combination of            allow communication to proceed once again using the session
these servers practice the steps 405, 410, 415, 420, 430, and            established in the second step 510. This connection reestab
435. The first step 405 involves, for example, receiving a               lishment may be performed in response to the prediction 315
communication request such as a telephony call or an email               and may use the low-delay connection establishment tech
for the remote unit 100. In some systems, the first step 405        35   nique of the method 400.
may involve a request generated from within the application                 In some embodiments, the present invention involves using
program 220.                                                             distinct and separate communications media to perform the
  Referring now to FIG. 5, a method 500 of establishing and              step 505 and the step 520. For example, a mobile worker may
operating a virtual session is illustrated. For example, the             call in from home to set up the virtual session in the step 510
method 500 establishes a virtual session between the remote         40   using the first physical layer communication connection
unit 100 and the virtual session server 215. The method 500 is           established in the step 505. Later in the day, the worker may
practiced by both the remote unit 100 and the virtual session            call in from a restaurant while catching up on Some records
server 215. In a first step 505 a first physical layer communi           keeping. This second use of the virtual session involves use of
cation connection is established with a remote entity. If the            the second physical layer communication connection which
method is practiced by the remote unit 100, then the remote         45   in this example is a wireless connection different from the
entity typically corresponds to the virtual session server 215.          landline connection used to initiate the session from home
The virtual session may be used to Support virtual Sub-ses               earlier in the day. At a still later time, the worker may call in
sions between the remote unit 100 and the application pro                from a patient’s home via a third physical layer communica
gram 220. Also, a virtual sub-session may be established                 tion connection while performing home-care services. If
between the remote unit 100 and the communication server            50   modem starting parameters have been stored in table 225,
212. For the purposes of discussion herein, all of these virtual         they are preferably updated whenever the communication
sessions will be referred to simply as virtual sessions. If the          connection is changed. Hence the virtual session of the
method 500 is practiced by the virtual session server 215, then          present invention enables a mobile worker to continue com
the remote entity typically corresponds to the remote unit.              munications via the most expedient and/or economical means
The step 505 may be activated according to the prediction           55   without causing the user to have to reestablish a communica
315, and the step 505 may use the method 400 to allow the                tion connection. Preferably, when the remote unit 100 is
connection to be set up with very low delay.                             connected to a communications source via the connector 127.
   Control next passes from the first step 505 to a second step          the remote unit 100 automatically detects this connectivity
510. In the second step 510 a session is established with the            and makes use of it for Subsequent virtual-session communi
remote entity. In a preferred embodiment, this involves             60   cations. That is, the present invention contemplates the avail
exchanging password information and agreeing upon a set of               ability of various forms of “pigtail connectors being avail
keys to encrypt data transacted in the session. Also, the virtual        able so the remote unit 100 can operate in a “plug-and-play”
session server 215 preferably sets up a table entry in the table         fashion. Pigtails may be supplied to allow the remote unit to
structure 225. The table entry indicates the presence of a               connect to the PSTN, the Internet, or to another computer via
virtual session. The table entry may include modem param            65   a universal serial bus, for example.
eters as discussed in connection with FIG. 4. Also, the virtual             Control next passes from the fourth step 520 to a fifth step
session as set up in the table entry links the remote unit to a          525. In the fifth step 525 an authorization sequence is
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exchanged. This is preferably implemented using public key               phone call is being set-up. More details relating to commu
encryption and digital signatures. Some embodiments may be               nications initiated by the virtual session server 215 back to the
developed which do not implement the fifth step 525, but                 remote unit 100 are discussed in connection with FIG. 7.
preferred embodiments do make use of user authentication.                   Once the second physical layer communication connection
After the fifth step 525 has completed, the session is resumed           is established in the sixth step 630, possibly according to the
in a sixth step 530. Over the course of the virtual session,             method 400, control next passes to a seventh step 635. In the
control may loop back to the third step 515 as many times as             seventh step 635, authorization codes are verified similarly to
the virtual session is activated with a new physical connec              the second step 610. Once the user codes have been verified to
tion. When the sixth step 530 is entered, the virtual session is         be correct, control next passes to an eighth step 640 whereby
once again activated so that the passive step 540 also passes       10   communication once again resumes using the previously
control to the sixth step 530. In a minimal implementation of            established virtual session.
the method, no looping occurs and the method terminates                    Referring now to FIG. 7, a method 700 of processing
after the first pass through the sixth step 530.                         communication requests in a virtual session is illustrated.
   Referring now to FIG. 6, a method 600 practiced by the                This method is preferably practiced by the virtual session
virtual session server 210 is illustrated. In a first step 605, a   15   server 215 simultaneously with the method 600. In a first step
first physical layer communication connection is established             705 a virtual session is established between the virtual session
for communicating with the remote unit 100. Control next                 server 215 and the remote unit 100 as discussed in connection
passes to a second step 610 whereby a set of authorization               with FIGS. 5 and 6. At some later time, while the virtual
parameters are accepted and authenticated. As discussed in               session is active, the communication server 212 receives an
connection with FIG. 5, the authentication parameters pref               incoming communication request for the remote unit 100.
erably include the exchange of public keys which include a               Because the virtual session server 215 practices the method
digital signature in accordance with public key cryptography.            500 and/or the method 600, depending on the time of arrival
Control next passes to a third step 615 where a user identifi            of the communication, the remote unit 100 may or may not be
cation and a password are passed by the virtual session server           physically connected to the virtual session server 215 by a
215 to the application program 220 on behalf of the remote          25   physical communication link. Hence when the communica
unit 100. As discussed in connection with FIG. 5, the user               tion is received, control passes from the step 705 based on a
identification and the password to be presented to the appli             decision 710 which determines whether a physical connec
cation program 220 are preferably transmitted in encrypted               tion currently exists to the remote unit 100.
form. Once the application program 220 authenticates the                    If the virtual session is presently in a state whereby the
user identification and password needed to gain access, the         30   physical connection has been disconnected, control passes
virtual session server 215 enters an entry into the table struc          from the first step 705 to a second step 715. In the second step
ture 225 to hold a set of session parameters. The session                715 the communication request is accepted by the communi
parameters include the user identification, a sessionidentifier,         cation server 212 through a direct connection or via the com
encryption data and possibly other data Such as modem start              munication interface 210. Control next passes to a third and
ing parameters. Once the session has been logged into the           35   optional step 720 whereby a specific caller identification
table, the user may use it to communicate with the application           packet is associated with the communication type. For
program 220.                                                             example, if the communication involves a telephone call a
   Control next passes from the fourth step 620 to a fifth step          first caller identification packet is sent identifying an exten
625. In the fifth step 625 the physical layer connection is              sion used for telephone calls. If the communication involves
dropped. This step is performed when the remote unit does           40   an email, a second caller identification packet is sent identi
not currently require communications with the application                fying an extension used for email. On the other hand, if the
program 220. In step 650 the virtual server maintains the                communication comes from the application program 220,
application session while the physical connection is discon              still another caller identification packet is sent. When this
nected. At a later time, when the user needs access to the               optional use of a caller identification packet is employed, the
application program or when the prediction 315 is made,             45   remote unit 100 has the information needed to properly and
control next passes to a sixth step 630. In the sixth step 630 a         immediately respond to an incoming call as discussed in
second physical layer connection is established to allow com             connection with FIG.8. If a call is received by the remote unit
munication between the remote unit 100 and the application               from a source other than the virtual connection server 215, the
220 to resume. As discussed in connection with FIG. 5, the               caller identification information will identify the call as not
second physical layer connection may involve a different            50   being associated with the virtual session. Control next passes
communication path and/or medium as was used for the first               to a fourth step 725 whereby an automatic dialer responds to
physical layer connection. That is, a plurality of communica             communication requests and the communication is for
tions media are preferably supported to allow the user to call           warded to the remote unit 100.
in via different means, for example via a wireless or a wireline           Another situation arises when the communication request
connection. The step 630 may be initiated due to actions at the     55   arrives while the remote unit 100 and the virtual session
remote unit 100 or in response to events occurring in the                server 215 are currently connected by an existing physical
server. For example, the communication server 212 may                    channel. According to one mode of processing, control stays
receive a call for the remote unit. Alternatively an email may           in the first step 705 while communication proceeds in an
be received which needs to be forwarded to the remote unit. In           active phase of a virtual session. When the communication
Such a case, the sixth step 630 optionally involves sending a       60   request arrives, the communication server 212 signals to the
caller identification packet to let the remote unit know what            virtual session server that a new call has arrived for the remote
type of communication, such as a voice telephony call, an                unit 100. The virtual session server then causes the existing
email, or a fax, is inbound. A caller identification packet is a         physical layer communication connection to be dropped and
sequence of information bits sent across a communication                 thus control passes from the first step 705 to the second step
connection identifying the calling party of the connection. In      65   715 as in the foregoing discussion. In another mode of pro
standard telephone systems, the caller identification packet is          cessing, the existing physical layer communication connec
transmitted between the first and second rings when the tele             tion is left in tact and control passes from the first step 705 to
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a fifth step 745. In the fifth step 745, the communication is                call. For example, different caller identification packets indi
packetized, and in a sixth step 750 the communication pack                   cate whether the incoming call is an email, a voice telephone
ets are passed along the existing physical layer communica                   call, or a communication from the application program 220.
tion connection. Control continues to loop back from the sixth                  Control next passes from the second step 810 to a third step
step 750 to the fifth step 745 during the course of the com                  815. In the third step 815, an application layer program is
munication. In this mode of operation the existing physical                  selected to process the incoming call. In the foregoing
layer communication connection is shared to provide the                      examples, an application may be launched to accept an email
remote user with a means to stay connected to the application                message, a voice telephone call, or to accept a communication
program 220 and communicate at the same time. In this case                   from the application program 220. If the communication is an
the physical layer is time shared by the virtual session to allow       10   email, it may be desirable to pop a mailbox icon on the screen
multiple modes of communications to proceed in parallel.                     or to produce a speech signal stating "you've got mail. If the
   Note the method 700 provides the user of the remote unit                  incoming call is a voice call, it may be desirable to allow the
100 with a virtual presence in the work place while actually                 telephone to ring like a normal telephone. If the communica
being remote. Independent of whether the remote unit is                      tion is from the application program 220, it may be desirable
presently actively connected to the virtual session server, the         15   to update data located in the screens of the workflow or
communication request may be forwarded to the remote unit                    otherwise signal the presence of new data. Once the appro
100 making the remote user appear to be present in the office                priate application has been launched to handle the incoming
at all times. The only time the remote unit 100 would not be                 communication, control next passes to a fourth step 820
reachable is when it is engaged in a communication with an                   whereby communication session is reactivated and the com
entity other than the virtual connection server. This problem                munication is processed. For example, one or more packets of
may be mitigated by allowing the remote unit to only be                      information may be received and related information Such as
reachable through the access number provided by the com                      an email message may be displayed. Also, a telephone call
munication server 212. If a call is placed from the remote unit              may be allowed to proceed or a set of information may be
to another point, this call too may be routed through the                    downloaded from the application program 220.
communication server 212. Systems which do allow the                    25      Although the present invention has been described with
remote unit to make calls outside the virtual session may                    reference to specific embodiments, other embodiments may
preferably employ voice mail at the communication server                     occur to those skilled in the art without deviating from the
212. When the remote unit again becomes available, the vir                   intended scope. For example, otherforms of communications
tual session server 215 may forward the communication to the                 Such as fax messages may be accepted and displayed by the
remote unit according to the method 700. Remote units may               30   remote unit 100. Also, the present invention may be used for
also be designed using call-waiting concepts whereby the                     applications other than mobile workers and Internet users.
virtual session may be re-activated by interrupting another                  Virtual sessions according to the present invention are appli
call.                                                                        cable to any situation where a continual connectivity is
  Referring now to FIG. 8, an optional method 800 practiced                  required but the cost to remain continuously connected is
by the remote unit 100 is illustrated. This method is practiced         35   high. Vehicle computers with cellular radio based Internet
when a virtual session exists, the remote unit and the virtual               connections are an example. In Such systems, the remote unit
session server are presently not connected via a physical                    100 may be a vehicle-mounted computer or may include a
channel, and a communication request is to be forwarded to                   connection to a vehicle-mounted computer. Also, virtual ses
the remote unit 100. In a first step a first ring signal is detected.        sions according to the present invention are applicable to any
Optionally, the first ring signal is suppressed so the user will        40   situation where the user should not be burdened with the need
not hear it. In some systems a vibrational first ring signal may             to upload and/or download data and go through connection
be allowed to pass through to notify the user of an incoming                 and disconnection procedures. Therefore, it is to be under
communication. In still other embodiments, the remote unit                   stood that the invention herein encompasses all Such embodi
may be programmed to Sound a normal ring on the first ring                   ments which do not depart from the spirit and scope of the
signal. In some embodiments the ring signal will not be a               45   invention as defined in the appended claims.
traditional telephone ring signal but will in general be any                    In an embodiment, a remote unit is provided, the remote
signal indicative of an incoming communication request.                      unit comprising a central processing unit operatively coupled
   In current systems, a caller identification packet is pre                 to a bus; a memory operatively coupled to the bus; a display
sented to the called party after the first ring signal. Hence                monitor operatively coupled to the bus; a communications
identification of the calling party becomes available at this           50   module operatively coupled to the bus; a control program
time. After the first ring signal, control passes from the first             module controllably coupled to the central processing unit
step 805 to a second step 810. In the second step 810, the                   and operative to cause the central processing unit to display a
caller identification information is evaluated. Note it would                user interface to a user via the display monitor, the control
be preferable to accept the caller identification data before the            program further being operative to cause the processor to
first ring, and the present invention contemplates systems              55   establish a first virtual session with a first remote entity using
whereby the virtual session server 215 signals to the PSTN to                a first physical communication connection is provided.
provide a caller identification packet before the first ring. This              In another embodiment, the first remote entity is a commu
service does not appear to be available from telephone service               nication interface coupled to a virtual session server, the
providers at this time. Embodiments also comprehended by                     virtual session server providing access to an application pro
the present invention include systems whereby the remote                60   gram via the virtual session. The remote unit may further
unit 100 immediately picks up an incoming call and caller                    comprise a table structure, the table structure comprising a
identification information is sent by the virtual connection                 plurality of data structures, the plurality of data structures
server 215 over the connection identifying the call-type. Dur                comprising a first data structure and a second data structure,
ing the second step 810, the caller identification packet is                 the first data structure comprising information relating to the
evaluated. As discussed in connection with the third step 720           65   first virtual session, and the second data structure comprising
of the method 700, the virtual session server 215 sends out a                information relating to a second virtual session with a second
caller identification packet to identify the type of incoming                remote entity; wherein the control program module is opera
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                                 25                                                                      26
tive to selectively reactivate one of the first virtual session and           In another embodiment, the control program module is
the second virtual session in response to a communication                  further operative to accept from the remote unita user authen
request from the user. Alternatively, the remote unit may                  tication parameter when the physical layer connection tran
further comprise a table structure, the table structure com                sitions from the disconnected State to the connected State, and
prising a plurality of data structures, the plurality of data              provide a communication path for whereby the remote unit is
structures comprising a first data structure and a second data             able to access the application program using the application
structure, the first data structure comprising information                 session.
relating to the first virtual session, and the second data struc             In another embodiment, the virtual session server further
ture comprising information relating to a second virtual ses               comprises a third coupling to a communication server,
sion with a second remote entity; wherein the control pro             10
                                                                           whereby the control program module is further operative to
gram module is operative to selectively reactivate one of the              accept a communication request from the communication
first virtual session and the second virtual session in response           server to be forwarded to the remote unit, and if a physical
to a communication request received via the communications                 layer communication connection is present, the control pro
module.
   In another embodiment, the first remote entity is a commu          15   gram further operative to activate a second application ses
nication interface coupled to a virtual session server, and the            Sion, the second application session between the remote unit
remote unit maintains a virtual presence with the virtual ses              and a communication program responsible for the communi
sion server by communicating using any of a plurality of                   cation request. The control program may issue a signal indi
communication types via the virtual session. The plurality of              cating to convert a media stream related to the communica
communication types may include Voice telephony and                        tion request into a packet stream to be routed via the second
email.                                                                     application session. Upon reception of the communication
   In yet another embodiment, the control program is further               request, if no physical communication connection is pres
operative to disconnect from the first physical communica                  ently active, the control program may be further operative to
tion connection, present a workflow to the user and predict,               process the communication request by dialing out to establish
based upon the workflow, when external communication will             25   an active physical connection and to then activate a second
be required, the control program further being operative to                application session, the second application session between
cause a second physical communication connection to be                     the remote unit and a communication program responsible for
established based upon the prediction, the second physical                 the communication request.
communication connection providing a physical layer con                       In another embodiment, activation of the physical layer
nection for the virtual session. The control program may be           30   communication connection, application layer data is trans
further operative to predict, based upon the workflow, when                mitted via the physical layer communication connection prior
information is to be uploaded and/or downloaded to and/or                  to the completion of a line-rate negotiation associated with
from the first remote entity, and to cause the information to be           the physical layer communication connection.
uploaded and/or downloaded in the background using the                        In another embodiment, different connections of the physi
second physical communication connection. The second                  35   cal layer communication connection use distinct communi
physical communication connection may be established                       cations media.
transparently without inhibiting the user interface from Sup                  In another embodiment of the present invention, a client
porting the workflow. The user interface may implement a                   server system is provided, the client-server system compris
workflow by presenting a sequence of interactive screens on                ing a remote unit comprising a control program module, the
the display monitor.                                                  40   remote unit operative to maintain a virtual session; a virtual
   In yet another embodiment, the control program is further               session server, the virtual session server operatively coupled
operative to drop the first physical connection, cause a second            to a communication interface via a first coupling, the com
physical communication path to be established, and commu                   munication interface coupled to the remote unit by at least one
nicate application layer data via the virtual session using the            communication link, the communication interface providing
second physical connection before a line-rate negotiation             45   a data stream including information received from the com
associated with the second physical connection has com                     munication link, the virtual session server operatively
pleted.                                                                    coupled to an application program via a second coupling; a
   In another embodiment of the present invention, a virtual               table structure, the table structure including a link to a data
session server is provided, the virtual session server compris             structure, the data structure including a plurality of bits
ing a first coupling to a communication interface the first           50   arranged to represent information relating to an communica
coupling providing access to a physical layer connection to a              tion session between the remote unit and the virtual session
remote unit; a table structure, the table structure operatively            server; and a control program module controllably coupled to
coupled to receive information from the first coupling, the                the virtual session server, the table structure and the applica
table structure storing parameters relating a communication                tion program, the control program module operative to cause
session; a second coupling to an application program, the             55   the virtual session server to establish an application session
second coupling comprising a communication path whose                      for use between the virtual session server and the application
access requires a user authentication parameter; and a control             program, store an application session parameter in the data
program module controllably coupled to the first coupling,                 structure and to link the data structure into the table structure,
the table structure, and the second coupling, the control pro              and maintain the application session in both the presence and
gram module operative to establish an application session for         60   absence of the physical layer communication connection,
use between the remote unit and the application program,                   Such that the application session is continuously activated
store a parameter relating to the application session in the               when the physical layer communication pathis in a connected
table structure, and maintain the application session in both              state and a disconnected State.
the presence and absence of the physical layer communica                      In another embodiment, the control program module is
tion connection, Such that the application session is continu         65   further operative to cause the virtual session server to execute
ously activated both when the physical layer communication                 a client-side application software module on the virtual server
path is in a connected State and a disconnected State.                     under remote control of the remote unit.
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   In another embodiment, the control program module is                     In another embodiment, the step of using further comprises
further operative to cause the virtual session server to execute         the steps of accepting a user authentication parameter and
a client-side application Software module on the virtual ses             passing the parameter to an application program to establish
sion server in parallel with the remote unit; and maintain a             an application session; and linking into a table structure a data
presence with the application program while the physical                 structure associating the remote unit with the application
layer communication path is in the disconnected State.                   session, the data structure thereby providing an access by the
   In another embodiment, the control program module is                  remote unit to the application program upon reactivation of
                                                                         the communication session.
further operative to cause the virtual session server to main
tain a communication path and grant the remote unit access to              In another embodiment, the first and second connections
the application program via the communication path after the        10   involve distinct communications media. The set of param
physical layer has been placed into the connected State.                 eters may be stored in a table, and the table may hold a
   In another embodiment, the control program module is                  plurality of such sets of parameters and maintains a plurality
further operative to cause the virtual session server to grant           of communication sessions with a plurality of remote entities.
                                                                         The method may further comprise the steps of converting a
the remote unit access to the application program via the           15   communications media stream to a packet stream and multi
communication path only after a virtual session authentica               plexing the packet stream via the application session over the
tion procedure has been Successfully completed.                          communication session. Alternatively, the method may fur
   In another embodiment of the present invention, a method              ther comprise the steps of disconnecting from the second
of accessing a central server from a remote unit is provided,            connection while maintaining the communication session;
the method comprising the steps of presenting a workflow to              initiating the establishment of a third connection; and pro
a user via a user interface; predicting, based upon the work             cessing the communication request by forwarding a commu
flow, when the user will require connectivity to the central             nications media stream via the communication session using
server; and based upon the prediction and in the background,             the third communication connection.
initiating the establishment of a physical layer communica                  In another embodiment, the method further comprises the
tion connection to the central server.                              25   steps of evaluating a header received over the second physical
   In another embodiment, the physical layer connection is               layer communication connection to determine an application
established to support a virtual session and the remote entity           program to process information transacted on the second
comprises a virtual session server.                                      connection; and based upon the evaluation, launching the
   In another embodiment, the method further comprises the               application program to communicate via the second connec
steps of making a second prediction, based upon the work            30   tion.
flow, the second prediction indicating when information is to               In another embodiment, a method of providing a virtual
be uploaded and/or downloaded to and/or from the central                 presence of a remote unit with a central server is provided, the
server; and based upon the second prediction, causing the                method comprising the steps of establishing a communica
information to be uploaded and/or downloaded in the back                 tion session with the remote unit using a first physical layer
ground using the physical layer communication connection.           35   communication path and dropping the first physical layer
   In another embodiment of the present invention, a method              communication connection; configuring a data structure, the
of establishing a connection with a low connection set-up                data structure linking the communication session to an appli
time is provided, the method comprising the steps of initiating          cation session; accepting a communication request from the
the establishment of a communication connection to be used               application program, the communication request requiring a
to communicate with a remote entity; communicating appli            40   physical layer communication path to the remote unit; dial
cation layer data via the communication connection prior to              ing-out to establish a second physical layer communication
the completion of a line-rate negotiation; and in the back               path to reactivate the communication session with the remote
ground, negotiating a line speed for Subsequent high-speed               unit, delivering a packet via the physical layer communica
communication.                                                           tion path, the packet containing information indicative of the
   In another embodiment, the method further comprises the          45   type of the communication request; and reactivating the com
steps of receiving an input, the input indicative of a request to        munication session with the remote unit and using the com
communicate with a remote entity; and transacting an autho               munication session to Support a connection stream between
rization sequence with the remote entity.                                the application program and the remote unit.
   In another embodiment, the input may be received by a user               In another embodiment, the data structure links a plurality
interface and the input may be indicative of a command to,          50   of application sessions to the communication session, the
access a network site using a hyperlink. Furthermore, the                application sessions including a first an application program
method may comprise the step of resuming the use of a virtual            which provides a communication service.
session via the communication connection.                                  In another embodiment, the communication service com
   In another embodiment, the step of initiating may be per              prises a voice telephony connection.
formed in response to a ring signal received from the remote        55      In another embodiment, the plurality of application ses
entity.                                                                  sions includes a second an application program which pro
   In another embodiment of the present invention, a method              vides access to a database.
is provided, the method comprising the steps of establishing               In another embodiment, the database comprises a medical
a first connection to a remote entity; using the first connection        record.
to establish a set of parameters needed to define a communi         60      In another embodiment, a system for maintaining a virtual
cation session with the remote entity; disconnecting the first           session is provided, the system comprising a virtual session
connection and maintaining the parameters related to the                 server, the virtual session server being operatively coupled to
communication session; establishing a second connection to               an application program, the virtual session server maintaining
the remote entity; communicating an authorization sequence               an application session with the application program on behalf
with the remote entity; and reactivating the communication          65   of a remote unit, the virtual session server maintaining a
session using as a communication path the second connec                  virtual communication session with the remote unit; and a
tion.                                                                    table structure comprising a plurality of memory locations
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                             29                                                                     30
arranged within a storage unit, the table structure operative to           6. The method of claim 1, wherein launching the applica
maintain set of links correlating the virtual communication             tion layer program includes reactivating an inactive commu
session and the application session.                                    nication session.
   In another embodiment, the system further comprises the                7. The method of claim 1, wherein the first communication
remote unit, whereby the remote unit comprises a protocol               includes at least one data packet, and wherein the first com
stack used to maintain a communication session in the pres              munication is included in an incoming communication
ence and absence of a physical layer communication path.                request that is received by a wireless interface of the mobile
   In another embodiment, the system further comprises the              handset from a cellular or PCS network.
application program.                                                      8. The method of claim 1, wherein the remote entity is a
   In another embodiment, the virtual session server is opera      10
                                                                        computer system that is remote from the mobile handset
tive to execute a client-side application software module               executing an application program.
under remote control of the remote unit.
   In another embodiment, the virtual session server is opera             9. The method of claim 1, wherein the application layer
tive to execute a client-side application software module on            program is a messaging program.
the virtual session server in parallel with the remote unit; and   15     10. The method of claim 9, wherein the application layer
maintain a presence with the application program while the              program is an email program.
physical layer communication path is in the disconnected                  11. The method of claim 10, wherein the information
State.                                                                  directed to the application layer program includes at least a
   In another embodiment, the control program module is                 portion of an email message.
further operative to cause the virtual session server to main              12. The method of claim 1, wherein the application layer
tain a communication path and grant the remote unit access to           program is a telephony program.
the application program via the communication path after the              13. The method of claim 12, wherein the information
physical layer has been placed into the connected State.                directed to the application layer program includes Voice data
  In another embodiment, the virtual session server main                corresponding to a telephone call.
tains a proxy-presence with the application program to pre         25     14. The method of claim 1, wherein the first communica
vent the application program from terminating in the absence            tion includes a caller identification packet.
of a physical layer communication path to the remote unit.                 15. A device, comprising:
  In another embodiment, the virtual session server accesses              a wireless interface; and
the table structure to provide access to the application pro              a processor unit;
gram by the remote unit via the application session upon the       30
                                                                          wherein the device is configured to:
reactivation of the virtual communication session.                           receive an unsolicited communication from a remote
   What is claimed is:
  1. A method, comprising:                                                      computer system, wherein the unsolicited communi
  receiving, at a control program executing on a mobile                         cation is received using the wireless interface; and
     handset, a first communication initiated by a remote          35        in response to determining that the unsolicited commu
     entity, wherein the first communication includes a set of                  nication identifies an application that is in an inactive
     information identifying an application layer program                       State:
     that is installed on the mobile handset, and wherein                       launch the application; and
     initiation of the first communication by the remote entity                 reactivate a communication session between the
     was not in response to a request sent by the mobile           40             device and the remote computer system from an
     handset:                                                                     inactive state.
  the control program causing the mobile handset to evaluate               16. The device of claim 15, wherein reactivating the com
     the set of information included in the first communica             munication session includes the device establishing a physi
     tion; and                                                          cal layer connection with the remote computer system.
  in response to determining, based on the evaluating, that        45      17. The device of claim 15, wherein the application is an
     the set of information identifies the application layer            email program that is in an inactive state on the device, and
     program, the control program causing the mobile hand               wherein the device is further configured to cause the email
     Set to:                                                            program to enter an active state on the device in response to
     launch the application layer program; and                          the determining that the unsolicited communication identifies
     reactivate, from an inactive state, a communication ses       50   the email program.
         sion between the mobile handset and the remote                    18. The device of claim 15, wherein the application is a
         entity.                                                        messaging program that is in an inactive state on the device
  2. The method of claim 1,                                             and is connected through a virtual session to a messaging
  wherein causing the mobile handset to reactivate the com              program executing on the remote computer system.
     munication session includes the mobile handset estab          55      19. An article of manufacture, including a non-transitory
     lishing a physical layer connection with the remote                computer-readable medium having instructions stored
     entity.                                                            thereon that, in response to execution by a first computing
  3. The method of claim 2, wherein the communication                   device, cause the first computing device to perform opera
session Supports communication between the application                  tions comprising:
layer program at the mobile handset and a remote program           60      receiving an unsolicited communication from a second
executing on a server coupled to the remote entity.                          computing device that is remote from the first computing
   4. The method of claim 1, wherein the remote entity is a                  device, wherein the unsolicited communication identi
SeVe.                                                                       fies an application that is in an inactive state at the first
  5. The method of claim 1, wherein the first communication                 computing device;
was initiated by the remote entity in response to information      65     evaluating the unsolicited communication to determine the
received by the remote entity from a server coupled to the                  application; and
remote entity via the Internet.                                           based on the evaluating:
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 launching the application, wherein the launching the       20. The article of manufacture of claim 19, wherein the
    application causes the application to enter an active application is connected through a virtual session to a pro
    state; and                                            gram executing on the second computing device.
 reactivating, from an inactive state, a communication
    session Supporting communication between the first 5
   computing device and the second computing device.                            k   .    .   .   .
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,266,296 B2                                                                                       Page 1 of 1
APPLICATIONNO.              : 12/272481
DATED                       : September 11, 2012
INVENTOR(S)                 : Dowling et al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         On Title Page 2, in Field (56), under “OTHER PUBLICATIONS'', in Column 2, Line 18,
         delete “pages. and insert -- pages --, therefor.
         In Column 5, Line 23, delete “PentiumTM. and insert -- PentiumTM --, therefor.

         In Column 11, Line 60, delete “UltaSparcTM. and insert -- UltaSparcTM --, therefor.
         In Column 11, Line 63, delete “SolarisTM. and insert -- SolarisTM --, therefor.

         In Column 11, Line 63, delete “WindowSNTTM. and insert -- WindowSNTTM --, therefor.

         In Column 11, Line 67, delete “UltaSparcTM. and insert -- UltaSparcTM --, therefor.
         In Column 12, Line 2, delete “service provider and insert -- Service Provider --, therefor.
         In Column 14, Lines 5-6, delete “PCAnywhereTM. from Semantec' and
         insert -- PCAnywhereTM from Symantec --, therefor.
         In Column 22, Line 67, delete “in tact and insert -- intact --, therefor.




                                                                                      Signed and Sealed this
                                                                                   Fifth Day of February, 2013
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                                                                                                  Teresa Stanek Rea
                                                                           Acting Director of the United States Patent and Trademark Office
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                         EXHIBIT 3
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                                                                                           USOO8291 0 1 OB2


(12) United States Patent                                                (10) Patent No.:                 US 8,291,010 B2
       Dowling et al.                                                    (45) Date of Patent:                     *Oct. 16, 2012
(54) VIRTUAL CONNECTION OF A REMOTE                                 (56)                     References Cited
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                (US); Mark Nicholas Anastasi,                              4,489.416   A     12/1984 Stuart
                Highland Village, TX (US)                                  4,578,796   A      3/1986 Charalambous et al.
                                                                                                (Continued)
(73) Assignee: East Texas Technology Partners, LP,                               FOREIGN PATENT DOCUMENTS
               Plano, TX (US)                                       EP                  O169548         1, 1986
                                                                                                (Continued)
(*) Notice:        Subject to any disclaimer, the term of this                          OTHER PUBLICATIONS
                   patent is extended or adjusted under 35
                   U.S.C. 154(b) by 668 days.                       "Defendant Dell Inc.'s Answer to Plaintiffs Second Amended Com
                                                                    plaint', Civil Action No. 2-03CV-465-TJW, in the United States
                   This patent is Subject to a terminal dis         District Court for the Eastern District of Texas Marshall Division,
                   claimer.                                         (Mar. 15, 2004), 8 pages.
                                                                                          (Continued)
(21) Appl. No.: 12/194,311
                                                                    Primary Examiner — John Follansbee
                                                                    Assistant Examiner — Anthony Mejia
(22) Filed:        Aug. 19, 2008                                    (57)                        ABSTRACT
                                                                    Apparatus and associated methods are provided which allow
(65)                   Prior Publication Data                       a remote user to maintain a virtual session with a server. A
       US 2008/0310392 A1           Dec. 18, 2008                   virtual session allows a remote and possibly mobile user to
                                                                    maintain a virtual presence in an office environment without
                                                                    actually being present. Using the present invention, a remote
                Related U.S. Application Data                       user can access a central application program Such as an
                                                                    Internet service provider, a database system, an inventory
(6) Continuation of application No. 10/920,817, filed on            system or billing system. Likewise, the remote user can
    Aug. 18, 2004, now abandoned, which is a                        receive calls and otherforms of communications as though he
    continuation of application No. 10/335,821, filed on            or she were present in an office environment. A virtual session
       Jan. 2, 2003, now abandoned, which is a continuation         does not require a physical connection to be continuously
       of application No. 09/167,698, filed on Oct. 7, 1998,        present in order to provide a virtual connectivity. This is
       now Pat. No. 6,574,239.                                      especially important for mobile applications where the
                                                                    remote user may incur long distance and/or wireless toll
                                                                    charges. Also, methods are presented to allow a remote unit to
(51) Int. Cl.                                                       rapidly reconnect in a transparent and seamless way without
       G06F 15/16               (2006.01)                           burdening the user with the need to connect and reconnect or
(52) U.S. Cl. ......................... 709/203; 709/200; 370/349   to upload and download information. Related methods are
(58) Field of Classification Search .................. 709/200,     provided to allow the virtual session to be established, oper
                                                                    ated and maintained.
                                                709/203; 370/349
     See application file for complete search history.                                 22 Claims, 4 Drawing Sheets

                    200
                       Y                                                                       TABLE               225
                                                                                             STRUCTURE



                                                            COMMUNICATION                       VIRTUAL
                 REMOTE                                                                         SESSION            215
                   UNIT                                       INTERFACE                         SERVER


                                                                                                2
                                                            COMMUNICATION                    APPLICATION
                                                 212           SERVER                                               220
                                                                                               PROGRAM
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                         110                                               100



                                                            JZ-126
    120      CONTROL                   COMMUNICATION
             PROGRAM                      MODULE                    H      -127
             MODULE
                                                          125
             DISPLAY                      Ulyssa.
                                             AO                 g         N
    130      MONITOR                      MODULE                              138
                                                          135
              MASS                         POWER
    140      STORAGE                      MODULE           145           FIC.       1




                                                   184
     150N        151      APPLICATION
                           SESSIONS
                                      LA                            APPLICATION
                                                                     SESSIONS
                                                                                        152

                 54       REMOTE UNIT L                         VIRTUAL SESSION - 156
                        VIRTUAL SESSION                                 SERVER


                 158       TRANSPORT      - - - - - -- -            TRANSPORT           160

 FIC.       1A
                 1641       Nti wurk       -------                                      166


                 1701          LINK        - - -----                                    172



                                                80
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       200
         Y                                                         TABLE       225
                                                                 STRUCTURE



      REMOT                            COMMUNICAT                 VIRTUAL
       Exit                            oxyg|ON                    SESSION
                                                                  SERVER
                                                                               215

                                                                   2
                                212    COMygation                APPLICATION   220
         FIC. 2                                                   PROGRAM



               300



      305            INTERFACE SCREENS BASED WORKFLOW PROCESSING

                     PREDICTION            PREDICTION
                 315
       320    ESTABLISH CONNECTION                  TERMINATE
                  N BACKGROUND                      CONNECTION

                   EXCHANGE
       325    AUTHENTICATION DATA


       330
              ESTABLISH/REACTIVATE
                      SESSION


                                       FIC. 3
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         400

               RECEIVE COMMUNICATIONS
   405              REQUEST FROM
                   USER PROGRAM

   410           NITIATE CONNECTION

   415             AUTHORIZATION
                   CONFIRMATION

   420               NITAL DATA
                   COMMUNICATION

                 INA DAIA DISPLAY
   425                                                             500
                LINE-RATE NEGOTIATION
   450           IN THE BACKGROUND
                                                 ESTABLISH FIRST
                                                CONNECTION WITH          505
                     SUBSEQUENT                  REMOTE ENTITY
   455          HIGH-SPEED TRANSFER
                    FIG. 4                     ESTABLISH SESSION
                                              WITH REMOTE ENITY


                                                 DROP CURRENT
                                                  CONNECTION

                                               ESTABLISH SECOND          MANTAIN
                                               CONNECTION WITH           VIRTUAL
                                                 REMOTE ENTITY           SESSION


                                                  COMMUNICATE
                                            AUTHORIZATION SEQUENCE

                                                 RESUME SESSION
                                               WITH REMOTE ENTITY


                                                  AIC. 5
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         so,                                                                    po
  605 -NESTABLISH COMMUNICATION                               ESTABLISH AND       705
               WITH REMOTE UNIT                               AUTHENTICATE
                                                                SESSION
  60      ACCEPT AUTHORIZATION                                                O
               PARAMETERS

  615     ESTABLISH APPLICATION
               SESSION FOR
               REMOTE UNIT                             ACCEPT COMMUNICATION
                                                               REQUEST FOR           715
  620         PROVIDE ENTRY                                    REMOTE UNIT
           IN TABLE STRUCTURE
                                                            SET UP CALLER-D          720
                                                                 PACKET
               DISCONNECT FROM
   625           REMOTE UNIT
                                                            DAL-OUT TO REMOTE        725
               REESTABLISH              MANTAIN              UNT AND FORWARD
   650     COMMUNICATIONS WITH          VIRTUAL
               REMOTE UNI               SESSION
                                                              PACKETIZE THE
   635     ACCEPT ARIZATION                                   COMMUNICATION          745
                                                           SEND COMMUNICATION
                RESUME SESSION                                                       750
   640             ACTIVES
                 FIC.. 6                                       FIC. 7


               800-                DETECT/SUPPRESS               805
                                  FIRST RING SIGNAL

                                  EVALUATE CALLER-D              810
         FIC. 8
                              SELECT/ACTIVATE APPLICATION        815

                              REACTIVATE VIRTUAL SESSION         82O
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                                                        US 8,291,010 B2
                                1.                                                                       2
      VIRTUAL CONNECTION OF A REMOTE                                      erably maintained as an interactive electronic document con
              UNIT TO ASERVER                                             taining multiple parts. For example, the medical record indi
                                                                          cates to the home-care professional precisely what
           CROSS-REFERENCE TO RELATED                                     procedures are to be performed and what medications are to
                  APPLICATIONS                                            be administered or otherwise given to the patient. Once the
                                                                          services are performed, the home-care professional must
   The present application is a continuation of U.S. patent               annotate the medical record accordingly. The medical record
application Ser. No. 10/920,817, filed Aug. 18, 2004 now                  is updated to reflect the patient’s vital signs and other infor
abandoned, which is a continuation of U.S. patent application             mation related to patient progress. Also, a billing system takes
Ser. No. 10/335,821 filed Jan. 2, 2003, now abandoned, which         10   note to track expendables and services rendered. For
is a continuation of U.S. patent application Ser. No. 09/167,             example, the patient may be billed per visit and each visit may
698, filed Oct., 7, 1998, now U.S. Pat. No. 6,574,239, entitled           involve the expenditure of billable resources such as medi
"Virtual Connection of a Remote Unit to a Server.” The                    cines.
present application claims priority to these applications and               In the above scenario, a mobile worker must interact with a
incorporates them by reference herein in their entireties.           15   central server during the course of a day. The worker may
                                                                          wish to access the central server while visiting a patient. The
          BACKGROUND OF THE INVENTION                                     worker may also wish to access the server from a location
                                                                          where only a wireless connection can be established. From a
   1. Field of the Invention                                              performance perspective, an ideal Solution is to provide the
   This invention relates generally to client-server computing            mobile worker with a wireless connection from a remote unit
architectures and communication techniques. More particu                  to a central server. Such a wireless connection could be estab
larly, the invention relates to a system whereby a mobile                 lished via a high-powered radio connection with a broad area
worker and a central server may maintain a virtually continu              of coverage or via an existing cellular or personal communi
ous connection without the need to maintain a physical con                cation system (PCS) network. Solutions using high-powered
nection continuously.                                                25   radio links have the disadvantage that costly spectrum may be
   2. Description of the Related Art                                      required. Maintaining a link on a cellular or PCS system is
   The concept of a virtual connection has arisen in connec               expensive in that a continuous connection consumes billable
tion with telecommuting and related applications. Such a                  airtime which is also very costly. From an airtime-cost per
system is described in U.S. Pat. No. 5,764,639. A telecom                 spective, an ideal solution would be to force the worker to
muter dials into a server using a standard telephone line. The       30   create a connection, download or up load information, and
telecommuter's modem and a modem controlled by the cen                    work locally with data on the remote unit as often as possible.
tral server establish a connection therebetween. Once a con               This solution is tedious, and while saving airtime costs, may
nection is established, the telecommuter may access a com                 actually represent the more costly solution when professional
puter connected to the server, read emails and receive phone              service costs are factored in. This method has the added
calls and faxes. For example, if a customer attempts to call the     35   disadvantage that when files are uploaded or downloaded the
telecommuter at work by dialing into a private branch                     data must be synchronized in case another user has changed
exchange (PBX), the server will convert the incoming call to              the data in parallel with the mobile worker. Alternatively,
a packetized form, such as H.323, and redirect the call via the           other users must be "locked out of the file from the time the
existing connection between the telecommuter and the server.              mobile user downloads it until it is finally uploaded with any
Using this system, the telecommuter may access a computer            40   changes made. This is the problem solved using semaphores
at work, answer phone calls and answer emails. The telecom                in shared memory systems. In the context of the present
muter thus appears to be present in his or her office and thus            invention, a "file semaphore' is a semaphore used to lock a
has a virtual presence there. Note for this system to properly            second user out of a file while a first user is using it. Due to the
function, the telecommuter must stay connected to the server              aforementioned reasons, in many applications forcing the
at all times. While this does not present a significant problem      45   worker to repeatedly connect, disconnect, upload and down
for local telecommuting, this solution is quite costly for long           load information is unacceptable.
distance telecommuting. Likewise, this solution is very costly               Some mobile networks have been constructed using what
if the telecommuter is mobile and must maintain a virtual                 is known as cellular digital packet data (CDPD). In a CDPD
presence with the server using a cellular wireless connection.            network, a remote unit transmits a data packet on an unused
Furthermore, in some areas it may be difficult to maintain a         50   analog channel. In this sense the mobile unit remains virtually
wireless connection continuously. A lost connection may also              connected to a CDPD communication server. Wireless air
prevent one from regaining access to the system until some                time is only consumed when data is actually sent. A disad
period of time has passed. Some mobile workers require only               vantage to this approach is CDPD networks are not univer
intermittent access to the server, but find it too inconvenient to        Sally available. Cellular coverage is much more ubiquitous
place a dial-in call and to log onto the system every time           55   than CDPD coverage. Also, CDPD network subscribers must
access is needed.                                                         often pay high fees and hence CDPD may not represent the
   There is a need to provide mobile workers with various                 most economical Solution.
forms of virtual connectivity. Mobile workers differ from                   In some systems such as packet Switched network routers,
telecommuters in that while a telecommuter typically works                offices make use of dial-out links. Dial-out links are useful
from a single home location or remote office, a mobile worker        60   when remote offices are separated by long distances. In Such
moves from location to location during the course of a normal             systems, when a packet must be routed from a first office to a
working day. An example of a mobile worker is a home-care                 second office, a call is placed to route the packet. The dial-out
professional. A home-care professional is a medical worker                connection remains connected until a no-traffic condition is
who periodically travels to visit with different sets of home             detected, indicating the line is no longer active. When the
bound patients according to their individual needs. The indi         65   no-traffic condition is detected the connection is dropped
vidual patients each have a set of medical records indicative             until it is again needed. Dial-out links are thus used to reduce
of their medical histories. A patient’s medical record is pref            long distance fees associated with maintaining a constant
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                                                       US 8,291,010 B2
                               3                                                                        4
connection, and represents a useful starting point for solving           emulates the presence of the remote unit to the server-side
the foregoing problems relating to the establishment of a                application program and thereby maintains the logon. In
virtual presence of a mobile worker. Client-server protocols             related embodiments, the server-side application program
and fast automated connection strategies employing dial-out              involves a communication server capable of relaying mes
links are needed to provide new ways for a mobile worker to              sages and establishing communication channels with the
maintain a virtual presence. Also, new methods are needed to             remote unit using the virtual session layer.
enable dial-out links to be set up with low delays to make                  A second aspect of the present invention involves a method
them more useful for novel systems.                                      of accessing a central server from a remote unit. A first step
   It would be desirable to provide a system whereby a remote            involves presenting a workflow to a user via a user interface.
worker could maintain a seamless connection with a central          10
server without the need to maintain a dedicated channel. It
                                                                         A second step involves predicting, based upon the workflow,
would be desirable if the remote worker could communicate                when the user will require connectivity to the central server.
                                                                         Based upon the prediction and in the background, a third step
with the central server without the need to spend time to enter          involves initiating the establishment of a physical layer com
a password, reconnect, and wait for a line negotiation                   munication connection to the central server.
sequence to proceed before being able to use the connection.        15
It would be desirable for a protocol stack to activate a virtual           A third aspect of the present invention involves a method of
session based on a prediction derived from a workflow. It                establishing a connection with a low connection set-up time.
would be desirable to use this prediction to set up a connec             In a first step, the method initiates the establishment of a
tion in the background without disturbing the mobile worker              communication connection to be used to communicate with a
while the mobile worker performed tasks in a workflow. It                remote entity. Next the method communicates application
would also be desirable to have a remote unit which contains             layer data via the communication connection prior to the
most of the screen-related information needed to provide the             completion of a line-rate negotiation process. Next the
appearance of an established connection before the connec                method negotiates a line speed in the background.
tion has been fully established. It would be desirable for the              A fourth aspect of the present invention involves a method
remote unit to download information before it is needed and         25   of setting up and operating a virtual session. This method can
upload information after it is gathered without the user even            be practiced by a client-side remote unit or a server-side
being aware these actions are being performed. It would                  virtual session server. A first connection is established to a
further be desirable to establish a virtual session using a first        remote entity. This first connection is then used to establish a
communication medium such as a landline and to later com                 set of parameters needed to define a communication session
municate using the same virtual session using a second com          30
                                                                         with the remote entity. Next the first connection disconnected
munication medium such as a wireless link. This would allow
a mobile worker to select the most economical or convenient              and a set of communication session parameters are main
means of communications at a given time. In embodiments                  tained. Next a second connection to the remote entity is estab
involving modem-based connections, it would be desirable to              lished and an authorization sequence is communicated. The
transmit data immediately using instantly available but lower       35   communication session is next reactivated using the commu
line speeds. It would be desirable to then negotiate a higher            nication session using the second connection. A related
                                                                         method is used to allow a remote unit to maintain a virtual
line speed in the background while the remote worker and/or
the server perform other tasks. Moreover, it would be desir              communications presence with a remote communication
able to establish a session between a remote unit and a server           server coupled to a virtual session server.
so that various forms of communications may proceed while           40
                                                                                 BRIEF DESCRIPTION OF THE FIGURES
providing the user with the appearance the user is continu
ously connected to the server and has a virtual presence with
the server.                                                                 The various novel features of the present invention are
                                                                         illustrated in the figures listed below and described in the
              SUMMARY OF THE INVENTION                              45   detailed description which follows.
                                                                            FIG. 1 is a block diagram representing an embodiment of a
   The present invention solves these and other problems by              remote unit designed in accordance with the present inven
providing systems and methods to enable a remote worker to               tion.
stay virtually connected to a central server without the need to            FIG. 1A is a block diagram illustrating a layered software
continuously remain connected via a physical channel. The           50   architecture representative of the communication protocols
present invention is useful when costs are associated with               of the present invention.
maintaining a connection, for example when the connection                   FIG. 2 is a block diagram illustrating a system comprising
has associated with it long distance, wireless, or other usage           a remote unit operably coupled to a server via a communica
related toll charges.                                                    tion medium.
   A first aspect of the present invention involves a commu         55     FIG. 3 is a flow chart illustrating a method of processing
nication protocol making use of a virtual session layer. The             whereby an application program implementing a workflow
virtual session layer allows a communication session and an              provides a prediction of when the user will need a connection
application session to be maintained in an inactive state when           and establishes a connection in the background just before it
no physical connection exists. When a remote unit later                  is needed.
reconnects with a server, the virtual session is placed into an     60      FIG. 4 is a flow chart illustrating a method of establishing
active state and session communications resumes as though                communication with a remote entity with a near-immediate
uninterrupted. A remote unit, a virtual session server, and a            set up time.
communication system including the remote unit and the                      FIG. 5 is a flow chart illustrating a method of communi
virtual session server are presented to support virtual sessions         cating by maintaining a virtual presence without the need to
communications. In one embodiment, the virtual session              65   continuously maintain a physical connection.
server manages a logon Session between the remote unit and                  FIG. 6 is a flow chart illustrating a method of processing
a server-side application program. The virtual session server            performed on a server acting as a front-end to an application
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program to maintain sessions for remote users who are not             with a remote entity such as a virtual session server as will be
continuously physically connected to the application pro              discussed in detail hereinafter. In a preferred embodiment, the
gram.                                                                 communications module 125 includes a plurality of commu
  FIG. 7 is a flow chart illustrating a method of processing          nication interfaces. For example, a first interface 126 provides
performed on a server managing virtual connections for users          a wireless link, and a second communication interface 127
who are not continuously physically connected to the server.          provides one or more wireline links. Also, the wireline com
  FIG. 8 is a flow chart illustrating a method of processing          munication interface 127 may include a standard telephone
performed by a remote unit to accept different types of incom         modem interface and a packet style interface designed to plug
ing calls.                                                            directly into an Ethernet connection to be coupled to a local
                                                                 10   area network (LAN), a wide area network (WAN) or the
   DETAILED DESCRIPTION OF THE PREFERRED                              Internet. The Internet is the well-known and ubiquitous World
               EMBODIMENTS                                            WideWeb. In some embodiments, the communications mod
                                                                      ule 125 includes a caller-identification packet processor. A
   FIG. 1 is a block diagram representing an embodiment of a          caller-identification packet processor receives a caller-iden
remote unit 100 designed in accordance with the present          15   tification packet, extracts information therefrom, and passes
invention. The remote unit 100 may be implemented as a                the information to the CPU 105. Caller-identification packets
laptop computer, a personal digital assistant, a desktop com          may be advantageously used to identify incoming calls with a
puter or workstation, or as a dedicated unit customized for a         virtual session as discussed in connection with FIGS. 7-8. The
particular application. The remote unit 100 includes a central        communications module 125 may optionally include a Voice
processing unit (CPU) 105 connected to a central bus 110.             interface to allow a user to engage in telephone conversations
The central processing unit may be implemented using an               using the remote unit 100. In this case a separate handset or a
available microprocessor, microcontroller, or customized              built-in handset may be used. Alternatively a speakerphone
logic. For example, a Pentium.T.M. processor from Intel Corp.         may be built into the remote unit using a microphone, a
may be used to implement the CPU 105. The central bus is              speaker, and an echo canceller.
preferably constructed as a set of unbroken wires used to        25      The remote unit 100 also includes a display monitor 130.
carry signals between a set of component Subsystems within            The display monitor 130 is also coupled to the bus 110. The
the remote unit 100. It should be noted, in some embodiments          display monitor 130 is preferably implemented using a liquid
of the present invention, the bus 110 may be implemented              crystal display (LCD), although other display technologies
equivalently using a set of direct parallel and/or serial con         may equivalently be used. Also connected to the bus 110 is an
nections between individual modules. The bus 110 as illus        30   optional universal input-output (I/O) module 135. The uni
trated in FIG. 1 shows a low cost and a preferred means to            Versal I/O module includes a coupling to a set of external
connect the illustrated subsystems. Any combination of bus            devices 138. The external devices are preferably data collec
connections and direct serial or parallel links may be used to        tion units as described below. The universal I/O module pref
implement the connection structure provided by the bus 110.           erably provides a standard link layer interface to the software
Different implementations represent different price-to-per       35   module 120 executing on the CPU 105. The remote unit 100
formance ratios and will be dictated by the needs of an indi          also preferably includes a mass storage device 140. The mass
vidual embodiment. The bus 110 also comprehends multi                 storage device 140 is also connected to the bus 110. The mass
layered bus structures. For example, Some embodiments                 storage device is preferably implemented using magnetic
make use of a local processor bus connected to the CPU 105,           disk or optical disk technology, but any mass storage device,
and a peripheral interconnect bus for other Subsystems. In       40   to include a non-volatile memory, may be used.
multi-layered bus based designs, the different layers are pref           The remote unit 100 also includes a power module 145.
erably connected by bus bridges. All of these and other               The power module is preferably and optionally coupled to the
equivalent embodiments of the bus 110 are known to the                bus 110 to receive power management control information.
skilled artisan. From here forward, the discussion will center        The power module preferably includes a battery, an alternat
on the illustrated embodiment of the remote unit 100 whereby     45   ing current (AC) connector, a direct current (DC) connector,
all subsystems are directly connected via the bus 110.                and a power management control interface. The AC connec
Embodiments where the bus 110 represents a different physi            tor allows the remote unit 100 to be powered from a standard
cal interconnection topology are implicitly included in the           110 V wall outlet. The DC connector allows the remote unit
discussion below.                                                     100 to be powered from a vehicle, for example by plugging
   A memory 115 is also coupled to the bus 110. The memory       50   the unit into a cigarette lighter outlet. Either of these connec
115 may be implemented using static random access memory              tors may be preferably used to also charge the battery in the
(SRAM) or dynamic random access memory (DRAM). One                    remote unit. The power module 145 is coupled to supply
type of SRAM is read-only memory (ROM). Preferably the                power to a power bus which is connected to all Subsystems.
memory 115 includes a ROM for use at boot-up, and a DRAM              Depending on the power management configuration of an
to hold a significant amount of data storage for use while       55   individual system, different Subsystems may accept power
executing programs. The remote unit 100 also includes a               from separate connections to allow portions of the remote unit
control program module 120. The control program module                to be selectively turned off while they are not being used.
120 is controllably coupled to the CPU 105 and is also                   The remote unit 100 is operative to execute an application
coupled to the bus 110. The central program module 120                program. The application program is operative to Supply a
typically exists as a software module executed from the          60   sequence of interactive screens or a menu based interface to
memory 115 by the CPU 105. The control program module                 the user. The sequence of interactive Screens or a particular
120 effectively configures the remote unit 100 to operate in          usage of a menu based system implements a workflow. In an
accordance with aspects of the present invention as discussed         example embodiment, the remote unit 100 is carried by a
herein below.                                                         home-care professional. The home care professional has a
  A communications module 125 is also coupled to the bus         65   sequence of procedures which need to be implemented in the
110. The communications module includes at least one com              course of working with a patient. This sequence of procedures
munication interface to allow the remote unit to communicate          gives rise to the workflow implemented in the control pro
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gram 120 which executes on the remote unit 100. In the                stack using basic concepts similar to the seven layer OSI
example embodiment involving a home-care professional,                model is next discussed which represents an aspect of the
the universal I/O module is connected to a set of peripheral          present invention.
units to collect vital information Such as blood pressure,               FIG. 1A illustrates a representative protocol 150 used to
temperature, insulin level and the like. Other information            Support the present invention. At the top layer is an applica
Such as the patients weight may be entered manually by the            tion session layer. A first protocol stack with an application
home-care professional as a part of the workflow. At certain          session layer software module 151 communicates with a sec
times in the workflow, an external communication connection           ond protocol stack with an applications session layer Software
will be needed because data may need to be uploaded or                module 152. The application session layer software module
downloaded to/from a central server. In accordance with the      10   151 is typically implemented as a client-side software module
present invention, the remote unit 100 is operative to provide        which presents a user interface to a user. The application
a seamless and transparent virtual presence with the central          session layer software module 152 is typically implemented
server. In general, the central server may itself be segmented        by a server-side software module operative to provide com
into two or more individual central servers. The discussion
                                                                      munication and/or computer related services to the client-side
                                                                 15   Software module. For example the application sessions layer
herein focuses on an embodiment whereby a virtual presence            software module 152 may involve a logon session with a
is maintained with a single central server having multiple            database program, or may represent a unified messaging
server components. The present invention may be equiva                server Supplying Voice mail, email and fax mail. Similarly, the
lently practiced by embodiments involving a virtual presence          application session layer software module 152 may involve a
with more than one central server. Thus, one remote unit              telephony application operative to provide a packet Switched
could maintain multiple virtual connections to totally sepa           or a circuit Switched telephone connection to the client-side
rate server systems. In Such a configuration the application          application session layer software module 151. One layer
workflow would dictate to which server system the remote              down in the protocol stack is a virtual session layer. In the
unit would physically connect while other servers remain              example embodiment, the first protocol stack implements a
virtually connected.                                             25   virtual session layer software module 154 in the remote unit
   A key aspect of the operation of the remote unit 100 is its        100. The virtual session layer software module 154 commu
ability to maintain a virtual presence with the central server        nicates with a peer virtual session software module 156 via
without continuously maintaining a physical connection. The           the peer-to-peer communication path 182. In the exemplary
remote unit 100 is operative to provide communications when           embodiment, the virtual session layer software module 156 is
it is needed without the user needing to go through a set of     30   implemented within a virtual session server as discussed in
normally associated connection sequences. For example, in             connection with FIG. 2. The virtual session server typically
accordance with one aspect of the invention, the user need            maintains a table linking one or more application sessions to
only interact with the screens provided to implement the              a virtual session. For example, this linking of application
                                                                      sessions into the table structure may be accomplished by
workflow while the remote unit 100 automatically sets up a       35   including a pointer to a data structure containing application
connection in the background to be available when it is               session control data, or by placing the data structure holding
needed. In embodiments where file synchronization is not an           the application session control data directly in the table struc
issue or is handled using file semaphores, the Software imple         ture. Additionally, the table structure allows the virtual ses
menting the workflow automatically downloads information              sion server to maintain a plurality of virtual sessions with a
before it is needed and later automatically uploads new infor    40   plurality of client remote units. In the OSI model, the OSI
mation after it has been gathered. This way, users need not           session layer provides a set of rules used to establish and
even be aware they are not connected at all times. The user is        terminate data streams between nodes in a network. A set of
not burdened with the need to connect and reconnect, and              OSI-Session layer services include establishing and terminat
need not be burdened with downloading and uploading data.             ing node connections, message flow control, dialog control,
The user experiences the full benefit of being continuously      45   and end-to-end data control. The session layer controls dia
connected to the central server without the associated cost of        logs, which involve conversational protocols as used in main
remaining continuously connected via a physical connection.           frame computer terminal communications. The virtual ses
In Systems where file semaphores are not employed, the                sion layer 154, 152 of the protocol 150 may perform any of
physical connection is established just before the workflow           these functions in addition to maintaining the table linking to
indicates it will be needed and is dropped when the workflow     50   the application sessions.
indicates it will not be needed for some time. Further details           The next software modules in the first protocol stack are the
of the operation of the remote unit 100 are given in the              transport layer 158, the network layer 164, the link layer 170
discussions provided in connection with FIGS. 2-8.                    and the physical layer 176. These software modules respec
   A central aspect of the present invention involves the con         tively perform peer communications with the server-side pro
cept of a “virtual session.” A session as defined herein is      55   tocol stack's software modules 160, 166, 172, and 178. The
similar to the definition provided in the open systems inter          physical layer defines the low-level mechanical and electrical
connect (OSI) reference model from the International Stan             channel protocols and the physical connection itself. These
dards Organization (ISO). The OSI model is a model of a               four lower layers are well known in the art of data communi
layered software structure used in computer communica                 cations and can be implemented in various well-known ways.
tions. A Software system which implements a layered model        60   Likewise, alternative and equivalent protocol stacks may be
of communication is known as a “protocol stack. The OSI               constructed, for example, with the transport layer removed,
model is well known and divides a computer communications             various layers merged into one, or new layers added.
process into seven layers. At each layer is a software module           An important aspect of a virtual session oriented commu
which communicates with a peer Software module at the same            nication protocol such as the protocol 150 is the ability to
layer. Within a protocol stack, each layer communicates with     65   maintain a peer-to-peer virtual session communication path
the layer above and/or below. Actual communication systems            182 without the presence of a physical layer communication
often deviate from the seven layer OSI model. A protocol              path 180. The physical layer communication path 180 repre
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sents a physical layer communication connection, for                      layer connection at a later time. The virtual session thus also
example, a wireline connection, a cellular wireless connec                preferably provides connect and reconnect rules used to
tion, or a network connection to the Internet. When the physi             establish a virtual session and then to reassociate the virtual
cal layer communication path 180 is disconnected, no physi                session to a new physical connection to set up a new data
cal channel exists between the client-side software and the               stream in Support of a dialog at a later time. Related activities
server-side Software, and the physical layer communication                such as the initiation of dial-out links to reestablish a physical
path 180 is said to be in a “disconnected state.” However, data           layer communication path is also preferably handled by the
structures maintained at the virtual session layer allow one or           virtual session in response to a signal from an application
more peer-to-peer application session communication paths                 layer program.
184 to remain in a deactivated but existent state, even when         10      An aspect of a virtual session is the maintenance of an
the physical layer communication path is in the disconnected              application between an application program and a virtual
state. Likewise, the virtual session communication path 182               session server as will be described below. A virtual session
established between the remote unit and the virtual session               server acts as a proxy agent for a remote unit. When the
server also remains in a deactivated but existent state. This is          remote unit is not connected via a physical layer communi
made possible through the use of the table structure main            15   cation path, the virtual session server maintains a proxy
tained in memory which retains its information after the                  presence with the application program on behalf of the dis
physical layer communication path 180 has been discon                     connected remote unit. At a later time, when the remote unit
nected. When the physical layer communication path 180 has                reconnects into the virtual session by passing a set of com
been reconnected, the physical layer communication path is                munication session authentication parameters, the remote
said to be placed into a “connected state.” At such time, the             unit is thereby granted access to one or more application
virtual session layer software modules 154 and 156 are opera              sessions which have been maintained in proxy by the virtual
tive to reactivate the virtual session layer communication path           session server.
182 and the application sessions layer communication path                    In a preferred embodiment, the virtual session uses a set of
184. When these paths are reactivated, peer-to-peer commu                 authentication parameters and a set of encryption keys to
nication may once again proceed over the application session         25   maintain a secure connection. A separate set of authentication
layer communication path 184 and the virtual session layer                parameters is used by an application running on the remote
communication path 182.                                                   unit to gain access to an individual application session. Once
  As defined herein, a distinction is made between a com                  the application session has been established over a virtual
munication session and an application session. A communi                  session, a table is used to maintain a set of parameters needed
cation session is defined as a session between nodes or com          30   to maintain the application session, even though no physical
munication endpoints, and an application session is defined as            layer connection exists between the endpoints of the virtual
a session between applications. For example, a remote unit                session. When a virtual session data structure is set up and no
may establish a communication session with a central server.              physical layer connection exists to support communication
In this case a communication session is established between               over the virtual session, the virtual session is said to be “inac
the communication endpoints, i.e., the remote unit and the           35   tive.” When a virtual session data structure is set up and a
central server. Also, an application program running on the               physical layer connection does exist to support communica
remote unit may need to establish an application session with             tion over the virtual session, the virtual session is said to be
an application program running on the central server. In Such             “active.” A transition from an active state to an inactive state
case an application session is created using a connection                 is called “deactivating a virtual session, and a transition from
stream provided and governed by the communication session.           40   an inactive state to an active state is called “activating a virtual
A table structure is used to maintain both the communication              session.” The process of transitioning from an active state to
session parameters and the application session parameters.                an inactive state is also known as "disconnecting from a
For example, a first user authentication parameter may be                 physical connection.” When this occurs, the physical layer
used to establish a communication session with the server. A              connection is no longer available to Support communication
second user authentication parameter may be used to estab            45   over the virtual session. In a preferred embodiment, a table
lish an application session with the application program. This            structure is used to maintain the virtual session parameters as
second user authentication parameter may include a user                   well as a set of parameters for each application session estab
identification parameter and a password, for example.                     lished over the virtual session. When a virtual session is
   In light of the aforesaid concepts, a “virtual session' is next        activated, there is no need to reauthenticate the individual
defined. A virtual session is preferably implemented as a            50   application sessions. This is because the table typically
communication session as defined above. A virtual session,                includes a user identification parameter, a userpassword, a set
like an OSI session, provides a set of rules for establishing             of application session parameters, a communication session
data streams between nodes or endpoints. The virtual session              identification parameter, and an encryption key for the com
also may provide other session features such as dialog con                munication session. Additional data Such as modem initiation
trol, message flow control, and end-to-end data control. A           55   parameters may be added to the table as required by the
virtual session is controlled using a data structure which                system configuration and usage.
provides a way to associate the virtual session with the lower              Referring now to FIG. 2, a block diagram illustrating a
layers of a protocol stack, leading downto a physical layer. As           system configuration 200 is shown. The system configuration
mentioned above, in most embodiments, a virtual session is                200 includes the remote unit 100 operatively coupled to a
implemented as a communication session. Application ses              60   communication interface 210. A direct wireless link 207
sions are then added onto the virtual session as connection               optionally couples the remote unit 100 to the communication
streams within the communication session.                                 interface 210. A direct wireless link is used in embodiments
   In a virtual session, a communication session may be sus               where the remote unit 100 maintains a direct wireless link
pended with some or all of the lower layers of the protocol               with the communication interface 210. The communication
stack missing. In particular, a virtual session may be main          65   interface thus provides an air interface for the direct wireless
tained while a physical layer connection has been removed.                link. Alternatively or in addition to the direct wireless link
The virtual session can then be reassociated with a physical              207, a wireline link 208 couples the remote unit 100 to the
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communication interface 210. The communication interface                 ment, the application program may itselfbe a communication
210 maintains the connection 208 via a network interface                 server as provided by an Internet service provider (ISP).
coupled to a public switched telephone network (PSTN) or a                 The system 200 is operative to implement a set of virtual
network such as the Internet. This connection 208 may itself             session communication protocols according to the present
involve a microwave link, a wireless link through a public          5    invention. The remote unit 100 establishes a session via the
switched cellular network or a wireless link in a PCS network.           virtual session server 215 to set up a virtual presence with the
  The communication interface 210 is preferably coupled to               application program 220. Preferably, the virtual session
a communication server 212. The communication server 212                 server 215 also provides a link to the communication server
may be thought of as generalization of a private branch                  212 to provide it access to the virtual session. When the
exchange (PBX). The communication server 212 accepts                10   remote unit 100 disconnects from a physical connection 207
tele-traffic from any variety of sources and provides switch             or 208, the virtual session is maintained within the table
able connections to couple different sources together. For               structure 225. When the remote unit 100 later wishes to rees
example, the communication server 212 may be implemented                 tablish communication with the application program 220, the
as a PBX which receives a set of direct inward dial lines from           virtual connection server 215 is operative to keep the virtual
a central office operated by the public telephone network. The      15   session active and to allow the user rapid and nearly transpar
PBX then provides local users with extensions and allows                 ent access to the application program 220. Similarly, the
local users to call each other by dialing the last four digits of        virtual session also preferably is used to provide a virtual
their telephone numbers. The PBX typically provides an out               communication link between the communication sever 212
side line to a user once the user has dialed a nine.                     and the remote unit 100. In some systems, a first virtual
  The communication server 212 may also be configured to                 session is established between the remote unit 100 and the
provide additional types of connections. Such as packet based            application program 220, and a second virtual session is
Voice and video connections according to the H.323 interna               established between the remote unit 100 and the communi
tional standard. In such an embodiment, the communication                cation server 212. The details of the operation of the virtual
server 212 provides a gateway function passing calls between             session server 215 and the virtual session protocols are dis
the public switched telephone network and a network such as         25   cussed below in connection FIGS. 3-8. Before proceeding to
the Internet. The communication server 212 may also provide              these portions of the detailed description, two embodiments
other communications services such as Voice mail, email,                 of the system 200 are described.
fax-mail, call distribution and the like. In systems involving              In a first exemplary embodiment of the system 200, a
Internet telephony, the communication server may operate                 mobile worker Such as a home-care professional operates the
only using packet protocols and not include an interface for        30   remote unit 100 to establish and maintain a virtual session
circuit Switched connections.                                            with the application program 220. In one embodiment, the
  The communication interface 210 is also coupled to a                   application program 220 controls access to a database includ
virtual session server 215. The virtual session server 215 is            ing complete medical and billing records for individual
coupled to a table structure 225 and an application program              patients. Depending on working conditions, the home-care
220. The table structure 225 is preferably implemented as a         35   professional may require access from a wireless connection
Software entity and may be located in a memory module                    Such as a cellular connection, or else may be able to commu
within the server 215. The virtual session server 215 may be             nicate via a wireline connection provided within a patients
implemented as a software entity which executes on a hard                home. As the home care professional proceeds through a
ware platform. The hardware platform of the virtual session              given workflow, the professional will eventually need to com
server 215 may be designed with an internal architecture            40   municate with the application program 220. When this time
similar to the remote unit 100 but is designed to provide a              arrives, the present invention is operative to establish a physi
higher computation capacity and to handle multiple users.                cal connection between the home-care professional and the
When Supporting a virtual session server, the display monitor            application program 220. The professional need not be aware
130 is optional as users may control the virtual session server          the physical connection has not been available since the time
215 remotely. The control program module 120, when imple            45   the virtual session was first established. The virtual session is
mented in the virtual session server 215 provides the server             maintained by the virtual session server 215 and the protocols
side of the communication protocols discussed in connection              of the present invention are employed to ensure such a virtual
with FIGS. 3-8. Hence the remote unit 100 and the virtual                connectivity is provided without the need for the remote unit
session server 215 involve similar architectures and respec              100 to be continuously connected to the application program
tively implement the client and serversides of a set of virtual     50   220.
session-related communication protocols of the present                      In a second exemplary embodiment, the application pro
invention.                                                               gram 220 is a communication server operated by an ISP. In
   The application program 220 may execute on the same                   this example, the remote unit 100 is operated by an Internet
hardware platform as the virtual session server 215. In gen              user. After the Internet user has remained inactive for a period
eral, both the virtual session server 215 and the application       55   of time, the connection 208 is terminated. At a later time,
program 220 may be implemented as Software modules run                   when the Internet user clicks on a hyperlink, thus demanding
ning on personal computers, workStations, dedicated custom               service, a short delay is incurred while the connection is
hardware, mainframe, or file servers. For example, the virtual           reestablished. The remote unit is provided access without the
session server 215 may be implemented as a software module               user needing to reestablish a connection. When the user clicks
running on an UltaSparcTM. workstation or file server from          60   on a hyperlink, the telephone is rapidly dialed without pre
Sun Microsystems Inc. The software may be written to                     senting dialingtones to the user. An authentication packet and
execute over a multitasking operating system such as                     a request packet are sent using a low data rate protocol such as
SolarisTM. from Sun Microsystems Inc. or WindowsNTTM.                    one used for line-rate negotiation in modems. The user is
from Microsoft Inc. In a first preferred embodiment, the                 authenticated by the server and the request packet is for
application program 220 includes a distributed database pro         65   warded through the Internet to the Internet site referenced by
gram running on a collection of networked servers such as                the hyperlink. While the remote Internet server takes time to
Sun UltraSparcTM. servers. In a second preferred embodi                  respond to the request, a higher line speed is negotiated in the
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background without burdening the user. Because a home                    server oriented functions, while the client-side software pro
Internet user uses the same analog connection between the                vides a user interface to the user. The remote unit 100 can then
user's premises and a network interface, the modem param                 control the operations of the virtual session server 215 using
eters may be preferably saved by the server in the table 225 to          standard remote session Software. An example of commer
accelerate re-negotiation. The user is provided access almost            cially available remote session software is PCAnywhereTM.
immediately, and the connection is reestablished transpar                from Semantec Corporation. In another embodiment, the vir
ently. Note while this example focuses on an Internet appli              tual session server executes the client-side Software in paral
cation, the techniques apply to any application whereby a                lel with the remote unit. In still another embodiment, the
network site is accessed by activating a hyperlink.                      remote unit executes the client-side software, and the virtual
  As will be discussed below, the virtual session between the       10   session server merely provides a connection stream to pass
remote unit 100 and the virtual session server 215 provides a            data from the application program 220 to the remote unit 100.
means to initiate transfers in both an uplink and a downlink             When the virtual session is in a deactivated state, the virtual
direction. The uplink direction is from the remote unit 100 to           session server emulates the client-side Software as needed to
the virtual session server 215, and the downlink direction is            maintain an active session with the application program 220
from the virtual session server 215 to the remote unit 100. A       15   in the absence of the remote unit 100. A wide variety of
virtual session is said to exist between the remote unit and the         equivalent techniques may be used to allow the virtual session
virtual session server 215. This virtual session may be used to          server 215 to maintain a pointer or re-entry point into the
create individual virtual sessions between the remote unit 100           application 220 while acting as a proxy agent to maintain the
and the application program 220, and between the remote unit             logon for the remote unit 100. A table structure is preferably
100 and the communication server 212. For example, an                    used to allow the virtual session server to simultaneously
uplink connection is established, and when a home Internet               maintain a plurality of logons for a plurality of different
user has been inactive for a period, the connection is dropped.          remote units.
As discussed above, the connection is reactivated transpar                  In some embodiments, the remote unit 100 may need to
ently when the user once again activates an Internet link, as in         maintain a plurality of virtual sessions with a plurality of
an Internet browser. In the same example, a user may have an        25   different virtual session servers. For example, an independent
email reader program connected through a virtual session. If             contractor may provide home-care services for two distinct
an email comes in for the user and the virtual session is in             health regions. Each health region may use a separate data
place, the email should be rapidly forwarded to the user. To do          base. The remote unit 100 may then access these separate
this, the user's phone is dialed in a downlink direction dial-out        databases using a first and a second client-side application
link by the virtual session server 215 via the communication        30   Software module. During the course of a day, the remote unit
interface 210. The remote unit preferably suppresses the first           may need to activate the first or the second client-side appli
ring and examines caller identification data. When the caller            cation software modules. In such case the remote unit 100 is
identification data indicates the calling party is the virtual           operative to maintain a table structure similar to the table
session server 215, the remote unit 100 automatically picks              structure 225. The table structure maintained by the remote
up the call and in this example, accepts the email. If caller       35   unit links an application Software module through an appli
identification is not used, a substitute protocol should be              cation session to a virtual session. When the first client-side
employed to assure that connection has been made to the                  application program demands access to a first database, the
proper application session defined within the virtual session.           virtual session layer software 154 in the remote unit causes a
The substitute protocol preferably involves sending a packet             physical connection to be established to Support virtual ses
header at the beginning of a call whereby the packet header         40   sion communications 182 with the first database application
contains one or more fields which identify associated the                program. Likewise, if the second client-side application soft
application session. Again, the user need not even realize a             ware module desires to access a second database, the virtual
connection has been reestablished. Instead, the user receives            session layer software module 154 activates a physical layer
the email message as though the connection had remained                  connection back to the second database server. In other appli
continuously active.                                                45   cations a single application program may be used which
  Another type of operation may occur when the user of the               accesses information on more than one virtual session server.
remote unit 100 is actively connected to the virtual session             In Such case a single application program can select the Vir
server 215 and a call comes in directed to the remote user's             tual session to activate based on the communications request
extension. At this point the call is preferably converted into           generated from within the application program. In still other
packets and is sent to the user over the existing connection. In    50   embodiments, a single physical connection 208 or 207 may
an alternative embodiment, the physical connection is auto               be used to communicate with the communication interface
matically and temporarily dropped and the call is forwarded              210. The communication server 212 then forwards packets to
to the remote user. The virtual connection to the application is         a first local virtual session server Such as the virtual session
maintained through the virtual server. The communications                server 215. If the received communication packets are des
module 125 preferably analyzes caller-identification data to        55   tined for a second virtual session server, then the communi
determine the incoming call is a voice call to cause the                 cation server 212 preferably forwards the packets to a remote
optional telephone aspect of the remote unit 100 to ring. More           virtual session server using a network connection Such as an
details related to the foregoing system operation are dis                Internet connection.
cussed in connection with FIGS. 3-8 below.                                  Referring now to FIG. 3, a method 300 is illustrated to
  The virtual session server 215 is able to maintain an open        60   show how the remote unit 100 preferably operates to activate
logonto the application program 220. In one embodiment, the              a connection. The method 300 is preferably practiced by the
virtual session server 215 executes a client-side software               remote unit 100 in support of a virtual session with the virtual
which interfaces with the application program 220. That is, if           session server 215. A first step 305 of the method 300 involves
the application program 220 employs a client-server archi                actions within a workflow process 305. The workflow process
tecture, the application program 220 will implement a server        65   305 includes the step 305 of the method 300 and also per
side software module which interacts with the client-side                forms other activities to interact with a user's workflow
software. The server-side program performs database or other             requirements. Control loops from the first step 305back to the
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first step 305 via a control path 310. The workflow, as dis             may be established over the wireless link 207. One preferred
cussed above, is preferably made up of a menu system and/or             embodiment of a remote unit 100 incorporates a cellular
a set of interactive screens traversed by a worker in perform           radio. In this case the dialer dials a telephone number and a
ing a set of tasks. For example, a home-care professionals              connection is established using a public Switched cellular
workflow involves accessing and displaying a patient’s medi             telephone network so that the connection is set up on the link
cal record, entering a set of data into the medical record, and         208. Stationary Internet based embodiments perform the sec
performing tasks indicated by the doctor's directions as anno           ond step 320 by dialing a telephone number using an auto
tated in the medical record. In this example, as the home-care          matic dialer which dials a land line connection for a modem.
professional moves from one screen to the next, control loops           In all cases, it is preferred to Suppress the dialing tones and
via the control path 310. The workflow process 305 is an           10   line-rate negotiation signals so the connection may be estab
application program which executes on the CPU 105. The                  lished transparently to the user.
workflow process 305 is preferably implemented as a process                Control next passes from the second step 320 to a third step
running on the CPU 105 in a multitasking operating environ              325. In the step 325, an authentication code is transmitted
ment. A multitasking operating environment is one in which              from the remote unit 100 to the communication interface 210.
multiple programs or processes may execute in parallel by          15   This authentication code is then passed to the virtual session
sharing time slots within the CPU 105. Multitasking operat              server 215. The virtual session server evaluates the authenti
ing system software is well known and is readily available. In          cation code to determine if access is to be permitted. In a
a multitasking-programming environment a first process may              preferred embodiment, the authentication code involves a
execute in a normal fashion and provide an interface to a user.         digital signature as is known in the field of public key cryp
At the same time a second process may be executed by shar               tography. In a preferred embodiment, all transmissions are
ing CPU cycles without the user's intervention or knowledge.            encrypted using public key cryptography. Some systems may
In Such a case the second process is said to be a background            be implemented using various encryption standards Such as
process or is said to perform background processing. At some            secure Sockets layer based encryption. The amount of authen
point in the course of the workflow, a physical layer commu             tication and encryption used in any given embodiment is left
nication connection will be needed to communicate informa          25   to the system designer, but preferably all transactions are
tion between the remote 100 and the application program 220.            encrypted as described above.
   When a step in the workflow process 305 is performed                    Control next passes from the third step 325 to a fourth step
leading up to the need for a physical layer communication               330. In the fourth step 330, a session is established/reacti
connection, control next passes from the first step 305 to a            vated with the virtual session server 215. The session is estab
second step 320 via the control path.315. The control path.315     30   lished the first time the method 300 passes control to the step
is activated when the workflow process 305 provides a pre               330. Subsequently the step 330 is operative to reactivate the
diction indicating a physical layer communication connec                session with the virtual session server. When the session
tion will Subsequently be needed. In some cases the predic              between the remote unit 100 and the virtual session server 220
tion may be provided right when the physical layer                      is reactivated, virtual session communications resume. At this
communication connection is needed. In other cases, the pre        35   point, the virtual session server 215 correlates information
diction 315 may be used to initiate background processing to            stored in the table structure 225 with the connection and
download data which will not be needed until a later time. In           provides the remote unit 100 access to the application pro
menu based systems, the prediction 315 may be learned by                gram 220. If no data is stored in table structure 225, access is
observing the workflow habits of a user. The prediction 315 is          provided to a default logon screen allowing remote unit 100 to
a function of the application program or workflow 305 and is       40   establish a new application session. The virtual session server
optional. In the second step 320, a connection is established in        215 then populates the table structure 225 to establish a vir
the background. Background processing enables the user to               tual session. The step 330 involves setting up a stream con
continue interacting with the workflow process 305 while a              nection between the workflow process 305 and a protocol
physical layer communication connection is simultaneously               stack. The protocol stack is operative to read information bits
and transparently established. That is, the physical layer com     45   from the stream connection and communicate the bits across
munication path is reestablished without inhibiting the user            an external communication link. Bits received over the exter
from interacting with the workflow 305. Hence when control              nal communication link are converted by the protocol stack
passes via the control path 315 to the step 320, control pref           into information bits to be sent back to the workflow process
erably simultaneously passes via the control path 317 back              305 across the connection stream. Once the appropriate com
into the workflow. The background process is preferably            50   munication processes are configured, control next passes
forked as a separate task and two execution flows proceed in            back to the workflow process 305. Due to the aforementioned
parallel by time sharing the CPU 105. Multitasking is well              forking operation, the passing of control back to the workflow
known in the art and is implemented using interrupt based               process 305 may have already occurred via the control path
processing. In alternative embodiments the control path 317             317. In this case the passing of control from the step 330 to the
may be deleted and a single control flow may be implemented        55   workflow process is not explicitly performed.
using the control path 315. However, this embodiment may                   When control loops back from the fourth step 330 to the
require the user to wait for the connection to be established           workflow process 305, a physical layer communication con
and is hence not deemed to be the preferred embodiment of               nection is activated for current or Subsequent communication.
the method. Other equivalent embodiments set up the com                 When the user gets to a point in the workflow where commu
munication path transparently by multiplexing the CPU 105’s        60   nication with the application program 220 is needed, the
computation cycles from within the workflow process or                  connection has already been transparently set up in the back
Some other process.                                                     ground. Hence the user gets the feel of being connected to the
   Once control has been forked via the control path315 to the          application program 220 all the time, where in fact the remote
second step 320, a dialer within the communications module              100 is connected via a physical channel to the application
125 preferably dials to establish a physical layer communi         65   program 220 only a fraction of the time. This virtual connec
cation connection with the communication interface 210. In              tion saves communication resources and money whenatoll is
embodiments using dedicated radio links, the connection                 charged based on the amount of usage on the link 207 or the
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link 208. In some embodiments, the fourth step 330, or an               prior art solution by allowing the user to gain almost imme
execution thread within the workflow 305 is operative to                diate access without a significant delay.
upload or download information in the background. This way                 In a first step 405, a protocol stack or other process prac
the user has ready access to data contained in the application          ticing the method 400 receives a communications request
program 220, but in generala shorter connect time is required.     5    from a user program. For example, this occurs when a user
While with prior art systems it is burdensome for a user to             clicks on an icon to initiate the establishment of an Internet
connect to a central server and download and upload infor               connection. Control next passes to a step 410 where the con
mation, with the virtual session of the present invention the           nection is initiated. This step typically involves an automatic
user need not even be aware this process is occurring. Rather           dialer dialing the number of an Internet service provider
the user feels as though he or she is continuously connected       10   (ISP). The ISP software may be implemented as a communi
with a fast connection because the data needed at a givenpoint          cation server application corresponding to the application
in the workflow is already available locally or has been                program 220. In this case access to the application program is
uploaded in the background transparently without user inter             governed by the virtual session server 215.
                                                                           Control next passes from the second step 410 to a third step
vention. In systems where server synchronization is an issue,      15   415. In the third step 415 an authorization sequence is
file semaphores and/or direct active sessions not employing             exchanged. In a preferred embodiment public key cryptogra
uploading and/or downloading of records may be used.                    phy involving digital signatures and keys is used. Embodi
   Based on another point in the workflow, another prediction           ments involving a virtual session server 215 either set up a
is made to predict when the communication channel will not              session or activate an existing session during the third step
be needed for some time. For example, it may be known,                  415. Control next passes from the third step 415 to a fourth
based on the workflow, the home-care professional will next             step 420. In the fourth step 420, one or more initial application
perform a sequence of tests and enter data into a screen                layer data packets are transmitted across the connection using
displayed on the remote unit. Only at a later time will the             a low speed protocol. A low speed protocol is used by the
workflow come to a point where this information is to be                transmitter and receiver when performing line-rate negotia
uploaded to the application program 220. When such a pre           25   tions. For more details of line-rate negotiation protocols, see,
diction is made, control passes from the first step 305 via the         for example, the V.34 and V.90 standards from the Interna
control path 318 to a fifth step 335. The fifth step 335 is             tional Telecommunications Union. In the present invention,
operative to deactivate the connection established over the             the low speed protocol is used to transmit application layer
link 207 or the link 208. The step 335 may optionally involve           data before the line-rate negotiation procedures have com
forking a separate execution thread or otherwise accessing a       30   pleted. This avoids the need for the user to wait for line-rate
separate process in a multitasking environment. Alterna                 negotiation to complete before being able to access a com
tively, the fifth step 335 may be performed by executing a set          munication path.
of instructions in the workflow process 305. At a later time, a            Control next passes from the fourth step 420 to a fifth step
prediction may be made indicating the link 207 or 208 needs             425. In the fifth step 425, initial data is displayed. Software
to once again be activated, whereby control again passes over      35   located locally in the remote unit 100 preferably contains
to the second step 320 via the control path 315. It should be           high-volume graphics related data so that the initial data
noted different systems will typically set their prediction             exchange of the step 420 only requires a small amount of data
times according to the economic conditions involved. For                to be transferred. For example, the user logs onto the Internet
example, in Some systems the first minute of connection time            and almost immediately sees a screen of information indicat
may cost five times as much as all Subsequent minutes. In this     40   ing the user is connected and the system is ready to accept
case predictions would be preferably set according to a crite           inputs. This is made possible by displaying locally held
rion to minimize cost by not establishing and terminating               screens of graphical data and allowing a small amount of
connections more often than necessary. If a flat rate were              specific information Such as time, date, and headlines to be
charged per minute connections would be set-up and termi                received and displayed. If the user then immediately clicks on
nated more often. If automatic uploading and downloading is        45   a link, an application layer request packet is sent using the
performed in the background, a very efficient use of air-time           line-rate negotiation protocols data format. This allows the
can often be achieved while presenting the user with the                user to immediately begin making requests before the line
appearance of being continuously connected to the applica               rate negotiations have completed. In many cases the user will
tion program 220.                                                       pause and read the headline information, giving the system
   Referring now to FIG. 4, a method 400 of establishing a         50   even more time to perform line-rate negotiation in the back
communication link with low delay is illustrated. The method            ground.
400 may be practiced by both the remote unit 100 and the                   Control next passes from the fifth step 425 to a sixth step
communication interface 210. This method is most applicable             430. In the sixth step 430, a background process is forked to
to systems involving modems whereby digital data is trans               perform line-rate negotiation. Line-rate negotiation is
ferred over an analog channel requiring receiver training.         55   allowed to proceed in the background while the user is read
Receiver training involves transmitting data sequences                  ing the information provided on the initial display of the step
through a channel and allowing a receiver to adjust its receiver        425. Likewise, if the user had rapidly clicked on a link, a
parameters. Receiver parameters include echo canceller and              request packet is sent out and while the server is responding to
equalizer filter coefficients. Most systems also adjust their           the request, the background line-rate negotiation may pro
data rates and signal constellations based on observed condi       60   ceed. The step 430 is operative to perform line-rate negotia
tions. In modems, this entire process is known as line-rate             tion so as to set up a high-speed connection for Subsequent
negotiation. Prior art systems involving receiver training are          higher Volume data transfers. In embodiments involving a
tedious to use because they force the user to wait while the            virtual session server 215, the user's line speed parameters
receiver is trained. Most systems play the training signals             may be stored in the table structure 225. For example, if the
though a speaker to allow the user to hear the training process.   65   user is an Internet user and the application program 220 is an
This lets the user know what the computer is doing for the              ISP, the user will often dial in from the same location. Thus
duration of the delay. The method 400 improves upon this                parameters derived in a previous activation of a communica
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tion channel will be either identical or similar to those used in        user identification and a password as presented to the appli
a current activation. Hence the sixth step 430 optionally                cation program 220. For example, a user name and a pass
involves accessing from the table 225 a set of starting param            word may be used as user authentication parameters. Prefer
eters derived from the activation of the communication chan              ably public key encryption is used to encrypt all information
nel. If communication is needed before the line-rate negotia             so the password sent from the remote unit 100 to the appli
tion has completed, communication preferably proceeds at                 cation program 220 cannot be effectively intercepted. The
the highest rate negotiated up to that point.                            remote unit 100 also preferably sets up a virtual session data
   Once the line-rate negotiation process of the step 430 has            structure to hold similar information related to the virtual
completed, control passes to a seventh step 435. In the step             session. Once the virtual session has been set up, the remote
435, communication is able to proceed at full speed. In most        10   unit 100 may access the application program 220. Also, the
cases where this method is implemented, the user will get the            remote unit 100 may optionally access the communication
full benefit of being connected almost immediately without               server 212 for communication services.
the normal delay associated with prior art systems. This is so              Control next passes from the second step 510 to a third step
because initial low-volume data is allowed to pass through the           515. In the third step 515, the physical connection established
channel before the line-rate negotiation has completed. Line        15   in the first step 505 is dropped. Meanwhile the virtual session
rate negotiation then proceeds in the background in parallel             data structures and table entries established in the second step
with other activities such as the user reading headline infor            510 are retained. The session is allowed to proceed while no
mation or a distant server accessing data and responding to              physical layer connection exists. That is, the step 510 is
the initial data request packet sent across the Internet. This           operative to set up a table structure including one or more data
technique is useful when a user is maintaining a virtual ses             structures which allows a virtual session to be maintained in
sion with a remote server because it is imperative to allow the          memory while other activities occur. Hence a passive back
user to appear to be connected without having to experience              ground thread of execution passes from the step 510 to a
delays when accessing data. The method 300 and the method                passive step 540 whereby the virtual session is maintained.
400 may be performed together in a complementary fashion                 This allows the remote unit 100 to stand by or be used for
to make the virtual session appear to be constantly available.      25   steps of the workflow process 305 not requiring communica
   The method 400 may be practiced by the remote unit 100                tion with the application program 220. Once the user needs to
and the virtual session server 215. When the remote unit 100             communicate with the application program 220, or when a
initiates the method, the virtual session server 215 executes            prediction 315 is made, control next passes from the third step
steps 410, 415, 420, 430 and 435. When the virtual session               515 to a fourth step 520. The step 520 is operative to reestab
server 215, the application program 220, or the communica           30   lish a second physical layer communication connection to
tion server 212 initiates the method, one or a combination of            allow communication to proceed once again using the session
these servers practice the steps 405, 410, 415, 420, 430, and            established in the second step 510. This connection reestab
435. The first step 405 involves, for example, receiving a               lishment may be performed in response to the prediction 315
communication request such as a telephony call or an email               and may use the low-delay connection establishment tech
for the remote unit 100. In some systems, the first step 405        35   nique of the method 400.
may involve a request generated from within the application                 In some embodiments, the present invention involves using
program 220.                                                             distinct and separate communications media to perform the
  Referring now to FIG. 5, a method 500 of establishing and              step 505 and the step 520. For example, a mobile worker may
operating a virtual session is illustrated. For example, the             call in from home to set up the virtual session in the step 510
method 500 establishes a virtual session between the remote         40   using the first physical layer communication connection
unit 100 and the virtual session server 215. The method 500 is           established in the step 505. Later in the day, the worker may
practiced by both the remote unit 100 and the virtual session            call in from a restaurant while catching up on Some records
server 215. In a first step 505 a first physical layer communi           keeping. This second use of the virtual session involves use of
cation connection is established with a remote entity. If the            the second physical layer communication connection which
method is practiced by the remote unit 100, then the remote         45   in this example is a wireless connection different from the
entity typically corresponds to the virtual session server 215.          landline connection used to initiate the session from home
The virtual session may be used to Support virtual Sub-ses               earlier in the day. At a still later time, the worker may call in
sions between the remote unit 100 and the application pro                from a patient’s home via a third physical layer communica
gram 220. Also, a virtual sub-session may be established                 tion connection while performing home-care services. If
between the remote unit 100 and the communication server            50   modem starting parameters have been stored in table 225,
212. For the purposes of discussion herein, all of these virtual         they are preferably updated whenever the communication
sessions will be referred to simply as virtual sessions. If the          connection is changed. Hence the virtual session of the
method 500 is practiced by the virtual session server 215, then          present invention enables a mobile worker to continue com
the remote entity typically corresponds to the remote unit.              munications via the most expedient and/or economical means
The step 505 may be activated according to the prediction           55   without causing the user to have to reestablish a communica
315, and the step 505 may use the method 400 to allow the                tion connection. Preferably, when the remote unit 100 is
connection to be set up with very low delay.                             connected to a communications source via the connector 127.
   Control next passes from the first step 505 to a second step          the remote unit 100 automatically detects this connectivity
510. In the second step 510 a session is established with the            and makes use of it for Subsequent virtual-session communi
remote entity. In a preferred embodiment, this involves             60   cations. That is, the present invention contemplates the avail
exchanging password information and agreeing upon a set of               ability of various forms of “pigtail connectors being avail
keys to encrypt data transacted in the session. Also, the virtual        able so the remote unit 100 can operate in a “plug-and-play”
session server 215 preferably sets up a table entry in the table         fashion. Pigtails may be supplied to allow the remote unit to
structure 225. The table entry indicates the presence of a               connect to the PSTN, the Internet, or to another computer via
virtual session. The table entry may include modem param            65   a universal serial bus, for example.
eters as discussed in connection with FIG. 4. Also, the virtual             Control next passes from the fourth step 520 to a fifth step
session as set up in the table entry links the remote unit to a          525. In the fifth step 525 an authorization sequence is
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exchanged. This is preferably implemented using public key               phone call is being set-up. More details relating to commu
encryption and digital signatures. Some embodiments may be               nications initiated by the virtual session server 215 back to the
developed which do not implement the fifth step 525, but                 remote unit 100 are discussed in connection with FIG. 7.
preferred embodiments do make use of user authentication.                   Once the second physical layer communication connection
After the fifth step 525 has completed, the session is resumed           is established in the sixth step 630, possibly according to the
in a sixth step 530. Over the course of the virtual session,             method 400, control next passes to a seventh step 635. In the
control may loop back to the third step 515 as many times as             seventh step 635, authorization codes are verified similarly to
the virtual session is activated with a new physical connec              the second step 610. Once the user codes have been verified to
tion. When the sixth step 530 is entered, the virtual session is         be correct, control next passes to an eighth step 640 whereby
once again activated so that the passive step 540 also passes       10   communication once again resumes using the previously
control to the sixth step 530. In a minimal implementation of            established virtual session.
the method, no looping occurs and the method terminates                    Referring now to FIG. 7, a method 700 of processing
after the first pass through the sixth step 530.                         communication requests in a virtual session is illustrated.
   Referring now to FIG. 6, a method 600 practiced by the                This method is preferably practiced by the virtual session
virtual session server 210 is illustrated. In a first step 605, a   15   server 215 simultaneously with the method 600. In a first step
first physical layer communication connection is established             705 a virtual session is established between the virtual session
for communicating with the remote unit 100. Control next                 server 215 and the remote unit 100 as discussed in connection
passes to a second step 610 whereby a set of authorization               with FIGS. 5 and 6. At some later time, while the virtual
parameters are accepted and authenticated. As discussed in               session is active, the communication server 212 receives an
connection with FIG. 5, the authentication parameters pref               incoming communication request for the remote unit 100.
erably include the exchange of public keys which include a               Because the virtual session server 215 practices the method
digital signature in accordance with public key cryptography.            500 and/or the method 600, depending on the time of arrival
Control next passes to a third step 615 where a user identifi            of the communication, the remote unit 100 may or may not be
cation and a password are passed by the virtual session server           physically connected to the virtual session server 215 by a
215 to the application program 220 on behalf of the remote          25   physical communication link. Hence when the communica
unit 100. As discussed in connection with FIG. 5, the user               tion is received, control passes from the step 705 based on a
identification and the password to be presented to the appli             decision 710 which determines whether a physical connec
cation program 220 are preferably transmitted in encrypted               tion currently exists to the remote unit 100.
form. Once the application program 220 authenticates the                    If the virtual session is presently in a state whereby the
user identification and password needed to gain access, the         30   physical connection has been disconnected, control passes
virtual session server 215 enters an entry into the table struc          from the first step 705 to a second step 715. In the second step
ture 225 to hold a set of session parameters. The session                715 the communication request is accepted by the communi
parameters include the user identification, a sessionidentifier,         cation server 212 through a direct connection or via the com
encryption data and possibly other data Such as modem start              munication interface 210. Control next passes to a third and
ing parameters. Once the session has been logged into the           35   optional step 720 whereby a specific caller identification
table, the user may use it to communicate with the application           packet is associated with the communication type. For
program 220.                                                             example, if the communication involves a telephone call a
   Control next passes from the fourth step 620 to a fifth step          first caller identification packet is sent identifying an exten
625. In the fifth step 625 the physical layer connection is              sion used for telephone calls. If the communication involves
dropped. This step is performed when the remote unit does           40   an email, a second caller identification packet is sent identi
not currently require communications with the application                fying an extension used for email. On the other hand, if the
program 220. In step 650 the virtual server maintains the                communication comes from the application program 220,
application session while the physical connection is discon              still another caller identification packet is sent. When this
nected. At a later time, when the user needs access to the               optional use of a caller identification packet is employed, the
application program or when the prediction 315 is made,             45   remote unit 100 has the information needed to properly and
control next passes to a sixth step 630. In the sixth step 630 a         immediately respond to an incoming call as discussed in
second physical layer connection is established to allow com             connection with FIG.8. If a call is received by the remote unit
munication between the remote unit 100 and the application               from a source other than the virtual connection server 215, the
220 to resume. As discussed in connection with FIG. 5, the               caller identification information will identify the call as not
second physical layer connection may involve a different            50   being associated with the virtual session. Control next passes
communication path and/or medium as was used for the first               to a fourth step 725 whereby an automatic dialer responds to
physical layer connection. That is, a plurality of communica             communication requests and the communication is for
tions media are preferably supported to allow the user to call           warded to the remote unit 100.
in via different means, for example via a wireless or a wireline           Another situation arises when the communication request
connection. The step 630 may be initiated due to actions at the     55   arrives while the remote unit 100 and the virtual session
remote unit 100 or in response to events occurring in the                server 215 are currently connected by an existing physical
server. For example, the communication server 212 may                    channel. According to one mode of processing, control stays
receive a call for the remote unit. Alternatively an email may           in the first step 705 while communication proceeds in an
be received which needs to be forwarded to the remote unit. In           active phase of a virtual session. When the communication
Such a case, the sixth step 630 optionally involves sending a       60   request arrives, the communication server 212 signals to the
caller identification packet to let the remote unit know what            virtual session server that a new call has arrived for the remote
type of communication, such as a voice telephony call, an                unit 100. The virtual session server then causes the existing
email, or a fax, is inbound. A caller identification packet is a         physical layer communication connection to be dropped and
sequence of information bits sent across a communication                 thus control passes from the first step 705 to the second step
connection identifying the calling party of the connection. In      65   715 as in the foregoing discussion. In another mode of pro
standard telephone systems, the caller identification packet is          cessing, the existing physical layer communication connec
transmitted between the first and second rings when the tele             tion is left in tact and control passes from the first step 705 to
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                               23                                                                          24
a fifth step 745. In the fifth step 745, the communication is                call. For example, different caller identification packets indi
packetized, and in a sixth step 750 the communication pack                   cate whether the incoming call is an email, a voice telephone
ets are passed along the existing physical layer communica                   call, or a communication from the application program 220.
tion connection. Control continues to loop back from the sixth                  Control next passes from the second step 810 to a third step
step 750 to the fifth step 745 during the course of the com                  815. In the third step 815, an application layer program is
munication. In this mode of operation the existing physical                  selected to process the incoming call. In the foregoing
layer communication connection is shared to provide the                      examples, an application may be launched to accept an email
remote user with a means to stay connected to the application                message, a voice telephone call, or to accept a communication
program 220 and communicate at the same time. In this case                   from the application program 220. If the communication is an
the physical layer is time shared by the virtual session to allow       10   email, it may be desirable to pop a mailbox icon on the screen
multiple modes of communications to proceed in parallel.                     or to produce a speech signal stating "you've got mail. If the
   Note the method 700 provides the user of the remote unit                  incoming call is a voice call, it may be desirable to allow the
100 with a virtual presence in the work place while actually                 telephone to ring like a normal telephone. If the communica
being remote. Independent of whether the remote unit is                      tion is from the application program 220, it may be desirable
presently actively connected to the virtual session server, the         15   to update data located in the screens of the workflow or
communication request may be forwarded to the remote unit                    otherwise signal the presence of new data. Once the appro
100 making the remote user appear to be present in the office                priate application has been launched to handle the incoming
at all times. The only time the remote unit 100 would not be                 communication, control next passes to a fourth step 820
reachable is when it is engaged in a communication with an                   whereby communication session is reactivated and the com
entity other than the virtual connection server. This problem                munication is processed. For example, one or more packets of
may be mitigated by allowing the remote unit to only be                      information may be received and related information Such as
reachable through the access number provided by the com                      an email message may be displayed. Also, a telephone call
munication server 212. If a call is placed from the remote unit              may be allowed to proceed or a set of information may be
to another point, this call too may be routed through the                    downloaded from the application program 220.
communication server 212. Systems which do allow the                    25      Although the present invention has been described with
remote unit to make calls outside the virtual session may                    reference to specific embodiments, other embodiments may
preferably employ voice mail at the communication server                     occur to those skilled in the art without deviating from the
212. When the remote unit again becomes available, the vir                   intended scope. For example, otherforms of communications
tual session server 215 may forward the communication to the                 Such as fax messages may be accepted and displayed by the
remote unit according to the method 700. Remote units may               30   remote unit 100. Also, the present invention may be used for
also be designed using call-waiting concepts whereby the                     applications other than mobile workers and Internet users.
virtual session may be re-activated by interrupting another                  Virtual sessions according to the present invention are appli
call.                                                                        cable to any situation where a continual connectivity is
  Referring now to FIG. 8, an optional method 800 practiced                  required but the cost to remain continuously connected is
by the remote unit 100 is illustrated. This method is practiced         35   high. Vehicle computers with cellular radio based Internet
when a virtual session exists, the remote unit and the virtual               connections are an example. In Such systems, the remote unit
session server are presently not connected via a physical                    100 may be a vehicle-mounted computer or may include a
channel, and a communication request is to be forwarded to                   connection to a vehicle-mounted computer. Also, virtual ses
the remote unit 100. In a first step a first ring signal is detected.        sions according to the present invention are applicable to any
Optionally, the first ring signal is suppressed so the user will        40   situation where the user should not be burdened with the need
not hear it. In some systems a vibrational first ring signal may             to upload and/or download data and go through connection
be allowed to pass through to notify the user of an incoming                 and disconnection procedures. Therefore, it is to be under
communication. In still other embodiments, the remote unit                   stood that the invention herein encompasses all Such embodi
may be programmed to Sound a normal ring on the first ring                   ments which do not depart from the spirit and scope of the
signal. In some embodiments the ring signal will not be a               45   invention as defined in the appended claims.
traditional telephone ring signal but will in general be any                    In an embodiment, a remote unit is provided, the remote
signal indicative of an incoming communication request.                      unit comprising a central processing unit operatively coupled
   In current systems, a caller identification packet is pre                 to a bus; a memory operatively coupled to the bus; a display
sented to the called party after the first ring signal. Hence                monitor operatively coupled to the bus; a communications
identification of the calling party becomes available at this           50   module operatively coupled to the bus; a control program
time. After the first ring signal, control passes from the first             module controllably coupled to the central processing unit
step 805 to a second step 810. In the second step 810, the                   and operative to cause the central processing unit to display a
caller identification information is evaluated. Note it would                user interface to a user via the display monitor, the control
be preferable to accept the caller identification data before the            program further being operative to cause the processor to
first ring, and the present invention contemplates systems              55   establish a first virtual session with a first remote entity using
whereby the virtual session server 215 signals to the PSTN to                a first physical communication connection is provided.
provide a caller identification packet before the first ring. This              In another embodiment, the first remote entity is a commu
service does not appear to be available from telephone service               nication interface coupled to a virtual session server, the
providers at this time. Embodiments also comprehended by                     virtual session server providing access to an application pro
the present invention include systems whereby the remote                60   gram via the virtual session. The remote unit may further
unit 100 immediately picks up an incoming call and caller                    comprise a table structure, the table structure comprising a
identification information is sent by the virtual connection                 plurality of data structures, the plurality of data structures
server 215 over the connection identifying the call-type. Dur                comprising a first data structure and a second data structure,
ing the second step 810, the caller identification packet is                 the first data structure comprising information relating to the
evaluated. As discussed in connection with the third step 720           65   first virtual session, and the second data structure comprising
of the method 700, the virtual session server 215 sends out a                information relating to a second virtual session with a second
caller identification packet to identify the type of incoming                remote entity; wherein the control program module is opera
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                                 25                                                                      26
tive to selectively reactivate one of the first virtual session and           In another embodiment, the control program module is
the second virtual session in response to a communication                  further operative to accept from the remote unita user authen
request from the user. Alternatively, the remote unit may                  tication parameter when the physical layer connection tran
further comprise a table structure, the table structure com                sitions from the disconnected State to the connected State, and
prising a plurality of data structures, the plurality of data              provide a communication path for whereby the remote unit is
structures comprising a first data structure and a second data             able to access the application program using the application
structure, the first data structure comprising information                 session.
relating to the first virtual session, and the second data struc             In another embodiment, the virtual session server further
ture comprising information relating to a second virtual ses               comprises a third coupling to a communication server,
sion with a second remote entity; wherein the control pro             10
                                                                           whereby the control program module is further operative to
gram module is operative to selectively reactivate one of the              accept a communication request from the communication
first virtual session and the second virtual session in response           server to be forwarded to the remote unit, and if a physical
to a communication request received via the communications                 layer communication connection is present, the control pro
module.
   In another embodiment, the first remote entity is a commu          15   gram further operative to activate a second application ses
nication interface coupled to a virtual session server, and the            Sion, the second application session between the remote unit
remote unit maintains a virtual presence with the virtual ses              and a communication program responsible for the communi
sion server by communicating using any of a plurality of                   cation request. The control program may issue a signal indi
communication types via the virtual session. The plurality of              cating to convert a media stream related to the communica
communication types may include Voice telephony and                        tion request into a packet stream to be routed via the second
email.                                                                     application session. Upon reception of the communication
   In yet another embodiment, the control program is further               request, if no physical communication connection is pres
operative to disconnect from the first physical communica                  ently active, the control program may be further operative to
tion connection, present a workflow to the user and predict,               process the communication request by dialing out to establish
based upon the workflow, when external communication will             25   an active physical connection and to then activate a second
be required, the control program further being operative to                application session, the second application session between
cause a second physical communication connection to be                     the remote unit and a communication program responsible for
established based upon the prediction, the second physical                 the communication request.
communication connection providing a physical layer con                       In another embodiment, activation of the physical layer
nection for the virtual session. The control program may be           30   communication connection, application layer data is trans
further operative to predict, based upon the workflow, when                mitted via the physical layer communication connection prior
information is to be uploaded and/or downloaded to and/or                  to the completion of a line-rate negotiation associated with
from the first remote entity, and to cause the information to be           the physical layer communication connection.
uploaded and/or downloaded in the background using the                        In another embodiment, different connections of the physi
second physical communication connection. The second                  35   cal layer communication connection use distinct communi
physical communication connection may be established                       cations media.
transparently without inhibiting the user interface from Sup                  In another embodiment of the present invention, a client
porting the workflow. The user interface may implement a                   server system is provided, the client-server system compris
workflow by presenting a sequence of interactive screens on                ing a remote unit comprising a control program module, the
the display monitor.                                                  40   remote unit operative to maintain a virtual session; a virtual
   In yet another embodiment, the control program is further               session server, the virtual session server operatively coupled
operative to drop the first physical connection, cause a second            to a communication interface via a first coupling, the com
physical communication path to be established, and commu                   munication interface coupled to the remote unit by at least one
nicate application layer data via the virtual session using the            communication link, the communication interface providing
second physical connection before a line-rate negotiation             45   a data stream including information received from the com
associated with the second physical connection has com                     munication link, the virtual session server operatively
pleted.                                                                    coupled to an application program via a second coupling; a
   In another embodiment of the present invention, a virtual               table structure, the table structure including a link to a data
session server is provided, the virtual session server compris             structure, the data structure including a plurality of bits
ing a first coupling to a communication interface the first           50   arranged to represent information relating to an communica
coupling providing access to a physical layer connection to a              tion session between the remote unit and the virtual session
remote unit; a table structure, the table structure operatively            server; and a control program module controllably coupled to
coupled to receive information from the first coupling, the                the virtual session server, the table structure and the applica
table structure storing parameters relating a communication                tion program, the control program module operative to cause
session; a second coupling to an application program, the             55   the virtual session server to establish an application session
second coupling comprising a communication path whose                      for use between the virtual session server and the application
access requires a user authentication parameter; and a control             program, store an application session parameter in the data
program module controllably coupled to the first coupling,                 structure and to link the data structure into the table structure,
the table structure, and the second coupling, the control pro              and maintain the application session in both the presence and
gram module operative to establish an application session for         60   absence of the physical layer communication connection,
use between the remote unit and the application program,                   Such that the application session is continuously activated
store a parameter relating to the application session in the               when the physical layer communication pathis in a connected
table structure, and maintain the application session in both              state and a disconnected State.
the presence and absence of the physical layer communica                      In another embodiment, the control program module is
tion connection, Such that the application session is continu         65   further operative to cause the virtual session server to execute
ously activated both when the physical layer communication                 a client-side application software module on the virtual server
path is in a connected State and a disconnected State.                     under remote control of the remote unit.
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   In another embodiment, the control program module is                     In another embodiment, the step of using further comprises
further operative to cause the virtual session server to execute         the steps of accepting a user authentication parameter and
a client-side application Software module on the virtual ses             passing the parameter to an application program to establish
sion server in parallel with the remote unit; and maintain a             an application session; and linking into a table structure a data
presence with the application program while the physical                 structure associating the remote unit with the application
layer communication path is in the disconnected State.                   session, the data structure thereby providing an access by the
   In another embodiment, the control program module is                  remote unit to the application program upon reactivation of
                                                                         the communication session.
further operative to cause the virtual session server to main
tain a communication path and grant the remote unit access to              In another embodiment, the first and second connections
the application program via the communication path after the        10   involve distinct communications media. The set of param
physical layer has been placed into the connected State.                 eters may be stored in a table, and the table may hold a
   In another embodiment, the control program module is                  plurality of such sets of parameters and maintains a plurality
further operative to cause the virtual session server to grant           of communication sessions with a plurality of remote entities.
                                                                         The method may further comprise the steps of converting a
the remote unit access to the application program via the           15   communications media stream to a packet stream and multi
communication path only after a virtual session authentica               plexing the packet stream via the application session over the
tion procedure has been Successfully completed.                          communication session. Alternatively, the method may fur
   In another embodiment of the present invention, a method              ther comprise the steps of disconnecting from the second
of accessing a central server from a remote unit is provided,            connection while maintaining the communication session;
the method comprising the steps of presenting a workflow to              initiating the establishment of a third connection; and pro
a user via a user interface; predicting, based upon the work             cessing the communication request by forwarding a commu
flow, when the user will require connectivity to the central             nications media stream via the communication session using
server; and based upon the prediction and in the background,             the third communication connection.
initiating the establishment of a physical layer communica                  In another embodiment, the method further comprises the
tion connection to the central server.                              25   steps of evaluating a header received over the second physical
   In another embodiment, the physical layer connection is               layer communication connection to determine an application
established to support a virtual session and the remote entity           program to process information transacted on the second
comprises a virtual session server.                                      connection; and based upon the evaluation, launching the
   In another embodiment, the method further comprises the               application program to communicate via the second connec
steps of making a second prediction, based upon the work            30   tion.
flow, the second prediction indicating when information is to               In another embodiment, a method of providing a virtual
be uploaded and/or downloaded to and/or from the central                 presence of a remote unit with a central server is provided, the
server; and based upon the second prediction, causing the                method comprising the steps of establishing a communica
information to be uploaded and/or downloaded in the back                 tion session with the remote unit using a first physical layer
ground using the physical layer communication connection.           35   communication path and dropping the first physical layer
   In another embodiment of the present invention, a method              communication connection; configuring a data structure, the
of establishing a connection with a low connection set-up                data structure linking the communication session to an appli
time is provided, the method comprising the steps of initiating          cation session; accepting a communication request from the
the establishment of a communication connection to be used               application program, the communication request requiring a
to communicate with a remote entity; communicating appli            40   physical layer communication path to the remote unit; dial
cation layer data via the communication connection prior to              ing-out to establish a second physical layer communication
the completion of a line-rate negotiation; and in the back               path to reactivate the communication session with the remote
ground, negotiating a line speed for Subsequent high-speed               unit, delivering a packet via the physical layer communica
communication.                                                           tion path, the packet containing information indicative of the
   In another embodiment, the method further comprises the          45   type of the communication request; and reactivating the com
steps of receiving an input, the input indicative of a request to        munication session with the remote unit and using the com
communicate with a remote entity; and transacting an autho               munication session to Support a connection stream between
rization sequence with the remote entity.                                the application program and the remote unit.
   In another embodiment, the input may be received by a user               In another embodiment, the data structure links a plurality
interface and the input may be indicative of a command to,          50   of application sessions to the communication session, the
access a network site using a hyperlink. Furthermore, the                application sessions including a first an application program
method may comprise the step of resuming the use of a virtual            which provides a communication service.
session via the communication connection.                                  In another embodiment, the communication service com
   In another embodiment, the step of initiating may be per              prises a voice telephony connection.
formed in response to a ring signal received from the remote        55      In another embodiment, the plurality of application ses
entity.                                                                  sions includes a second an application program which pro
   In another embodiment of the present invention, a method              vides access to a database.
is provided, the method comprising the steps of establishing               In another embodiment, the database comprises a medical
a first connection to a remote entity; using the first connection        record.
to establish a set of parameters needed to define a communi         60      In another embodiment, a system for maintaining a virtual
cation session with the remote entity; disconnecting the first           session is provided, the system comprising a virtual session
connection and maintaining the parameters related to the                 server, the virtual session server being operatively coupled to
communication session; establishing a second connection to               an application program, the virtual session server maintaining
the remote entity; communicating an authorization sequence               an application session with the application program on behalf
with the remote entity; and reactivating the communication          65   of a remote unit, the virtual session server maintaining a
session using as a communication path the second connec                  virtual communication session with the remote unit; and a
tion.                                                                    table structure comprising a plurality of memory locations
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                             29                                                                      30
arranged within a storage unit, the table structure operative to          8. A mobile handset, comprising:
maintain set of links correlating the virtual communication               a wireless communication interface configured to commu
session and the application session.                                         nicate over a wireless network with a remote entity;
   In another embodiment, the system further comprises the                a processor unit;
remote unit, whereby the remote unit comprises a protocol                 memory storing program instructions executable by the
stack used to maintain a communication session in the pres                   mobile handset, using the processor unit, to cause the
ence and absence of a physical layer communication path.                     mobile handset to:
   In another embodiment, the system further comprises the                   establish a communication session Supporting commu
application program.                                                            nication between the remote entity and one or more
   In another embodiment, the virtual session server is opera      10
                                                                                programs executing on the mobile handset:
tive to execute a client-side application software module                    inactivate the established communication session;
under remote control of the remote unit.
   In another embodiment, the virtual session server is opera                while the communication session is inactive, receive a
tive to execute a client-side application software module on                   set of information encoded on a wireless signal
the virtual session server in parallel with the remote unit; and   15          received from the remote entity via the wireless com
maintain a presence with the application program while the                     munication interface, wherein the set of information
physical layer communication path is in the disconnected                       was not sent in response to a request from the mobile
State.                                                                         handset:
   In another embodiment, the control program module is                      at an application layer, read identifying information
further operative to cause the virtual session server to main                  within the received set of information;
tain a communication path and grant the remote unit access to                in response to determining that the identifying informa
the application program via the communication path after the                    tion read at the application layer identifies a first pro
physical layer has been placed into the connected State.                        gram of the one or more programs executing on the
  In another embodiment, the virtual session server main                       mobile handset, reactivate the communication session
tains a proxy-presence with the application program to pre         25          between the remote entity and the one or more pro
vent the application program from terminating in the absence                   grams.
of a physical layer communication path to the remote unit.                 9. The mobile handset of claim 8, wherein the first program
  In another embodiment, the virtual session server accesses            is a messaging program.
the table structure to provide access to the application pro               10. The mobile handset of claim 8, wherein the first pro
gram by the remote unit via the application session upon the       30   gram is a browser program.
reactivation of the virtual communication session.                        11. The mobile handset of claim 10, wherein the received
                                                                        set of information corresponds to a requested web page.
  What is claimed is:                                                     12. The mobile handset of claim 8, wherein the communi
  1. A method, comprising:                                              cation session is established over a physical layer connection,
  establishing, at a computing device, a communication ses         35   wherein the physical layer connection is disconnected when
     sion Supporting communication between a first program              the communication session is inactive, and wherein the com
     executing at an application layer of the computing                 munication session is reactivated by reestablishing the physi
     device and a remote server,                                        cal layer connection.
  Subsequent to deactivation of the established communica                  13. An apparatus, comprising:
     tion session, the computing device receiving an incom         40      an external communication interface configured to couple
     ing communication from the remote server, wherein the                   to one or more networks external to the apparatus;
     incoming communication is not in response to a request                memory storing program instructions that, in response to
     sent by the computing device;                                           execution by the apparatus, cause the apparatus to per
  at the application layer, the computing device reading a set               form operations comprising:
     of information included in the incoming communica             45        establishing a virtual session with a remote entity;
     tion;                                                                   inactivating the established virtual session;
  in response to determining that the set of information read                receiving a set of information from the remote entity
     at the application layer includes information identifying                 while the virtual session is inactive, wherein the set of
     the first program executing at the computing device, the                   information was not sent in response to a request from
     computing device reactivating the communication ses           50          the apparatus; and
     sion between the first program and the remote server.                   reactivating the virtual session in response to determin
  2. The method of claim 1, wherein the computing device is                     ing, at an application layer, that identifying informa
a mobile handset.                                                              tion in the received set of information identifies a first
  3. The method of claim 1, wherein the communication                          application layer program that is stored on the appa
session is established over one of a public switched tele          55          ratuS.
phone network (PSTN); a cellular network, a PCS network.                   14. The apparatus of claim 13, wherein the first applica
  4. The method of claim 1, wherein the communication                   tion-layer program is a messaging program.
session is established over an Internet connection.                        15. A mobile handset, comprising:
   5. The method of claim 1, wherein the incoming commu                    a wireless communication interface configured to commu
nication corresponds to a web page.                                60        nicate via one or more wireless networks;
   6. The method of claim 1, further comprising:                          a processor unit;
   deactivating the communication session in response to a                memory storing program instructions executable by the
      prediction generated by the computing device.                          mobile handset, using the processor unit, to cause the
   7. The method of claim 1, wherein the establishing the                    mobile handset to:
communication session includes establishing a first physical       65        establish a communication session with a remote entity
layer connection between the computing device and the                           via the wireless communication interface;
remote Server.                                                               inactivate the established communication session;
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     while the communication session is inactive, receive a              subsequent to inactivation of the established virtual ses
       first communication from the remote entity, wherein                  Sion, receive a wireless communication from the
       the first communication was not initiated by the                     remote entity that is not responsive to a previous com
       remote entity in response to a previous communica                    munication from the apparatus;
       tion from the mobile handset:                                     reactivate the virtual session in response to determining
     reactivate the communication session in response to                    that the received wireless communication includes
        determining that the received first communication                   information identifying an application at the appara
                                                                            tuS.
        includes information identifying an application at the         21. A system, comprising:
        mobile handset.
  16. The mobile handset of claim 15, wherein the commu
                                                                  10   a mobile phone storing a first program executable at an
nication session is inactive while a wireless physical layer              application layer of the mobile phone; and
connection between the remote entity and the mobile handset            a server configured to:
                                                                         maintain a communication session between the server
is connected.
  17. A method performed by a computing device, the                        and the mobile phone, the communication session
method comprising:                                                15       Supporting communication with a first program
  during a communication session that has previously been                  stored on the mobile phone; and
     established with a remote entity and that is currently              Subsequent to deactivation of the communication ses
     inactive, receiving a first communication initiated by the            Sion, send a wireless signal to the mobile phone,
     remote entity, wherein the first communication has not                wherein the wireless signal includes a set of informa
     been initiated by the remote entity in response to a pre              tion identifying the first program, wherein sending the
     vious communication from the computing device;                        wireless signal to the mobile phone is not in response
  in response to determining that the received first commu                 to request from the mobile phone;
     nication includes information identifying an application          wherein the mobile phone is configured to:
     at the computing device, reactivating the communica                 receive the wireless signal sent by the server Subsequent
     tion session with the remote entity.
                                                                  25        to the deactivation of the communication session;
  18. The method of claim 17, wherein the computing device               at the application layer of the mobile phone, read the set
is a mobile handset.                                                        of information included in the wireless signal; and
   19. The method of claim 17, wherein the first communica               in response to determining that the set of information
tion is a wireless communication, and wherein the commu                     identifies the first program, reactivate the communi
                                                                  30        cation session.
nication session is a virtual session.
  20. An apparatus, comprising:                                        22. The method of claim 7,
                                                                       wherein the deactivation of the established communication
  a wireless communication interface configured to couple                session includes disconnecting the first physical layer
    the apparatus to a remote entity;                                    connection; and
  one or more processors;
  memory storing program instructions executable by the           35   wherein the reactivating the communication session
    apparatus, using the one or more processors, to cause the            includes establishing a second physical layer connection
     apparatus to:                                                       between the computing device and the remote server.
     establish a virtual session with the remote entity;                                      k   k   k   k   k
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,291,010 B2                                                                                       Page 1 of 2
APPLICATIONNO.              : 12/1943.11
DATED                       : October 16, 2012
INVENTOR(S)                 : Dowling et al.
It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         On Title Page 2, in item (56), under “OTHER PUBLICATIONS'', in Column 2,
         Line 24, delete “Conextants and insert -- Conexants --, therefor.

         In the Specification:
         In Column 1, Line 8, delete “2004 and insert -- 2004, --, therefor.

         In Column 1, Line 10, delete “10/335,821 and insert -- 10/335,821, --, therefor.

         In Column 5, Line 23, delete “PentiumTM. and insert -- PentiumTM --, therefor.

         In Column 5, Line 59, delete “central and insert -- control --, therefor.

         In Column 11, Line 60, delete “UltaSparcTM. and insert -- UltraSparcTM --, therefor.
         In Column 11, Line 63, delete “SolarisTM. and insert -- SolarisTM --, therefor.

         In Column 11, Line 63, delete “WindowSNTTM. and insert -- WindowSNTTM --, therefor.

         In Column 11, Line 67, delete “UltraSparcTM. and insert -- UltraSparcTM --, therefor.
         In Column 14, Line 5, delete “PCAnywhereTM. and insert -- PCAnywhereTM --, therefor.
         In Column 14, Line 18, delete “application and insert -- application program --, therefor.
         In Column 14, Line 38, delete “Software and insert -- Software module --, therefor.

         In Column 16, Line 33, delete “220 and insert -- 215 --, therefor.



                                                                                  Signed and Sealed this
                                                                           Twenty-sixth Day of November, 2013


                                                                                                 Margaret A. Focarino
                                                                       Commissioner for Patents of the United States Patent and Trademark Office
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CERTIFICATE OF CORRECTION (continued)                                                             Page 2 of 2
U.S. Pat. No. 8,291,010 B2
     In Column 21, Line 15, delete “210 and insert -- 215 --, therefor.

     In Column 21, Line 48, delete “application and insert -- application program --, therefor.
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                         EXHIBIT 4
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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

        Communication Interface Technologies LLC (“CIT”) provides evidence of infringement of claim 7 of U.S. Patent No. 6,574,239 (hereinafter
“the ’239 patent”) by Vivint Smart Home, Inc. (“VIV”). In support thereof, CIT provides the following claim charts.

        “Accused Instrumentalities” as used herein refers to at least VIV’s application (“App”) in systems and methods, including hardware and
software products including, but not limited to the VIV App as developed for mobile electronic devices (see, e.g.,
https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US), along with any hardware and/or software for provisioning
the App. Upon information and belief, the exemplary version herein and previous versions of the Accused Instrumentalities distributed prior to
expiration of the patents in suit operated materially in the same manner.

        These claim charts demonstrate VIV’s infringement, and provide notice of such infringement, by comparing each element of the asserted
claim to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an
expert report on infringement. These claim charts include information provided by way of example, and not by way of limitation.

       The analysis set forth below is based only upon information from publicly available resources regarding the Accused Instrumentalities, as
VIV has not yet provided any non-public information. An analysis of VIV’s (or a third parties’) technical documentation and/or software source
code may assist in fully identifying all infringing features and functionality. Accordingly, CIT reserves the right to supplement this infringement
analysis once such information is made available to CIT. Furthermore, CIT reserves the right to revise this infringement analysis, as appropriate,
upon issuance of a court order construing any terms recited in the asserted claims.

       CIT provides this evidence of infringement and related analysis without the benefit of claim construction or expert reports or discovery. CIT
reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on any such claim construction or expert reports or
discovery.
        Unless otherwise noted, CIT contends that VIV has directly infringed the ’239 patent in violation of 35 U.S.C. § 271(a) by selling, offering to
sell, making, using, and/or importing the Accused Instrumentalities. The following exemplary analysis demonstrates that infringement.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

       Unless otherwise noted, CIT believes and contends that each element of each claim asserted herein is literally met through VIV’s provision of
the Accused Instrumentalities. However, to the extent that VIV attempts to allege that any asserted claim element is not literally met, CIT believes
and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Accused
Instrumentalities, CIT did not identify any substantial differences between the elements of the patent claims and the corresponding features of the
Accused Instrumentalities, as set forth herein. In each instance, the identified feature of the Accused Instrumentalities performs at least substantially
the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, CIT asserts that,
on information and belief, any similarly functioning instrumentalities also infringes the charted claim. CIT reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by VIV. CIT also reserves the right to amend this
infringement analysis by citing other claims of the ’239 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities. CIT
further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




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                         COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                             U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                         Claim 7

     Claim 7                                           Vivint Service
 7   For use in controlling a virtual session on a     A method is specified for controlling a virtual session on a server.   The definition of a virtual session is
     server, a method comprising:                      described section 7a below.

7a   establishing a virtual session with a remote      Wireless push notification messages are sent over Transport Layer Security (TLS) sessions. Each Push
     unit, the virtual session being instantiated to   message includes an encrypted push token as per Endnote #1. The push token is sent in a Push Notification
     support at least one application layer            message over TLS sessions from the Vivint Server backend to the Vivint App (application program,
     program;                                          application layer program) running on a user’s smartphone or tablet (remote unit).

                                                       In the Vivint application, for example, a push notification contains information related to products and/or
                                                       services.




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                   COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                               U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                           Claim 7




                                      Also, the Server Application and the client-side App establish a separate TLS connection for traditional
                                      client-server communications. For example the Vivint Application Server program establishes a TLS
                                      session with the Vivint App.


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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                            U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                        Claim 7

                                                   The TLS session used for client-server communications between the Vivint Application Server and the
                                                   Vivint App correspond to the recited virtual session.

                                                   TLS session use a full handshake sequence that is used to establish connection parameters, and an
                                                   abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                                   an active state whereby new payload data can be sent via the virtual session once again.

                                                   See Endnote#2 for a discussion of the virtual session aspects of TLS.

                                                   Mobile applications communicate with their application server via TLS connections. These TLS
                                                   connections are established at the time the app is installed or launched and can be resumed at a later time
                                                   using a session token. See Endnote#2 for a discussion of TLS.

                                                   https://threema.ch/press-files/cryptography_whitepaper.pdf - Android uses TLS 1.2 resumable sessions.
                                                   https://www.icir.org/johanna/papers/conext17android.pdf - Android supports TLS and secure connections
                                                   between client app and server are ubiquitously used.
                                                   https://developer.android.com/training/articles/security-ssl. – “The Secure Sockets Layer (SSL)—now
                                                   technically known as Transport Layer Security (TLS)—is a common building block for encrypted
                                                   communications between clients and servers.” - Note that certain certificates are used, and these are used to
                                                   help create Android Device Tokens used in Push Notification messages. See Endnotes #1, and #2.

7b   placing the virtual session in an inactive    See Endnote #2. Note when the application data phase is finished, the TLS client-server data session is
     state;                                        placed back into the inactive state. Hence the end of application data marker is the signal used to place the
                                                   virtual session into the inactive state.

7c   sending a signal indicative of an incoming    Vivint Application server causes a push notification message (incoming communication) to be sent to the
     communication request and an                  Vivint App running on the user’s smartphone or tablet device (remote unit). See Endnote #1.
     application-program identifying packet
     to said remote unit, said application-        In the Vivint application, for example, a push notification contains information related to products and/or
     program identifying packet identifying an     services.

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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

     application program that needs to resume a
     virtual session and communicate with said
     remote unit; and




                                                  The signal indicative of an incoming communication request will request the application program running
                                                  on the remote unit to resume the TLS session used for client-server communications between the Vivint
                                                  Application server and the Vivint App running on the user’s smartphone or tablet device (remote unit).
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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                           U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                       Claim 7

                                                   The application-program identifying packet will include information used to identify the App) on the remote
                                                   unit.

                                                   The Vivint server and the Vivint App will resume a TLS session so that the server and the remote unit can
                                                   resume communications. To do so the Vivint App will invoke a protocol stack within the remote unit to
                                                   communicate back to the server via the remote unit.

                                                   See Endnote #1 for a discussion of how each new set of data payloads coming into the Vivint application
                                                   includes an app-specific device token. The app-specific device token is indicative of the Vivint
                                                   application running on the remote unit. Each incoming wireless push notification message contains the
                                                   app-specific device token which is part of the application-program identifying packet.

7d   placing the virtual session back into the     Based upon user selection of information associated with the above-mentioned push notification, the
     active state and transferring data between    Transport Layer Security (TLS) session between the Vivint Application Server and the Vivint App is
     the application and the remote unit via the   resumed as discussed in Endnote #2. TLS session resumption means that the TLS session is placed back
     virtual session in response to said step of   into the active state using an abbreviated handshake sequence so that new application data can be passed
     sending.                                      between the Vivint Application Server and the App) running on the user’s smartphone or tablet.

                                                   See Endnote#2 for a discussion of TLS session resumption. Also see, https://docs.microsoft.com/en-
                                                   us/windows/desktop/secauthn/tls-handshake-protocol.



Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner. For
example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 7

Endnote#1 - App-Specific Device Token

https://help.pushwoosh.com/hc/en-us/articles/360000364923-What-is-a-Device-token-
Question:
What is a Device token?
Answer:
Push token (device token) - is a unique key for the app-device combination which is issued by the Apple or Google push notification gateways. It
allows gateways and push notification providers to route messages and ensure the notification is delivered only to the unique app-device combination
for which it is intended.
       iOS device push tokens are strings with 64 hexadecimal symbols. Push token example:
       03df25c845d460bcdad7802d2vf6fc1dfde97283bf75cc993eb6dca835ea2e2f
       Make sure that iOS push tokens you use when targeting specific devices in your API requests are in lower case.

       Android device push tokens can differ in length (usually below 255 characters), and usually start with APA…Push token example:

       APA91bFoi3lMMre9G3XzR1LrF4ZT82_15MsMdEICogXSLB8-
       MrdkRuRQFwNI5u8Dh0cI90ABD3BOKnxkEla8cGdisbDHl5cVIkZah5QUhSAxzx4Roa7b4xy9tvx9iNSYw-eXBYYd8k1XKf8Q_Qq1X9-
       x-U-Y79vdPq


Note: The Android device push tokens correspond to the app-specific device token terminology used in the claim charts.


https://dev.to/jakubkoci/react-native-push-notifications-313i

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                      COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 7




Note: In the above Architecture, the “backend” corresponds to the backend of the Application Server. The Device token corresponds to a specific
App running on a specific device. That is what is meant by the app-specific device token in the claim charts.



https://firebase.google.com/docs/cloud-messaging/android/first-message



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

                                                             Access the registration token

To send a message to a specific device, you need to know that device's registration token. Because you'll need to enter the token in a field in the
Notifications console to complete this tutorial, make sure to copy the token or securely store it after you retrieve it.


On initial startup of your app, the FCM SDK generates a registration token for the client app instance. If you want to target single devices or create
device groups, you'll need to access this token by extending FirebaseMessagingService and overriding on NewToken.


This section describes how to retrieve the token and how to monitor changes to the token. Because the token could be rotated after initial startup, you
are strongly recommended to retrieve the latest updated registration token.


The registration token may change when:

   •   The app deletes Instance ID
   •   The app is restored on a new device
   •   The user uninstalls/reinstall the app
   •   The user clears app data.”

https://firebase.google.com/docs/cloud-messaging/concept-options

For example, here is a JSON-formatted notification message in an IM app. The user can expect to see a message with the title "Portugal vs.
Denmark" and the text "great match!" on the device:



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 7

{
    "message":{
      "token":"bk3RNwTe3H0:CI2k_HHwgIpoDKCIZvvDMExUdFQ3P1...", -- App-specific token
      "notification":{
        "title":"Portugal vs. Denmark",
        "body":"great match!"
      }
    }
}


https://firebase.google.com/docs/cloud-messaging/android/client


                                                      Retrieve the current registration token

When you need to retrieve the current token, call FirebaseInstanceId.getInstance().getInstanceId():
FirebaseInstanceId.getInstance().getInstanceId()
     .addOnCompleteListener(new OnCompleteListener<InstanceIdResult>() {
        @Override
        public void onComplete(@NonNull Task<InstanceIdResult> task) {
          if (!task.isSuccessful()) {
             Log.w(TAG, "getInstanceId failed", task.getException());
             return;
          }

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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

           // Get new Instance ID token
           String token = task.getResult().getToken();

           // Log and toast
           String msg = getString(R.string.msg_token_fmt, token);
           Log.d(TAG, msg);
           Toast.makeText(MainActivity.this, msg, Toast.LENGTH_SHORT).show();
       }
    });
                                                                                                                                MainActivity.java


                                                              Monitor token generation

The onNewToken callback fires whenever a new token is generated.
/**
 * Called if InstanceID token is updated. This may occur if the security of
 * the previous token had been compromised. Note that this is called when the InstanceID token
 * is initially generated so this is where you would retrieve the token.
 */
@Override
public void onNewToken(String token) {
   Log.d(TAG, "Refreshed token: " + token);

  // If you want to send messages to this application instance or
  // manage this apps subscriptions on the server side, send the
  // Instance ID token to your app server.

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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

    sendRegistrationToServer(token);
}
After you've obtained the token, you can send it to your app server and store it using your preferred method. See the Instance ID API reference
[https://firebase.google.com/docs/reference/android/com/google/firebase/iid/FirebaseInstanceId] for full detail on the API.




Endnote#2 - Transport Layer Security and Virtual Sessions

Transport Layer Security (TLS) is used by both Apple iOS and Android based devices. The handshake diagrams in this endnote use Apple iOS as an
example but apply equally to Android type implementations.

https://developer.android.com/training/articles/security-ssl

“The Secure Sockets Layer (SSL)—now technically known as Transport Layer Security (TLS)—is a common building block for encrypted
communications between clients and servers.”

https://android-developers.googleblog.com/2018/04/protecting-users-with-tls-by-default-in.html

“Android is committed to keeping users, their devices, and their data safe. One of the ways that we keep data safe is by protecting all data that enters
or leaves an Android device with Transport Layer Security (TLS) in transit.

A. Razaghpanah et al., Studying TLS Usage in Android Apps, CoNEXT ’17, Dec.12-15, 2017, Incheon, Republic of Korea
http://abbas.rpanah.ir/publications/conext2017_tls_paper.pdf



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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 7

“A History of TLS Support in Android: Android has supported TLS 1.0 since its first version released in 2008 and TLS 1.1 and TLS 1.2 since
2012.”

“However, other protocols such as secure email (42 apps) and Google’s Cloud Messaging service for push notifications (9 apps) [11, 47] also use
TLS.”

https://developer.ibm.com/customer-engagement/docs/watson-marketing/ibm-engage-2/tls-1-2-migration-for-mobile-push-clients/

What will happen on devices that are unable to support TLS 1.2?

Devices which do not support TLS 1.2 will be unable to connect to our WCA servers. This will prevent users of those devices from:

• Registering new mobile user IDs
• Updating push tokens
• Receiving inbox messages
• Receiving In-app messages

Note: As the above link shows, the creation of the App IDs of Endnote #1 are linked to the TLS protocol being run on the TLS-enabled Push-
Notification channel.


https://tools.ietf.org/html/rfc5246

F.1.4. Resuming Sessions

When a connection is established by resuming a session, new ClientHello.random and ServerHello.random values are hashed with the session's
master_secret. Provided that the master_secret has not been compromised and that the secure hash operations used to produce the encryption keys

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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 6,574,239 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 7

and MAC keys are secure, the connection should be secure and effectively independent from previous connections. Attackers cannot use known
encryption keys or MAC secrets to compromise the master_secret without breaking the secure hash operations.

Sessions cannot be resumed unless both the client and server agree. If either party suspects that the session may have been compromised, or that
certificates may have expired or been revoked, it should force a full handshake. An upper limit of 24 hours is suggested for session ID lifetimes,
since an attacker who obtains a master_secret may be able to impersonate the compromised party until the corresponding session ID is retired.
Applications that may be run in relatively insecure environments should not write session IDs to stable storage.

https://tools.ietf.org/html/rfc5077

Abstract

This document describes a mechanism that enables the Transport Layer Security (TLS) server to resume sessions and avoid keeping per-client
session state. The TLS server encapsulates the session state into a ticket and forwards it to the client. The client can subsequently resume a session
using the obtained ticket.

3. Protocol

       This specification describes a mechanism to distribute encrypted session-state information in the form of a ticket. The ticket is created by a
       TLS server and sent to a TLS client. The TLS client presents the ticket to the TLS server to resume a session.




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                          EXHIBIT 5
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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

        Communication Interface Technologies LLC (“CIT”) provides evidence of infringement of claim 1 of U.S. Patent No. 8,266,296 (hereinafter
“the ’296 patent”) by Vivint Smart Home, Inc. (“VIV”). In support thereof, CIT provides the following claim charts.

        “Accused Instrumentalities” as used herein refers to at least VIV’s application (“App”) in systems and methods, including hardware and
software products including, but not limited to the VIV App as developed for mobile electronic devices (see, e.g.,
https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US), along with any hardware and/or software for provisioning
the App. Upon information and belief, the exemplary version herein and previous versions of the Accused Instrumentalities distributed prior to
expiration of the patents in suit operated materially in the same manner.

        These claim charts demonstrate VIV’s infringement, and provide notice of such infringement, by comparing each element of the asserted
claim to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an
expert report on infringement. These claim charts include information provided by way of example, and not by way of limitation.

       The analysis set forth below is based only upon information from publicly available resources regarding the Accused Instrumentalities, as
VIV has not yet provided any non-public information. An analysis of VIV’s (or a third parties’) technical documentation and/or software source
code may assist in fully identifying all infringing features and functionality. Accordingly, CIT reserves the right to supplement this infringement
analysis once such information is made available to CIT. Furthermore, CIT reserves the right to revise this infringement analysis, as appropriate,
upon issuance of a court order construing any terms recited in the asserted claims.

       CIT provides this evidence of infringement and related analysis without the benefit of claim construction or expert reports or discovery. CIT
reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on any such claim construction or expert reports or
discovery.
        Unless otherwise noted, CIT contends that VIV has directly infringed the ’296 patent in violation of 35 U.S.C. § 271(a) by selling, offering to
sell, making, using, and/or importing the Accused Instrumentalities. The following exemplary analysis demonstrates that infringement.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

       Unless otherwise noted, CIT believes and contends that each element of each claim asserted herein is literally met through VIV’s provision of
the Accused Instrumentalities. However, to the extent that VIV attempts to allege that any asserted claim element is not literally met, CIT believes
and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Accused
Instrumentalities, CIT did not identify any substantial differences between the elements of the patent claims and the corresponding features of the
Accused Instrumentalities, as set forth herein. In each instance, the identified feature of the Accused Instrumentalities performs at least substantially
the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, CIT asserts that,
on information and belief, any similarly functioning instrumentalities also infringes the charted claim. CIT reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by VIV. CIT also reserves the right to amend this
infringement analysis by citing other claims of the ’296 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities. CIT
further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                           U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                       Claim 1

      Claim 1                                        Vivint Downloadable App Service
 1    A method comprising:                           A method is specified for controlling a virtual session on a user device like a mobile handset such as
                                                     smartphone or tablet.

1a    receiving, at a control program executing on   Wireless push notification messages are sent over Transport Layer Security (TLS) sessions. Each Push
(i)   a mobile handset, a first communication        message includes an encrypted push token as per Endnote #1. The push token is sent in a Push Notification
      initiated by a remote entity,                  message over a TLS session from the Vivint Server backend to the Vivint App (application program,
                                                     application layer program) running on a user’s smartphone (mobile handset) or tablet.

                                                     See Endnote #1. The Vivint App executes a registration process which includes instructions that will be
                                                     executed to receive the specific push notifications coming into the Vivint App.

                                                     In the Vivint application, for example, a push notification contains information related to products and/or
                                                     services.




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                   COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                               U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                           Claim 1




                                      As per Endnote #1, the remote server causes a push notification message to be sent to the mobile handset.
                                      Part of this push notification message (first communication) will be forwarded to the Vivint App running on
                                      the user’s smartphone or tablet device.


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                          COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                             U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                         Claim 1

1a     wherein the first communication includes a      See Endnote #1 for a discussion of how each Push Notification message coming into the Vivint application
(ii)   set of information identifying an               includes an app-specific device token. The app-specific device token is indicative of the Vivint App
       application layer program that is installed     running on the user’s smartphone or tablet. Each incoming wireless push notification message contains an
       on the mobile handset, and                      app-specific device token which is a set of information that identifies the push-service reception process
                                                       portion of the Vivint App.

 1a wherein initiation of the first               The message sent by the server is called a push message or a push notification. Push notifications are call-
(iii) communication by the remote entity was not out type messages, and as such, are not sent in response to pull requests sent by the mobile handset. See
      in response to a request sent by the mobile Endnote #1.
      handset;

1b     the control program causing the mobile          The control program is connected to the phone’s OS that evaluates the first communication by looking at the
       handset to evaluate the set of information      app-specific device token. This lets the system know to which App on the device to activate or to send the
       included in the first communication; and        new incoming information to.

                                                       See Endnote #1 for a discussion of how each Push Notification message coming into the Vivint App
                                                       includes an app-specific device token. The app-specific device token is indicative of the Vivint App
                                                       running on the user’s smartphone or tablet. When the push notification has been received by the Vivint
                                                       App, the Vivint App provides user interface capabilities that allow the user to click application data
                                                       information received in the push message payload. When the user clicks this information, the Vivint App
                                                       evaluates this information and causes the Vivint App to launch.

1c     in response to determining, based on the        Determining is performed, for example, when a user clicks on a banner notification icon or a notification
(i)    evaluating, that the set of information         icon in the notifications tray. This determining is based on the evaluating, because the evaluating looks at
       identifies the application layer program, the   the app-specific device token and identifies the incoming push notification message with the Vivint
       control program causing the mobile handset      application program on the handset.
       to:




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                         COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                           U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                       Claim 1

1c     launch the application layer program; and   Upon this determining, the notification icon in the banner or the notifications tray is displayed in
(ii)                                               accordance to system configuration commands issued by the Vivint App. The Vivint App issues
                                                   commands to control how the notification will be displayed in the notifications tray upon receipt of
                                                   the push message. When these notification display-control commands are executed, this is
                                                   launching the App in the sense of executing notification display commands that are part of the
                                                   Vivint App itself. Upon user click, the rest of the Vivint App was launched during testing.

                                                   Also, if a data message is sent while the Vivint App is in the background, the Vivint App will
                                                   launch and execute the onMessageReceived() function.

 1c reactivate, from an inactive state, a          The Server Application and the client-side App have already established a separate TLS connection for
(iii) communication session between the mobile     traditional client-server communications. For example the Vivint Application Server program uses a TLS
      handset and the remote entity.               session to communicate application data with the Vivint App.

                                                   Also in response to the user-clicking of the notification message and launching of the App, and possibly
                                                   other user interface selections provided in response thereto, the TLS session between the Vivint Application
                                                   Server program and the Vivint App is resumed.

                                                   See Endnote#2 for a discussion of TLS session resumption. Also see, https://docs.microsoft.com/en-
                                                   us/windows/desktop/secauthn/tls-handshake-protocol.

                                                   The remote server and the Vivint application will resume their client-server TLS session so that the server
                                                   and the remote unit can resume communications. To do so the application program will invoke a protocol
                                                   stack within the remote unit to communicate back to the server via the remote unit.

                                                   TLS session use a full handshake sequence that is used to establish connection parameters, and an
                                                   abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                                   an active state whereby new payload data can be sent via the virtual session once again.


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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                          U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                      Claim 1


   5     The method of claim 1, wherein       The message (first communication) sent by the server is called a push message or a push notification or a data
         the first communication was          message. Vivint push notifications are call-out type messages, and as such, are initiated and sent by the remote
         initiated by the remote entity in    entity (Vivint push server) in response to information received by the remote entity from the Vivint backend
         response to information received     server that is coupled to the remote entity via the Internet. See Endnote #1.
         by the remote entity from a server
         coupled to the remote entity via
         the Internet.



Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner. For
example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

Endnote#1 - App-Specific Device Token

https://help.pushwoosh.com/hc/en-us/articles/360000364923-What-is-a-Device-token-
Question:
What is a Device token?
Answer:
Push token (device token) - is a unique key for the app-device combination which is issued by the Apple or Google push notification gateways. It
allows gateways and push notification providers to route messages and ensure the notification is delivered only to the unique app-device combination
for which it is intended.
       iOS device push tokens are strings with 64 hexadecimal symbols. Push token example:
       03df25c845d460bcdad7802d2vf6fc1dfde97283bf75cc993eb6dca835ea2e2f
       Make sure that iOS push tokens you use when targeting specific devices in your API requests are in lower case.

       Android device push tokens can differ in length (usually below 255 characters), and usually start with APA…Push token example:

       APA91bFoi3lMMre9G3XzR1LrF4ZT82_15MsMdEICogXSLB8-
       MrdkRuRQFwNI5u8Dh0cI90ABD3BOKnxkEla8cGdisbDHl5cVIkZah5QUhSAxzx4Roa7b4xy9tvx9iNSYw-eXBYYd8k1XKf8Q_Qq1X9-
       x-U-Y79vdPq


Note: The Android device push tokens correspond to the app-specific device token terminology used in the claim charts.


https://dev.to/jakubkoci/react-native-push-notifications-313i

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                      COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 1




Note: In the above Architecture, the “backend” corresponds to the backend of the Application Server. The Device token corresponds to a specific
App running on a specific device. That is what is meant by the app-specific device token in the claim charts.



https://firebase.google.com/docs/cloud-messaging/android/first-message



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

                                                             Access the registration token

To send a message to a specific device, you need to know that device's registration token. Because you'll need to enter the token in a field in the
Notifications console to complete this tutorial, make sure to copy the token or securely store it after you retrieve it.


On initial startup of your app, the FCM SDK generates a registration token for the client app instance. If you want to target single devices or create
device groups, you'll need to access this token by extending FirebaseMessagingService and overriding on NewToken.


This section describes how to retrieve the token and how to monitor changes to the token. Because the token could be rotated after initial startup, you
are strongly recommended to retrieve the latest updated registration token.


The registration token may change when:

   •   The app deletes Instance ID
   •   The app is restored on a new device
   •   The user uninstalls/reinstall the app
   •   The user clears app data.”

https://firebase.google.com/docs/cloud-messaging/concept-options

For example, here is a JSON-formatted notification message in an IM app. The user can expect to see a message with the title "Portugal vs.
Denmark" and the text "great match!" on the device:



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

{
    "message":{
      "token":"bk3RNwTe3H0:CI2k_HHwgIpoDKCIZvvDMExUdFQ3P1...", -- App-specific token
      "notification":{
        "title":"Portugal vs. Denmark",
        "body":"great match!"
      }
    }
}


https://firebase.google.com/docs/cloud-messaging/android/client


                                                      Retrieve the current registration token

When you need to retrieve the current token, call FirebaseInstanceId.getInstance().getInstanceId():
FirebaseInstanceId.getInstance().getInstanceId()
     .addOnCompleteListener(new OnCompleteListener<InstanceIdResult>() {
        @Override
        public void onComplete(@NonNull Task<InstanceIdResult> task) {
          if (!task.isSuccessful()) {
             Log.w(TAG, "getInstanceId failed", task.getException());
             return;
          }

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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

           // Get new Instance ID token
           String token = task.getResult().getToken();

           // Log and toast
           String msg = getString(R.string.msg_token_fmt, token);
           Log.d(TAG, msg);
           Toast.makeText(MainActivity.this, msg, Toast.LENGTH_SHORT).show();
       }
    });
                                                                                                                                MainActivity.java


                                                              Monitor token generation

The onNewToken callback fires whenever a new token is generated.
/**
 * Called if InstanceID token is updated. This may occur if the security of
 * the previous token had been compromised. Note that this is called when the InstanceID token
 * is initially generated so this is where you would retrieve the token.
 */
@Override
public void onNewToken(String token) {
   Log.d(TAG, "Refreshed token: " + token);

  // If you want to send messages to this application instance or
  // manage this apps subscriptions on the server side, send the
  // Instance ID token to your app server.

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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

    sendRegistrationToServer(token);
}
After you've obtained the token, you can send it to your app server and store it using your preferred method. See the Instance ID API reference
[https://firebase.google.com/docs/reference/android/com/google/firebase/iid/FirebaseInstanceId] for full detail on the API.


Endnote#2 - Transport Layer Security and Virtual Sessions

Transport Layer Security (TLS) is used by both Apple iOS and Android based devices. The handshake diagrams in this endnote use Apple iOS as an
example but apply equally to Android type implementations.

https://developer.android.com/training/articles/security-ssl

“The Secure Sockets Layer (SSL)—now technically known as Transport Layer Security (TLS)—is a common building block for encrypted
communications between clients and servers.”

https://android-developers.googleblog.com/2018/04/protecting-users-with-tls-by-default-in.html

“Android is committed to keeping users, their devices, and their data safe. One of the ways that we keep data safe is by protecting all data that enters
or leaves an Android device with Transport Layer Security (TLS) in transit.

A. Razaghpanah et al., Studying TLS Usage in Android Apps, CoNEXT ’17, Dec.12-15, 2017, Incheon, Republic of Korea
http://abbas.rpanah.ir/publications/conext2017_tls_paper.pdf

“A History of TLS Support in Android: Android has supported TLS 1.0 since its first version released in 2008 and TLS 1.1 and TLS 1.2 since
2012.”


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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 1

“However, other protocols such as secure email (42 apps) and Google’s Cloud Messaging service for push notifications (9 apps) [11, 47] also use
TLS.”

https://developer.ibm.com/customer-engagement/docs/watson-marketing/ibm-engage-2/tls-1-2-migration-for-mobile-push-clients/

What will happen on devices that are unable to support TLS 1.2?

Devices which do not support TLS 1.2 will be unable to connect to our WCA servers. This will prevent users of those devices from:

• Registering new mobile user IDs
• Updating push tokens
• Receiving inbox messages
• Receiving In-app messages

Note: As the above link shows, the creation of the App IDs of Endnote #1 are linked to the TLS protocol being run on the TLS-enabled Push-
Notification channel.


https://tools.ietf.org/html/rfc5246

F.1.4. Resuming Sessions

When a connection is established by resuming a session, new ClientHello.random and ServerHello.random values are hashed with the session's
master_secret. Provided that the master_secret has not been compromised and that the secure hash operations used to produce the encryption keys
and MAC keys are secure, the connection should be secure and effectively independent from previous connections. Attackers cannot use known
encryption keys or MAC secrets to compromise the master_secret without breaking the secure hash operations.


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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,266,296 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

Sessions cannot be resumed unless both the client and server agree. If either party suspects that the session may have been compromised, or that
certificates may have expired or been revoked, it should force a full handshake. An upper limit of 24 hours is suggested for session ID lifetimes,
since an attacker who obtains a master_secret may be able to impersonate the compromised party until the corresponding session ID is retired.
Applications that may be run in relatively insecure environments should not write session IDs to stable storage.

https://tools.ietf.org/html/rfc5077

Abstract

This document describes a mechanism that enables the Transport Layer Security (TLS) server to resume sessions and avoid keeping per-client
session state. The TLS server encapsulates the session state into a ticket and forwards it to the client. The client can subsequently resume a session
using the obtained ticket.

3. Protocol

       This specification describes a mechanism to distribute encrypted session-state information in the form of a ticket. The ticket is created by a
       TLS server and sent to a TLS client. The TLS client presents the ticket to the TLS server to resume a session.




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                          EXHIBIT 6
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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

        Communication Interface Technologies LLC (“CIT”) provides evidence of infringement of claim 1 of U.S. Patent No. 8,291,010 (hereinafter
“the ’010 patent”) by Vivint Smart Home, Inc. (“VIV”). In support thereof, CIT provides the following claim charts.

        “Accused Instrumentalities” as used herein refers to at least VIV’s application (“App”) in systems and methods, including hardware and
software products including, but not limited to the VIV App as developed for mobile electronic devices (see, e.g.,
https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US), along with any hardware and/or software for provisioning
the App. Upon information and belief, the exemplary version herein and previous versions of the Accused Instrumentalities distributed prior to
expiration of the patents in suit operated materially in the same manner.

        These claim charts demonstrate VIV’s infringement, and provide notice of such infringement, by comparing each element of the asserted
claim to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an
expert report on infringement. These claim charts include information provided by way of example, and not by way of limitation.

       The analysis set forth below is based only upon information from publicly available resources regarding the Accused Instrumentalities, as
VIV has not yet provided any non-public information. An analysis of VIV’s (or a third parties’) technical documentation and/or software source
code may assist in fully identifying all infringing features and functionality. Accordingly, CIT reserves the right to supplement this infringement
analysis once such information is made available to CIT. Furthermore, CIT reserves the right to revise this infringement analysis, as appropriate,
upon issuance of a court order construing any terms recited in the asserted claims.

       CIT provides this evidence of infringement and related analysis without the benefit of claim construction or expert reports or discovery. CIT
reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on any such claim construction or expert reports or
discovery.
        Unless otherwise noted, CIT contends that VIV has directly infringed the ’010 patent in violation of 35 U.S.C. § 271(a) by selling, offering to
sell, making, using, and/or importing the Accused Instrumentalities. The following exemplary analysis demonstrates that infringement.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

       Unless otherwise noted, CIT believes and contends that each element of each claim asserted herein is literally met through VIV’s provision of
the Accused Instrumentalities. However, to the extent that VIV attempts to allege that any asserted claim element is not literally met, CIT believes
and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Accused
Instrumentalities, CIT did not identify any substantial differences between the elements of the patent claims and the corresponding features of the
Accused Instrumentalities, as set forth herein. In each instance, the identified feature of the Accused Instrumentalities performs at least substantially
the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, CIT asserts that,
on information and belief, any similarly functioning instrumentalities also infringes the charted claim. CIT reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by VIV. CIT also reserves the right to amend this
infringement analysis by citing other claims of the ’010 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities. CIT
further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                          U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                      Claim 1

     Claim 1                                     Vivint Downloadable App Service
 1   A method comprising:                        A method is specified for use on a user device like a handheld or tablet.

1a   establishing, at a computing device, a      Wireless push notification messages are sent over Transport Layer Security (TLS) sessions. Each Push
     communication session supporting            message includes an encrypted push token as per Endnote #1. The push token is sent in a Push Notification
     communication between a first program       message over TLS sessions from the Vivint Server backend (remote server) to the Vivint App (application
     executing at an application layer of the    program, application layer program) running on a user’s smartphone (mobile handset) or tablet.
     computing device and a remote server;
                                                 In the Vivint application, for example, a push notification contains information related to products and/or
                                                 services.




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                   COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                            Claim 1




                                       Also, the Server Application and the client-side App establish a separate TLS connection for traditional
                                       client-server communications. For example the Vivint Application Server program establishes a TLS
                                       session with the Vivint App.


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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                           U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                       Claim 1

                                                  The TLS session used for client-server communications between the Vivint Application Server and the
                                                  Vivint App correspond to the recited communication session.

                                                  TLS sessions use a full handshake sequence that is used to establish connection parameters, and an
                                                  abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                                  an active state whereby new payload data can be sent via the virtual session once again.

                                                  See Endnote#2 for a discussion of the virtual session aspects of TLS.

                                                  Mobile applications communicate with their application server via TLS connections. These TLS
                                                  connections are established at the time the app is installed or launched and can be resumed at a later time
                                                  using a session token. See Endnote#2 for a discussion of TLS.

                                                  https://threema.ch/press-files/cryptography_whitepaper.pdf - Android uses TLS 1.2 resumable sessions.

                                                  https://www.icir.org/johanna/papers/conext17android.pdf - Android supports TLS and secure connections
                                                  between client app and server are ubiquitously used.

                                                  https://developer.android.com/training/articles/security-ssl. – “The Secure Sockets Layer (SSL)—now
                                                  technically known as Transport Layer Security (TLS)—is a common building block for encrypted
                                                  communications between clients and servers.” - Note that certain certificates are used, and these are used to
                                                  help create Android Device Tokens used in Push Notification messages. See Endnotes #1, and #2.

1b    subsequent to deactivation of the           See Endnote #2. Note when the application data phase is finished, the TLS client-server data session is
(i)   established communication session,          placed back into the inactive state. Hence the end of application data marker is the signal used to place this
                                                  TLS session into the inactive state.




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                         COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                            U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                        Claim 1

1b     the computing device receiving an              As per Endnote #1, the remote server causes a push notification message to be sent to the
(ii)   incoming communication from the                computing device. Part of this push notification message (incoming communication) will be
       remote server, wherein the incoming            forwarded to the Vivint App running on the user’s smartphone or tablet device. The push
       communication is not in response to a          notification message is asynchronously initiated by the remote server( Vivint Application Server)
       request sent by the computing device;          as opposed to being sent in response to a request sent by the user computing device.

1c     at the application layer, the computing        An app-specific device token included in the incoming communication lets the system know to which App
       device reading a set of information included   on the device to activate or to send the new incoming information to.
       in the incoming communication;
                                                      See Endnote #1 for a discussion of how each Push Notification message coming into the Vivint App
                                                      includes an app-specific device token. The app-specific device token is indicative of the Vivint App
                                                      running on the user’s smartphone or tablet.

                                                      When the push notification has been received by the Vivint App, the Vivint App provides user interface
                                                      capabilities that allow the user to click application data information received in the push message payload.
                                                      When the user clicks this information, the Vivint App evaluates this information and causes the Vivint App
                                                      to launch.


1d     in response to determining that the set of     The remote server sends a push notification message to the Vivint application running in the smartphone or
       information read at the application layer      tablet operated by a specified user. As per Endnote #1, this push notification message is processed by the
       includes information identifying the first     operating system using specific instructions supplied by the app during registration. The app-specific
       program executing at the computing device,     device token and related information (incoming communication) is forwarded from the OS to the Vivint
       the computing device reactivating the          App.
       communication session between the first
       program and the remote server.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

                                                 If a data message is sent, or if the push notification is received when the Vivint App is already in
                                                 the foreground state, then the data message or the push notification is handled directly from within
                                                 the App as opposed to being routed to the notifications tray. The Vivint App has an
                                                 onMessageReceive() function and this automatically handles the incoming push message. The
                                                 push message includes URI related data and causes the TLS session to be resumed in order for the
                                                 App itself to handle and display information related to the incoming push notification. See
                                                 Endnote #4 for further details.

                                                 See Endnote#2 for a discussion of TLS session resumption. Also see, https://docs.microsoft.com/en-
                                                 us/windows/desktop/secauthn/tls-handshake-protocol.

                                                 The remote server and the Vivint application will resume their client-server TLS session so that the server
                                                 and the remote unit can resume communications. To do so the application program will invoke a protocol
                                                 stack within the remote unit to communicate back to the server via the remote unit.

                                                 TLS session use a full handshake sequence that is used to establish connection parameters, and an
                                                 abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                                 an active state whereby new payload data can be sent via the virtual session once again.




Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner. For
example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

Endnote#1 - App-Specific Device Token

https://help.pushwoosh.com/hc/en-us/articles/360000364923-What-is-a-Device-token-
Question:
What is a Device token?
Answer:
Push token (device token) - is a unique key for the app-device combination which is issued by the Apple or Google push notification gateways. It
allows gateways and push notification providers to route messages and ensure the notification is delivered only to the unique app-device combination
for which it is intended.
       iOS device push tokens are strings with 64 hexadecimal symbols. Push token example:
       03df25c845d460bcdad7802d2vf6fc1dfde97283bf75cc993eb6dca835ea2e2f
       Make sure that iOS push tokens you use when targeting specific devices in your API requests are in lower case.

       Android device push tokens can differ in length (usually below 255 characters), and usually start with APA…Push token example:

       APA91bFoi3lMMre9G3XzR1LrF4ZT82_15MsMdEICogXSLB8-
       MrdkRuRQFwNI5u8Dh0cI90ABD3BOKnxkEla8cGdisbDHl5cVIkZah5QUhSAxzx4Roa7b4xy9tvx9iNSYw-eXBYYd8k1XKf8Q_Qq1X9-
       x-U-Y79vdPq


Note: The Android device push tokens correspond to the app-specific device token terminology used in the claim charts.


https://dev.to/jakubkoci/react-native-push-notifications-313i

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                      COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 1




Note: In the above Architecture, the “backend” corresponds to the backend of the Application Server. The Device token corresponds to a specific
App running on a specific device. That is what is meant by the app-specific device token in the claim charts.



https://firebase.google.com/docs/cloud-messaging/android/first-message



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

                                                             Access the registration token

To send a message to a specific device, you need to know that device's registration token. Because you'll need to enter the token in a field in the
Notifications console to complete this tutorial, make sure to copy the token or securely store it after you retrieve it.


On initial startup of your app, the FCM SDK generates a registration token for the client app instance. If you want to target single devices or create
device groups, you'll need to access this token by extending FirebaseMessagingService and overriding on NewToken.


This section describes how to retrieve the token and how to monitor changes to the token. Because the token could be rotated after initial startup, you
are strongly recommended to retrieve the latest updated registration token.


The registration token may change when:

   •   The app deletes Instance ID
   •   The app is restored on a new device
   •   The user uninstalls/reinstall the app
   •   The user clears app data.”

https://firebase.google.com/docs/cloud-messaging/concept-options

For example, here is a JSON-formatted notification message in an IM app. The user can expect to see a message with the title "Portugal vs.
Denmark" and the text "great match!" on the device:



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 1

{
    "message":{
      "token":"bk3RNwTe3H0:CI2k_HHwgIpoDKCIZvvDMExUdFQ3P1...", -- App-specific token
      "notification":{
        "title":"Portugal vs. Denmark",
        "body":"great match!"
      }
    }
}


https://firebase.google.com/docs/cloud-messaging/android/client


                                                      Retrieve the current registration token

When you need to retrieve the current token, call FirebaseInstanceId.getInstance().getInstanceId():
FirebaseInstanceId.getInstance().getInstanceId()
     .addOnCompleteListener(new OnCompleteListener<InstanceIdResult>() {
        @Override
        public void onComplete(@NonNull Task<InstanceIdResult> task) {
          if (!task.isSuccessful()) {
             Log.w(TAG, "getInstanceId failed", task.getException());
             return;
          }

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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

           // Get new Instance ID token
           String token = task.getResult().getToken();

           // Log and toast
           String msg = getString(R.string.msg_token_fmt, token);
           Log.d(TAG, msg);
           Toast.makeText(MainActivity.this, msg, Toast.LENGTH_SHORT).show();
       }
    });
                                                                                                                                MainActivity.java


                                                              Monitor token generation

The onNewToken callback fires whenever a new token is generated.
/**
 * Called if InstanceID token is updated. This may occur if the security of
 * the previous token had been compromised. Note that this is called when the InstanceID token
 * is initially generated so this is where you would retrieve the token.
 */
@Override
public void onNewToken(String token) {
   Log.d(TAG, "Refreshed token: " + token);

  // If you want to send messages to this application instance or
  // manage this apps subscriptions on the server side, send the
  // Instance ID token to your app server.

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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

    sendRegistrationToServer(token);
}
After you've obtained the token, you can send it to your app server and store it using your preferred method. See the Instance ID API reference
[https://firebase.google.com/docs/reference/android/com/google/firebase/iid/FirebaseInstanceId] for full detail on the API.


Endnote#2 - Transport Layer Security and Virtual Sessions

Transport Layer Security (TLS) is used by both Apple iOS and Android based devices. The handshake diagrams in this endnote use Apple iOS as an
example but apply equally to Android type implementations.

https://developer.android.com/training/articles/security-ssl

“The Secure Sockets Layer (SSL)—now technically known as Transport Layer Security (TLS)—is a common building block for encrypted
communications between clients and servers.”

https://android-developers.googleblog.com/2018/04/protecting-users-with-tls-by-default-in.html

“Android is committed to keeping users, their devices, and their data safe. One of the ways that we keep data safe is by protecting all data that enters
or leaves an Android device with Transport Layer Security (TLS) in transit.

A. Razaghpanah et al., Studying TLS Usage in Android Apps, CoNEXT ’17, Dec.12-15, 2017, Incheon, Republic of Korea
http://abbas.rpanah.ir/publications/conext2017_tls_paper.pdf

“A History of TLS Support in Android: Android has supported TLS 1.0 since its first version released in 2008 and TLS 1.1 and TLS 1.2 since
2012.”


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                                                                   Claim 1

“However, other protocols such as secure email (42 apps) and Google’s Cloud Messaging service for push notifications (9 apps) [11, 47] also use
TLS.”

https://developer.ibm.com/customer-engagement/docs/watson-marketing/ibm-engage-2/tls-1-2-migration-for-mobile-push-clients/

What will happen on devices that are unable to support TLS 1.2?

Devices which do not support TLS 1.2 will be unable to connect to our WCA servers. This will prevent users of those devices from:

• Registering new mobile user IDs
• Updating push tokens
• Receiving inbox messages
• Receiving In-app messages

Note: As the above link shows, the creation of the App IDs of Endnote #1 are linked to the TLS protocol being run on the TLS-enabled Push-
Notification channel.


https://tools.ietf.org/html/rfc5246

F.1.4. Resuming Sessions

When a connection is established by resuming a session, new ClientHello.random and ServerHello.random values are hashed with the session's
master_secret. Provided that the master_secret has not been compromised and that the secure hash operations used to produce the encryption keys
and MAC keys are secure, the connection should be secure and effectively independent from previous connections. Attackers cannot use known
encryption keys or MAC secrets to compromise the master_secret without breaking the secure hash operations.


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                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 1

Sessions cannot be resumed unless both the client and server agree. If either party suspects that the session may have been compromised, or that
certificates may have expired or been revoked, it should force a full handshake. An upper limit of 24 hours is suggested for session ID lifetimes,
since an attacker who obtains a master_secret may be able to impersonate the compromised party until the corresponding session ID is retired.
Applications that may be run in relatively insecure environments should not write session IDs to stable storage.

https://tools.ietf.org/html/rfc5077

Abstract

This document describes a mechanism that enables the Transport Layer Security (TLS) server to resume sessions and avoid keeping per-client
session state. The TLS server encapsulates the session state into a ticket and forwards it to the client. The client can subsequently resume a session
using the obtained ticket.

3. Protocol

       This specification describes a mechanism to distribute encrypted session-state information in the form of a ticket. The ticket is created by a
       TLS server and sent to a TLS client. The TLS client presents the ticket to the TLS server to resume a session.




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                          EXHIBIT 7
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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

        Communication Interface Technologies LLC (“CIT”) provides evidence of infringement of claim 17 of U.S. Patent No. 8,291,010 (hereinafter
“the ’010 patent”) by Vivint Smart Home, Inc. (“VIV”). In support thereof, CIT provides the following claim charts.

        “Accused Instrumentalities” as used herein refers to at least VIV’s application (“App”) in systems and methods, including hardware and
software products including, but not limited to the VIV App as developed for mobile electronic devices (see, e.g.,
https://play.google.com/store/apps/details?id=com.vivint.vivintsky&hl=en_US&gl=US), along with any hardware and/or software for provisioning
the App. Upon information and belief, the exemplary version herein and previous versions of the Accused Instrumentalities distributed prior to
expiration of the patents in suit operated materially in the same manner.

        These claim charts demonstrate VIV’s infringement, and provide notice of such infringement, by comparing each element of the asserted
claim to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an
expert report on infringement. These claim charts include information provided by way of example, and not by way of limitation.

       The analysis set forth below is based only upon information from publicly available resources regarding the Accused Instrumentalities, as
VIV has not yet provided any non-public information. An analysis of VIV’s (or a third parties’) technical documentation and/or software source
code may assist in fully identifying all infringing features and functionality. Accordingly, CIT reserves the right to supplement this infringement
analysis once such information is made available to CIT. Furthermore, CIT reserves the right to revise this infringement analysis, as appropriate,
upon issuance of a court order construing any terms recited in the asserted claims.

       CIT provides this evidence of infringement and related analysis without the benefit of claim construction or expert reports or discovery. CIT
reserves the right to supplement, amend or otherwise modify this analysis and/or evidence based on any such claim construction or expert reports or
discovery.
        Unless otherwise noted, CIT contends that VIV has directly infringed the ’010 patent in violation of 35 U.S.C. § 271(a) by selling, offering to
sell, making, using, and/or importing the Accused Instrumentalities. The following exemplary analysis demonstrates that infringement.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

       Unless otherwise noted, CIT believes and contends that each element of each claim asserted herein is literally met through VIV’s provision of
the Accused Instrumentalities. However, to the extent that VIV attempts to allege that any asserted claim element is not literally met, CIT believes
and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Accused
Instrumentalities, CIT did not identify any substantial differences between the elements of the patent claims and the corresponding features of the
Accused Instrumentalities, as set forth herein. In each instance, the identified feature of the Accused Instrumentalities performs at least substantially
the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.

        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, CIT asserts that,
on information and belief, any similarly functioning instrumentalities also infringes the charted claim. CIT reserves the right to amend this
infringement analysis based on other products made, used, sold, imported, or offered for sale by VIV. CIT also reserves the right to amend this
infringement analysis by citing other claims of the ’010 patent, not listed in the claim chart, that are infringed by the Accused Instrumentalities. CIT
further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in the “Accused
Instrumentalities” column of each chart.




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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                           U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                       Claim 17

      Claim 17                                    Vivint Downloadable App Service
17    A method performed by a computing           The computing device is Vivint App (application which controls a computing device such as a smartphone
      device, the method comprising:              or tablet those carriers out the instructions of the application.)

17a   during a communication session that has     Wireless push notification messages are sent over Transport Layer Security (TLS) sessions. Each Push
(i)   previously been established with a remote   message includes an encrypted push token as per Endnote #1. The push token is sent in a Push Notification
      entity and that is currently inactive,      message over TLS sessions from the Vivint Server backend (remote entity) to the Vivint App (application
                                                  program, application layer program) running on a user’s smartphone (mobile handset) or tablet.

                                                  In the Vivint application, for example, a push notification contains information related to products and/or
                                                  services.




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                   COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                            Claim 17




                                       Also, the Server Application and the client-side App establish a separate TLS connection for traditional
                                       client-server communications. For example the Vivint Application Server program establishes a TLS
                                       session with the Vivint App.


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                   COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                            Claim 17

                                       The TLS session used for client-server communications between the Vivint Application Server and the
                                       Vivint App correspond to the recited communication session.

                                       TLS sessions use a full handshake sequence that is used to establish connection parameters, and an
                                       abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                       an active state whereby new payload data can be sent via the virtual session once again.

                                       See Endnote#2 for a discussion of the virtual session aspects of TLS.

                                       Mobile applications communicate with their application server via TLS connections. These TLS
                                       connections are established at the time the app is installed or launched and can be resumed at a later time
                                       using a session token. See Endnote#2 for a discussion of TLS. When the App is inactive and a Push
                                       Notification is received for the App or is retrieved or selected by the user from the Notifications tray, then
                                       this corresponds to a time during the client-server TLS communication session that has previously been
                                       established with a remote entity and that is currently inactive.

                                       https://threema.ch/press-files/cryptography_whitepaper.pdf - Android uses TLS 1.2 resumable sessions.

                                       https://www.icir.org/johanna/papers/conext17android.pdf - Android supports TLS and secure connections
                                       between client app and server are ubiquitously used.

                                       https://developer.android.com/training/articles/security-ssl. – “The Secure Sockets Layer (SSL)—now
                                       technically known as Transport Layer Security (TLS)—is a common building block for encrypted
                                       communications between clients and servers.” - Note that certain certificates are used, and these are used to
                                       help create Android Device Tokens used in Push Notification messages. See Endnotes #1, and #2.




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                         COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                             U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                         Claim 17

17a    receiving a first communication initiated by   As per Endnote #1, the remote entity causes a push notification message to be sent to the computing device.
(ii)   the remote entity, wherein the first           Part of this push notification message (first communication) will be forwarded to the Vivint App running on
       communication has not been initiated by the    the user’s smartphone or tablet device. The push notification message is asynchronously initiated by the
       remote entity in response to a previous        remote entity (Vivint Application Server) as opposed to being sent in response to a previous communication
       communication from the computing device;       sent by the user computing device.

                                                      The receiving is performed using instructions supplied by the Vivint App.


17b    in response to determining that the received   See Endnote #1 for a discussion of how each Push Notification message coming into the Vivint App
 (i)   first communication includes information       includes an app-specific device token. The app-specific device token is indicative of the Vivint App
       identifying an application at the computing    running on the user’s smartphone or tablet. The receiving is performed using instructions supplied by the
       device,                                        Vivint App.

                                                      When the push notification has been received by the Vivint App, the Vivint App provides user interface
                                                      capabilities that allow the user to click application data information received in the push message payload.
                                                      When the user clicks this information, the Vivint App evaluates this information and causes the Vivint App
                                                      to launch.




17b    reactivating the communication session with If a data message is sent, or if the push notification is received when the Vivint App is already in
(ii)   the remote entity.                          the foreground state, then the data message or the push notification is handled directly from within
                                                      the App as opposed to being routed to the notifications tray. The Vivint App has an
                                                      onMessageReceive() function and this automatically handles the incoming push message. The
                                                      push message includes URI related data and causes the TLS session to be resumed in order for the
                                                      App itself to handle and display information related to the incoming push notification.


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                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

                                                 See Endnote#2 for a discussion of TLS session resumption. Also see, https://docs.microsoft.com/en-
                                                 us/windows/desktop/secauthn/tls-handshake-protocol.

                                                 The remote server and the Vivint application will resume their client-server TLS session so that the server
                                                 and the remote unit can resume communications. To do so the application program will invoke a protocol
                                                 stack within the remote unit to communicate back to the server via the remote unit.

                                                 TLS session use a full handshake sequence that is used to establish connection parameters, and an
                                                 abbreviated handshake sequence that is used to resume the TLS session from an inactive or dormant state to
                                                 an active state whereby new payload data can be sent via the virtual session once again.



Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner. For
example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 17

Endnote#1 - App-Specific Device Token

https://help.pushwoosh.com/hc/en-us/articles/360000364923-What-is-a-Device-token-
Question:
What is a Device token?
Answer:
Push token (device token) - is a unique key for the app-device combination which is issued by the Apple or Google push notification gateways. It
allows gateways and push notification providers to route messages and ensure the notification is delivered only to the unique app-device combination
for which it is intended.
       iOS device push tokens are strings with 64 hexadecimal symbols. Push token example:
       03df25c845d460bcdad7802d2vf6fc1dfde97283bf75cc993eb6dca835ea2e2f
       Make sure that iOS push tokens you use when targeting specific devices in your API requests are in lower case.

       Android device push tokens can differ in length (usually below 255 characters), and usually start with APA…Push token example:

       APA91bFoi3lMMre9G3XzR1LrF4ZT82_15MsMdEICogXSLB8-
       MrdkRuRQFwNI5u8Dh0cI90ABD3BOKnxkEla8cGdisbDHl5cVIkZah5QUhSAxzx4Roa7b4xy9tvx9iNSYw-eXBYYd8k1XKf8Q_Qq1X9-
       x-U-Y79vdPq


Note: The Android device push tokens correspond to the app-specific device token terminology used in the claim charts.


https://dev.to/jakubkoci/react-native-push-notifications-313i

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                                       U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 17




Note: In the above Architecture, the “backend” corresponds to the backend of the Application Server. The Device token corresponds to a specific
App running on a specific device. That is what is meant by the app-specific device token in the claim charts.



https://firebase.google.com/docs/cloud-messaging/android/first-message



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

                                                             Access the registration token

To send a message to a specific device, you need to know that device's registration token. Because you'll need to enter the token in a field in the
Notifications console to complete this tutorial, make sure to copy the token or securely store it after you retrieve it.


On initial startup of your app, the FCM SDK generates a registration token for the client app instance. If you want to target single devices or create
device groups, you'll need to access this token by extending FirebaseMessagingService and overriding on NewToken.


This section describes how to retrieve the token and how to monitor changes to the token. Because the token could be rotated after initial startup, you
are strongly recommended to retrieve the latest updated registration token.


The registration token may change when:

   •   The app deletes Instance ID
   •   The app is restored on a new device
   •   The user uninstalls/reinstall the app
   •   The user clears app data.”

https://firebase.google.com/docs/cloud-messaging/concept-options

For example, here is a JSON-formatted notification message in an IM app. The user can expect to see a message with the title "Portugal vs.
Denmark" and the text "great match!" on the device:



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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                        U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                    Claim 17

{
    "message":{
      "token":"bk3RNwTe3H0:CI2k_HHwgIpoDKCIZvvDMExUdFQ3P1...", -- App-specific token
      "notification":{
        "title":"Portugal vs. Denmark",
        "body":"great match!"
      }
    }
}


https://firebase.google.com/docs/cloud-messaging/android/client


                                                      Retrieve the current registration token

When you need to retrieve the current token, call FirebaseInstanceId.getInstance().getInstanceId():
FirebaseInstanceId.getInstance().getInstanceId()
     .addOnCompleteListener(new OnCompleteListener<InstanceIdResult>() {
        @Override
        public void onComplete(@NonNull Task<InstanceIdResult> task) {
          if (!task.isSuccessful()) {
             Log.w(TAG, "getInstanceId failed", task.getException());
             return;
          }

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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

           // Get new Instance ID token
           String token = task.getResult().getToken();

           // Log and toast
           String msg = getString(R.string.msg_token_fmt, token);
           Log.d(TAG, msg);
           Toast.makeText(MainActivity.this, msg, Toast.LENGTH_SHORT).show();
       }
    });
                                                                                                                                MainActivity.java


                                                              Monitor token generation

The onNewToken callback fires whenever a new token is generated.
/**
 * Called if InstanceID token is updated. This may occur if the security of
 * the previous token had been compromised. Note that this is called when the InstanceID token
 * is initially generated so this is where you would retrieve the token.
 */
@Override
public void onNewToken(String token) {
   Log.d(TAG, "Refreshed token: " + token);

  // If you want to send messages to this application instance or
  // manage this apps subscriptions on the server side, send the
  // Instance ID token to your app server.

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                       COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

    sendRegistrationToServer(token);
}
After you've obtained the token, you can send it to your app server and store it using your preferred method. See the Instance ID API reference
[https://firebase.google.com/docs/reference/android/com/google/firebase/iid/FirebaseInstanceId] for full detail on the API.


Endnote#2 - Transport Layer Security and Virtual Sessions

Transport Layer Security (TLS) is used by both Apple iOS and Android based devices. The handshake diagrams in this endnote use Apple iOS as an
example but apply equally to Android type implementations.

https://developer.android.com/training/articles/security-ssl

“The Secure Sockets Layer (SSL)—now technically known as Transport Layer Security (TLS)—is a common building block for encrypted
communications between clients and servers.”

https://android-developers.googleblog.com/2018/04/protecting-users-with-tls-by-default-in.html

“Android is committed to keeping users, their devices, and their data safe. One of the ways that we keep data safe is by protecting all data that enters
or leaves an Android device with Transport Layer Security (TLS) in transit.

A. Razaghpanah et al., Studying TLS Usage in Android Apps, CoNEXT ’17, Dec.12-15, 2017, Incheon, Republic of Korea
http://abbas.rpanah.ir/publications/conext2017_tls_paper.pdf

“A History of TLS Support in Android: Android has supported TLS 1.0 since its first version released in 2008 and TLS 1.1 and TLS 1.2 since
2012.”


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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                       U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                   Claim 17

“However, other protocols such as secure email (42 apps) and Google’s Cloud Messaging service for push notifications (9 apps) [11, 47] also use
TLS.”

https://developer.ibm.com/customer-engagement/docs/watson-marketing/ibm-engage-2/tls-1-2-migration-for-mobile-push-clients/

What will happen on devices that are unable to support TLS 1.2?

Devices which do not support TLS 1.2 will be unable to connect to our WCA servers. This will prevent users of those devices from:

• Registering new mobile user IDs
• Updating push tokens
• Receiving inbox messages
• Receiving In-app messages

Note: As the above link shows, the creation of the App IDs of Endnote #1 are linked to the TLS protocol being run on the TLS-enabled Push-
Notification channel.


https://tools.ietf.org/html/rfc5246

F.1.4. Resuming Sessions

When a connection is established by resuming a session, new ClientHello.random and ServerHello.random values are hashed with the session's
master_secret. Provided that the master_secret has not been compromised and that the secure hash operations used to produce the encryption keys
and MAC keys are secure, the connection should be secure and effectively independent from previous connections. Attackers cannot use known
encryption keys or MAC secrets to compromise the master_secret without breaking the secure hash operations.


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                        COMMUNICATION INTERFACE TECHNOLOGIES LLC’S FIRST INFRINGEMENT ANALYSIS

                                         U.S. Patent No. 8,291,010 – Defendant / Vivint Smart Home, Inc.
                                                                     Claim 17

Sessions cannot be resumed unless both the client and server agree. If either party suspects that the session may have been compromised, or that
certificates may have expired or been revoked, it should force a full handshake. An upper limit of 24 hours is suggested for session ID lifetimes,
since an attacker who obtains a master_secret may be able to impersonate the compromised party until the corresponding session ID is retired.
Applications that may be run in relatively insecure environments should not write session IDs to stable storage.

https://tools.ietf.org/html/rfc5077

Abstract

This document describes a mechanism that enables the Transport Layer Security (TLS) server to resume sessions and avoid keeping per-client
session state. The TLS server encapsulates the session state into a ticket and forwards it to the client. The client can subsequently resume a session
using the obtained ticket.

3. Protocol

       This specification describes a mechanism to distribute encrypted session-state information in the form of a ticket. The ticket is created by a
       TLS server and sent to a TLS client. The TLS client presents the ticket to the TLS server to resume a session.




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                          EXHIBIT 8
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 8

 9

10                      UNITED STATES DISTRICT COURT
11                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                              WESTERN DIVISION
13

14

15   COMMUNICATION INTERFACE                   Case No.:
16   TECHNOLOGIES LLC,
                                               DECLARATION OF
17        Plaintiff,                           ERIC MORGAN DOWLING IN
                                               SUPPORT OF COMPLAINT
18
          v.
19
     VIVINT SMART HOME, INC.
20

21              Defendant.
22

23

24

25

26

27

28


         DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
      Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 159 of 168 Page ID #:159


 1          I, Eric Dowling, declare as follows:
 2   I.     BACKGROUND INFORMATION
 3          1.    My name is Eric Morgan Dowling. I reside at Ave 30, Calle 154,
 4   Cond. Cartagena Real #4, Escazu, San Jose, Costa Rica.
 5          2.    I am currently an independent consultant.
 6          3.    This declaration is based on my own personal knowledge.
 7          4.    I am one of the named inventors of U.S. Patent Nos. 6,574,239 (“the
 8   ’239 patent”), 8,266,296 (“the ’296 patent”), and 8,291,010 (“the ’010 patent”),
 9   (collectively the “patents in suit”).
10          5.    Each of the patents in suit has the same figures and the same
11   substantive written description, although column and line number citations may
12   differ slightly due to the U.S. Patent and Trademark Office’s clerical data. Hence
13   in this Declaration I will focus on discussing the ’239 patent.
14          6.    I understand that Communication Interface Technologies LLC’s
15   (“CIT” or “Plaintiff”) intends to file a Complaint for infringement of the patents in
16   suit against GENERIC DEFENDANT (LONG) (“DEF (SHORT)” or
17   “Defendant”).
18          7.    I make this declaration in support of CIT’s Complaint against
19   Defendant in the above-captioned action.
20   II.    QUALIFICATIONS AND EXPERIENCE
21          8.    I hold three degrees from the University of Florida: (1) a Bachelor of
22   Science degree in Electrical Engineering earned in 1984; and (2) a Master of
23   Science degree in Electrical Engineering earned in 1986; and (3) a Doctor of
24   Philosophy (Ph.D.) in Electrical Engineering earned in 1989.
25          9.    From 2011–2018, I acted as President of Texas Trellis Phase, LLC,
26   and general partner of Trellis Phase Communications, LP. As such, I was
27   responsible for leading a research and development company developing next
28   generation physical layer communication technologies for DSL, Cable Modems,
                                       1
           DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   WiFi, Bluetooth, Digital CATV Transmission, Terrestrial HDTV Transmission,
 2   and Cellular Communications.
 3         10.    Since 1995, I have acted as a consultant in patent-related projects,
 4   providing consulting services related to, for example, patent infringement,
 5   noninfringement, and validity analysis, product/standards research, and litigation
 6   and cross licensing support. A partial list of these past clients include: Microsoft,
 7   AT&T, Tellular, Telesys, Harris Corp, Hughes, Thompson, GE, Raytheon,
 8   Paradyne, Samsung, J2 Communications, LSI Logic, ARC International,
 9   Enterprise Partners, Solar Products, EKMS, BTG, VSI, Core Enterprises, Baker
10   and Botts; McKool Smith; Adduci, Manstriani and Schamuberg; Knobbe Martens
11   Olson & Bear; Fulbright and Jarwoski; Merchant and Gould; Weil Gotshal, and
12   Manges; Lerner and Greenberg; Klarquist Sparkman; Workman Nydegger;
13   Gazdzinski and Associates; Kaplan & Gilman; Hamman and Benn; Marshal,
14   Denehey, Warner, Coleman & Goggin; Carstens, Yee & Cahoon, others not
15   disclosed due to NDAs.
16         11.    From 1989 to 2001, I was employed as a professor at the University of
17   Texas, Dallas. First, from 1989-1995, I served as an assistant professor of
18   Electrical Engineering. Then, from 1995-2001, I served as an associate professor
19   of Electrical Engineering, with tenure.
20         12.    In addition, from 1985-2001, I acted as a consultant in electrical
21   engineering projects, focusing on design. For example, some clients during these
22   years include: DGI Technologies Inc, focusing on DSP Microprocessor based Real
23   Time T1 Network Echo Canceller; Micron Technology Inc., wherein I consulted
24   on the design of processors and embedded DRAM systems; Pinpoint
25   communications Inc., focusing on radio direction finding for RF identification;
26   DTex Inc., focusing on design of algorithms, DSP processing board, and
27   DSP56L811 DSP software to implement an advanced ultra-sensitive metal
28   detector; Raytheon / E-Systems, focusing on design of Digital Signal Processing
                                      2
          DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   Software for a Military Mobile Telecommunications Switch; INET Corp., focusing
 2   on Design of Equalizers for T-Carrier Wireline Transmission Systems; US Naval
 3   Undersea Warfare Center, focusing on Adaptive Sonar Signal Processing
 4   Software; Ultimate Technologies Inc., focusing on Research and Design of Active
 5   Noise Control Systems; Alcatel Network Systems, focusing on Microprocessor
 6   Systems Design - On Site Training; Nortel, focusing on Digital Signal Processing
 7   - On Site Training; University of Texas Southwestern Medical Center, focusing on
 8   design of algorithms for Biomedical Signal Processing, Electrospace Systems Inc.,
 9   focusing on design of DSP algorithms for noise cancellation; and Athena Group,
10   Inc., focusing on NSF SBIR Contracting and DSP Software.
11   III.    MATERIALS CONSIDERED
12           13.   I have considered the materials listed in this declaration as well as the
13   ’239 patent, the ’296 patent, and the ’010 patent, and their prosecution histories, as
14   well as related patents.
15           14.   I am being compensated at my regular and established rate of $250
16   per hour. My compensation is not dependent on the outcome of this proceeding.
17   IV.     BACKGROUND OF THE INVENTIONS OF THE PATENTS IN SUIT
18           15.   In the late 1990s the most widely implemented technology in client-
19   server communications involved sessions that could be instantiated (started), and
20   then torn down. If communications between a client and server were needed after
21   the previous session had been torn down, the widely implemented technology as
22   that time would have been to instantiate a brand-new session between the same
23   client and server. Creating a new session required the renegotiation of a set of
24   session keys that included computation of new cryptographic keys. This process
25   required significant start up times and computational resources.
26           16.   My business associate and co-inventor, Mark Anastasi, and I
27   developed the inventions that resulted in the ’239, ’296, and the ’010 patents to
28   shorten the connection time of the dialup modems in use in the 1990s. Each time a
                                        3
            DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
      Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 162 of 168 Page ID #:162


 1   new dialup modem connection needed to be reestablished, there would be a
 2   several-second period (typically around 10-12 seconds) during which the user
 3   would hear audio modem tones and hissing sounds while the modems reconnected
 4   and negotiated a new data session. Our inventions allowed the modems to
 5   reconnect by remembering the previously negotiated modem parameters, thereby
 6   greatly shortening this renegotiation time to being almost unnoticeable. (’239
 7   patent at 13:42-43, 17:50-58.)
 8         17.    While developing these inventions, we also contemplated virtual
 9   sessions would be very useful in wireless applications to allow a client-side remote
10   unit to maintain a virtual presence with a remote server. For example, we taught in
11   the ’239 patent that virtual sessions could be layered over wireless connections to
12   allow remote units such as wireless Internet devices to be virtually connected to
13   one or more server-side application programs, which were running on one or more
14   remote server systems. (’239 patent at 9:28-60.) This avoided wasting wireless
15   physical layer resources to maintain the session layer connections by allowing the
16   physical layer to be inactive, while the virtual session layer connections could be
17   maintained without using wireless resources. (’239 patent at 3:45-49, 8:56-58, 9:7-
18   10.) When the client-side remote unit needed to communicate with the server, or
19   when the server needed to send newly received information to the remote unit, the
20   virtual session could be reactivated without the need to tediously set up and
21   authenticate a new secure cryptographic session with the server. (’239 patent at
22   Fig. 1A, 9:53-60, 13:48-14:17.)
23         18.    The virtual sessions in the ’239, ’296, and ’010 patents are disclosed
24   with reference to the definition of “session” provided in the open systems
25   interconnect (“OSI”) reference model from the International Standards
26   Organization. (’239 patent at 8:17-21.) The OSI model is “a model of a layered
27   software structure used in computer communications” and a software system
28   implemented such a layered model is known as a “protocol stack.” (’239 patent at
                                     4
         DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   8:21-24.) The various layers in a representative protocol stack are used in the
 2   invention are shown in Figure 1A of the ’239 patent. This protocol stack includes
 3   the application session layer, the virtual session layer, and the physical layer,
 4   among others. (’239 patent at Fig. 1A.) The physical layer represents a physical
 5   layer communication connection such as a cellular wireless or network connection.
 6   (’239 patent at 9:32-35.) The application session layer involves communications
 7   between the application software on the client-side and the server-side. (’239
 8   patent at 8:35-45.) The virtual session layer links the various application sessions.
 9   (’239 patent at 8:61-9:3.) While OSI was previously known, the ’239, ’296, and
10   ’010 patents include novel methods to resume the virtual sessions for specific
11   application programs through the use of application-program identifying packets
12   (which can be embedded into a larger communication packet).
13         19.    Claim 7 of the ’239 patent, for example, recites a particular
14   improvement in the relevant technology, because the signal sent from the server
15   contains an application-program identifying packet. This application-program
16   identifying packet allows the virtual session to resume at the application session
17   layer of the protocol stack (as discussed above) for a particular application
18   program. Claim 7 refers to the relevant program as “at least one application layer
19   program.” The application layer program of claim 7 operates at the application
20   session layer of the protocol stack in Figure 1A. Resuming a disconnected
21   communication session between the server and the remote unit for a particular
22   application program at the application session layer was not known in the prior art.
23   Therefore, the inventions resulted in a more efficient use of computational
24   resources and provide for a more seamless client-server experience over extended
25   periods of usage.
26         20.    The ’239, ’296, and ’010 patents also disclose how these particular
27   technological improvements can be implemented. For example, the ’239 patent
28   discloses that a virtual session server maintains a table linking one or more
                                      5
          DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   application sessions to a virtual session. (’239 patent at 8:61-63.) Once an
 2   application session has been established over a virtual session, the table can be
 3   used to maintain a set of parameters to maintain the application session even
 4   without a physical layer connection. (’239 patent at 10:57-11:5.) The ’239 patent
 5   discloses multiple ways that the table structure can link application sessions such
 6   as user identification parameters, a user password, a set of application session
 7   parameters, a communication session identification parameter and an encryption
 8   key. (’239 patent at 11:17-23.) In contrast, the prior art required all the different
 9   sessions to be tediously and manually established and torn down each time they
10   were separately needed. Therefore, the inventions created a more seamless
11   experience for a consumer during extended periods of usage of the communication
12   sessions.
13   V.    IMPROVEMENTS OF THE ’239, ’296, AND THE ’010 PATENTS
14         21.    The ’239, ’296, and the ’010 patents resolve technical problems
15   related to client-server computing architecture. The claims of the ’239 Patent, the
16   ’296 Patent, and the ’010 Patent represent a major departure from conventional
17   methods of client-server communications, which relied on instantiating a brand-
18   new session between the client and server for each communication session.
19   Resuming a virtual session at the application-session layer as well as at the
20   physical layer represented an improvement in computer capabilities with respect to
21   client-server communications technology. Each of these benefits is grounded in
22   computerized improvements. For example, the ’239 patent explains how virtual
23   sessions supporting at least one application session layer program can be resumed
24   through the sending of application identifying information. (’239 patent at 10:32-
25   33.) This allows the virtual session server to maintain a plurality of virtual
26   sessions with remote units for specific application programs through the use of a
27   table structure. (’239 patent at 8:63-9:1.) The ’239 patent further demonstrates
28   how the reassociation involving the application identifying information is
                                      6
          DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
      Case 2:22-cv-07615 Document 1 Filed 10/19/22 Page 165 of 168 Page ID #:165


 1   performed such as through the use of communication session parameters and
 2   application session parameters. (’239 patent at 10:7-8; 11:13-23; 20:45-52; 22:13-
 3   21.) Figures 5-8 demonstrate specific algorithms by which these processes are
 4   performed. (’239 patent at Figs. 5-8; 20:19-25:14.)
 5         22.    The claims of the ’239, ’296, and the ’010 patents recite inventive
 6   concepts rooted in computerized client-server computing. The ’239 Patent, the
 7   ’296 Patent, and the ’010 Patent are not directed to any generic device to
 8   implement conventional functionality. On the contrary, the specific manner of
 9   sending application-program identifying packets to resume virtual sessions
10   between a remote unit and servers at the application session layer of the protocol
11   stack was unconventional. For example, claim 7 of the ’239 patent recites how a
12   server controls a virtual session between a server and a remote unit by sending a
13   signal with particular characteristics such as “sending a signal indicative of . . . an
14   application-program identifying packet . . . said application-program identifying
15   packet identifying an application program that needs to resume a virtual session.”
16   (’239 patent at 25:52-56.) This method represents an improvement in computer
17   capabilities with respect to client-server communications technology.
18         23.    Claim 7 of the ’239 patent includes the following features:
19         •      Establishing a virtual session with a remote unit, the virtual session
20                being instantiated to support at least one application layer program;
21         •      Sending a signal indicative of an incoming communication request
22                and an application-program identifying packet to said remote unit,
23                said application-program identifying packet identifying an application
24                program that needs to resume a virtual session and communicate with
25                said remote unit; and
26         •      Placing the virtual session back into the active state and transferring
27                data between the application and the remote unit via the virtual
28                session in response to said step of sending.
                                      7
          DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   (’239 patent at 26:47-61.) Claim 1 of the ’296 patent and claims 1 and 17 of the
 2   ’010 patent include similar features as those recited above from claim 7 of the ’239
 3   patent.
 4          24.   The features from claim 7 of the ’239 patent set forth above are
 5   unconventional in that they represent a major departure from the then
 6   contemporaneous conventional methods of client-server communications. The
 7   ’239, ’296 and ’010 patents claim the inventive concept of sending a particular
 8   signal from the server with an application-program identifying packet to allow a
 9   specific virtual session associated with a specific one of a plurality of different
10   possible application programs to be resumed at the application session layer. This
11   was unconventional because it allowed a virtual session to resume communication
12   with a specific one of a plurality of different possible application programs at the
13   application session layer, and to do so in an efficient manner. The prior art did not
14   disclose the use of sending an application-program identifying packet to identify
15   which application program should resume its application-session layer
16   communication channel back to the server who sent the application program
17   identifying packet to that particular application program.
18   25.    A benefit of the system described and claimed in the ’239, ’296 and ’010
19   patents is that it enables users such as remote workers to stay connected to one or
20   more central servers without the need to continuously remain connected by the
21   physical layer of the protocol stack. This allows users of remote devices to be
22   reconnected to a virtual session without the need for long and tedious
23   reestablishment procedures. This also allows a secure connection to be maintained
24   during long periods of inactivity. The patents explain how to accomplish resuming
25   a connection according to public key cryptography techniques with for example a
26   logon session, authorization sequence, authentication parameters, encryption keys,
27   digital signatures, or use of a table structure for maintaining session parameters
28   such as a password. (’239 patent at 3:2-5, 3:55-60, 4:22-25, 8:45-53, 10:2-15,
                                       8
           DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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 1   10:51-55, 10:57-62, 11:15-21, 14:32-33, 18:61-66, 20:40-43, 20:50-55, 21-49-55,
 2   22:1-7; Figs. 6, 7.)
 3         26.    Each of these benefits is grounded in computerized improvements.
 4   The use of a signal including an application-program identifying packet to identify
 5   an application program that needs to resume a virtual session at the application
 6   session layer, allows for a much shorter renegotiation sequence through the use of
 7   saved session parameters. Prior systems used separate sessions for each
 8   communication and did not have the capability for reactivation of a previous
 9   virtual session at the application session layer after the session had been
10   deactivated. Prior art systems therefore did not rely on an application-program
11   identifying packet sent from the server to place a specific virtual session back into
12   an active state.
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          DECLARATION OF ERIC MORGAN DOWLING IN SUPPORT OF COMPLAINT
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